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                                  No. 24-1292


              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT
              ___________________________________________

    LOUISIANA BUCKET BRIGADE, HEALTHY GULF, SIERRA CLUB,
   TEXAS CAMPAIGN FOR THE ENVIRONMENT, AND TURTLE ISLAND
                   RESTORATION NETWORK,
                                                    Petitioners,
                                        v.
             FEDERAL ENERGY REGULATORY COMMISSION,
                                            Respondent.
              ___________________________________________

                        PETITION FOR REVIEW
                          OF ORDERS OF THE
            FEDERAL ENERGY REGULATORY COMMISSION
              ___________________________________________

Nathan Matthews                               Rebecca McCreary
Sierra Club                                   Sierra Club
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Oakland, CA 94612                             Boulder, CO 80301
(415) 977-5695                                (305) 449-5595 ext. 103
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Counsel for Petitioners




                                        1
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      Under Section 19(b) of the Natural Gas Act, 15 U.S.C. § 717r(b), and

Federal Rule of Appellate Procedure 15(a), and Circuit Rule 15, Petitioners

Louisiana Bucket Brigade, Healthy Gulf, Sierra Club, Texas Campaign for the

Environment, and Turtle Island Restoration Network (“Petitioners”) respectfully

petition the United States Court of Appeals for the District of Columbia Circuit to

review and set aside the following order of the Federal Energy Regulatory

Commission (“Commission”):

      1. Order Granting Authorizations Under Section 3 and 7 of the Natural Gas

         Act, Venture Global CP2 LNG, LLC, Nos. CP22-21-000 & CP22-22-000,

         187 FERC ¶ 61,199 (June 27, 2024) (“Authorization Order”), attached as

         Exhibit A.



      Petitioners filed a timely request for rehearing of the Order Granting

Authorizations on Monday, July 29, 2024. FERC failed to respond within 30 days,

instead issuing a notice that Petitioners’ request for rehearing was deemed denied

by operation of law. Notice of Denial of Rehearing by Operation of Law and

Providing for Further Consideration, Venture Global CP2 LNG, LLC, Nos. CP22-

21-000 & CP22-22-000, 188 FERC ¶ 62,109 (August 29, 2024), attached as Exhibit

B.




                                         2
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      Accordingly, this Court has jurisdiction to review the Order Granting

Authorizations, and venue is proper here, pursuant to Section 19(b) of the Natural

Gas Act, 15 U.S.C. § 717r(b).

      This petition is timely because it is being filed within sixty days of the date

when Petitioners’ rehearing request was denied by operation of law. 15 U.S.C.

§ 717r(b).

      Petitioners and their members have been and will be aggrieved by the

approval, construction, and operation of the CP2 LNG Project and CP Express

Pipeline Project. Petitioners were intervenors before the Commission and timely

requested rehearing of the Authorization Order.

      In accordance with Federal Rule of Appellate Procedure 15(c), Petitioners

have served parties that may have been admitted to participate in the underlying

proceedings with a copy of this Petition for Review. A list of parties served is

included as Exhibit C.


DATED: September 4, 2024                   Respectfully submitted,

                                           /s/ Nathan Matthews
                                           Nathan Matthews
                                           Sierra Club
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                                 EXHIBITS
Exhibit A: Order Granting Authorizations Under Section 3 and 7 of the Natural

            Gas Act, Venture Global CP2 LNG, LLC, Nos. CP22-21-000 & CP22-

            22-000, 187 FERC ¶ 61,199 (June 27, 2024).



Exhibit B: Notice of Denial of Rehearing by Operation of Law and Providing for

            Further Consideration, Venture Global CP2 LNG, LLC, Nos. CP22-21-

            000 & CP22-22-000, 188 FERC ¶ 62,109 (August 29, 2024).



Exhibit C: Official Service List in Federal Energy Regulatory Commission

            Docket Nos. CP22-21-000 and CP22-22-000




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                                  No. __________


                IN THE UNITED STATES COURT OF APPEALS
                FOR THE DISTRICT OF COLUMBIA CIRCUIT
                ___________________________________________

    LOUISIANA BUCKET BRIGADE, HEALTHY GULF, SIERRA CLUB,
   TEXAS CAMPAIGN FOR THE ENVIRONMENT, AND TURTLE ISLAND
                   RESTORATION NETWORK,
                                                     Petitioners,
                                         v.
                FEDERAL ENERGY REGULATORY COMMISSION,
                                              Respondent.
                ___________________________________________

                  PETITITONERS’ RULE 26.1 STATEMENT



       Pursuant to Federal Rule of Appellate Procedure 26.1 and Circuit Rule 26.1,

Petitioners make the following disclosures:

       Louisiana Bucket Brigade: The Louisiana Bucket Brigade has no parent

companies, and there are no publicly held companies that have a 10 percent or

greater ownership interest in the Louisiana Bucket Brigade.

       The Louisiana Bucket Brigade, a corporation organized and existing under

the laws of the State of Louisiana, is a nonprofit organization using grassroots

action work to create an informed, healthy society that hastens the transition from

fossil fuels.

                                          5
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      Healthy Gulf: Healthy Gulf has no parent companies, and there are no

publicly held companies that have a 10 percent or greater ownership interest in

Healthy Gulf.

      Healthy Gulf is a nonprofit corporation organized and existing under the

laws of the State of Louisiana, dedicated to collaborating and serving with

communities who love the Gulf of Mexico by providing the research,

communications, and coalition-building tools needed to reverse the long pattern of

over exploitation of the Gulf’s natural resources.

      Sierra Club: Sierra Club has no parent companies, and there are no publicly

held companies that have a 10 percent or greater ownership interest in Sierra Club.

      Sierra Club, a corporation organized and existing under the laws of the State

of California, is a nonprofit organization dedicated to the protection and enjoyment

of the environment.

      Texas Campaign for the Environment: Texas Campaign for the

Environment has no parent companies, and there are no publicly held companies

that have a 10 percent or greater ownership interest in Texas Campaign for the

Environment.

      Texas Campaign for the Environment is a nonprofit organization, organized

and existing under the laws of the State of Texas, dedicated to supporting frontline

communities against pollution in the Gulf South.


                                          6
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      Turtle Island Restoration Network: Turtle Island Restoration Network has

no parent companies, and there are no publicly held companies that have a 10

percent or greater ownership interest in Turtle Island Restoration Network.




                                     Respectfully submitted,

                                     /s/ Nathan Matthews
                                     Nathan Matthews
                                     Sierra Club
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                                     Oakland, CA 94612
                                     415-977-5695
                                     nathan.matthews@sierraclub.org


                                     Attorney for Louisiana Bucket Brigade,
                                     Healthy Gulf, Sierra Club, Texas Campaign
                                     for the Environment, and Turtle Island
                                     Restoration Network




                                         7
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                          CERTIFICATE OF SERVICE
      In accordance with Federal Rules of Appellate Procedure 15(c)(1) and (2),

the undersigned certifies that on September 4, 2024, a true copy of this Petition for

Review was served on all parties admitted to participate in the agency proceedings

by email to the official service list in Federal Energy Regulatory Commission

Docket Nos. CP22-21-000 and CP22-22-000. As required by Federal Rule of

Appellate Procedure 15(c)(2), a list of those so served is attached as Exhibit C.

      These documents were also filed in the official FERC docket, publicly

accessible through FERC’s eLibrary system.

      Finally, a copy of the foregoing was emailed to:

             Robert Solomon
             Solicitor
             Federal Energy Regulatory Commission
             888 First Street, NE
             Washington, DC 20426
             Robert.solomon@ferc.gov

DATED: September 4, 2024                  Respectfully submitted,

                                          /s/ Nathan Matthews
                                          Nathan Matthews
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                                          8
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                               187 FERC ¶ 61,199
                          UNITED STATES OF AMERICA
                   FEDERAL ENERGY REGULATORY COMMISSION

Before Commissioners: Willie L. Phillips, Chairman;
                      Allison Clements and Mark C. Christie.

Venture Global CP2 LNG, LLC                                     Docket Nos. CP22-21-000
Venture Global CP Express, LLC                                              CP22-22-000

  ORDER GRANTING AUTHORIZATIONS UNDER SECTIONS 3 AND 7 OF THE
                      NATURAL GAS ACT

                                       (Issued June 27, 2024)

       On December 2, 2021, Venture Global CP2 LNG, LLC (CP2 LNG) filed a
request, in Docket No. CP22-21-000, under section 3 of the Natural Gas Act (NGA)1 and
Part 153 of the Commission’s regulations2 for authorization to site, construct, and operate
a new liquefied natural gas (LNG) export terminal with 20 million metric tons per annum
(MTPA) of nameplate liquefaction capacity and associated facilities on the east side of
the Calcasieu Ship Channel in Cameron Parish, Louisiana (CP2 LNG Project or LNG
project). The CP2 LNG Project would be constructed in two phases and include a
liquefaction plant consisting of eighteen liquefaction blocks, four aboveground full
containment LNG storage tanks, and two marine LNG loading docks.

        In the same application, Venture Global CP Express, LLC (CP Express) filed a
request, in Docket No. CP22-22-000, under NGA section 7(c)3 and Parts 157 and 284 of
the Commission’s regulations,4 for a certificate of public convenience and necessity to
construct and operate a new interstate natural gas pipeline system to connect the CP2
LNG Project to the existing natural gas pipeline grid in east Texas and southwest
Louisiana (CP Express Pipeline Project or pipeline project). The CP Express Pipeline
Project would comprise an approximately 85.4-mile-long mainline pipeline from Jasper
County, Texas, to the LNG Project in Cameron Parish, Louisiana, an approximately
6.0-mile-long lateral pipeline in Calcasieu Parish, Louisiana, and associated aboveground
facilities in Louisiana and Texas. The pipeline project is designed to transport feed gas to

       1
           15 U.S.C. § 717b.
       2
           18 C.F.R. pt. 153 (2023).
       3
           15 U.S.C. § 717f(c).
       4
           18 C.F.R. pts. 157, 284 (2023).
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 Docket Nos. CP22-21-000 and CP22-22-000                                                 -2-

 the CP2 LNG Project and would allow CP Express to provide up to
 4,400,000 dekatherms per day (Dth/day) of firm transportation service. CP Express also
 requests a blanket certificate under Part 157, Subpart F of the Commission’s regulations
 to perform certain routine construction activities and operations, and a blanket certificate
 under Part 284, Subpart G of the Commission’s regulations to provide open-access
 natural gas transportation services, with pre-granted abandonment approval.

      For the reasons discussed below, we grant the requested authorizations for the CP2
 LNG Project and CP Express Pipeline Project, subject to the conditions discussed herein.

        Background and Proposal

         CP2 LNG and CP Express (collectively, the applicants) are Delaware limited
 liability companies with their primary place of business in Arlington, Virginia. CP2
 LNG and CP Express are direct, wholly owned subsidiaries of Venture Global LNG, Inc.
 (Venture Global).5 Upon commencing operations proposed in its application, CP Express
 will become a natural gas company within the meaning of section 2(6) of the NGA,6 and,
 as such, will be subject to the Commission’s jurisdiction. Because its operations will not
 be in interstate commerce, CP2 LNG will not be a “natural gas company” as defined in
 the NGA but will be subject to the Commission’s jurisdiction under NGA section 3.

        A.       CP2 LNG Project (Docket No. CP22-21-000)

        CP2 LNG requests authorization to site, construct, and operate the CP2 LNG
 Project on an approximately 737.3-acre site on the east side of the Calcasieu Ship
 Channel.7 The project is designed with a nameplate liquefaction and export capacity of
 approximately 20 MTPA, and a peak achievable capacity of 28 MTPA under optimal

        5
         Venture Global is also the parent company of: Venture Global Calcasieu Pass,
 LLC and TransCameron Pipeline LLC, which received authorizations from the
 Commission to construct and operate an LNG terminal and pipeline, respectively, in
 Cameron Parish, Louisiana, Venture Global Calcasieu Pass, LLC, 166 FERC ¶ 61,144
 (2019) (Calcasieu Pass LNG); and, Venture Global Plaquemines LNG, LLC and Venture
 Global Gator Express, LLC, which received authorizations from the Commission to
 construct and operate an LNG terminal and pipeline, respectively, in Plaquemines Parish,
 Louisiana, Venture Global Plaquemines LNG, LLC, 168 FERC ¶ 61,204 (2019)
 (Plaquemines LNG).
        6
            15 U.S.C. § 717a(6).
        7
         CP2 LNG states that it has contractually secured through agreements with
 landowners all land required for the construction and operation of the CP2 LNG Project.
 Application at 8.
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 Docket Nos. CP22-21-000 and CP22-22-000                                                   -3-

 operating conditions. The project will receive natural gas via the proposed CP Express
 Pipeline Project.

         The project will be constructed in two phases, each phase designed with a
 nameplate liquefaction and export capacity of 10 MTPA, and a peak achievable capacity
 of 14 MTPA. Each phase of construction will take approximately 36 months to
 complete. CP2 LNG states that it will place each liquefaction block into service upon
 completion, with initial operations beginning approximately 24 months after the start of
 construction. CP2 LNG anticipates Phase II construction will start 12 months after the
 start of Phase I construction.

        The proposed CP2 LNG Project consists of liquefaction facilities, LNG storage
 tanks, marine facilities, and associated infrastructure and support facilities. Specifically,
 CP2 LNG proposes to construct:

            • One natural gas gate station (constructed during Phase I);

            • Six pretreatment facilities (three pretreatment facilities constructed during
              each phase);8

            • Eighteen liquefaction blocks and ancillary support facilities (nine blocks
              constructed during each phase);9

            • Four full-containment, underground LNG storage tanks, each with a net
              usable capacity of approximately 200,000 cubic meters (two tanks
              constructed during each phase);

            • Two boil-off, flash, and gas relief systems (one constructed during each
              phase);




        8
         Each pretreatment facility will contain: an amine gas-sweetening system to
 remove carbon dioxide (CO2) and hydrogen sulfide (H2S); and a molecular sieve
 dehydration system to remove water and heavy hydrocarbons from the natural gas
 received from the CP Express Pipeline.
        9
          Each liquefaction block will have a nameplate liquefaction capacity of
 approximately 1.1 MTPA and will contain two single mixed refrigerant process units,
 each with a refrigerant make-up system. The liquefaction blocks will all be operated by a
 single distributed control system for all process and power control and connected to a
 common refrigerant storage area.
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 Docket Nos. CP22-21-000 and CP22-22-000                                                 -4-

              • Two LNG loading docks,10 each designed to accommodate LNG carriers of
                120,000 to 185,000 cubic meters, with accompanying turning basins within
                a shared recessed area along the southwest shoreline of Monkey Island, on
                the east side of the Calcasieu Ship Channel; a utility dock; and marine flare
                for gas-up/cooldown of LNG carriers (both loading docks, the utility dock,
                and the marine flare constructed during Phase I);

              • Two electric power generation plants with a combined nameplate capacity
                of 1,470 megawatts (MW) (a 750 MW plant constructed in Phase I and a
                720 MW plant constructed in Phase II);11

              • Safety and security systems; and

              • Other appurtenant facilities.

        CP2 LNG received authorization from the Department of Energy, Office of Fossil
 Energy (DOE/FE) to export annually up to approximately 28 MTPA of natural gas in the
 form of LNG to countries with which the United States has a Free Trade Agreement.12 In
 addition, CP2 LNG currently has pending before DOE/FE an application to export LNG
 to other nations with which the U.S. permits such trade, but has not entered into a Free
 Trade Agreement.13

         CP2 LNG states that it intends to construct and operate carbon capture and
 sequestration (CCS) facilities that will capture, compress, and sequester approximately
 500,000 tons of carbon dioxide (CO2) from feed gas entering the CP2 LNG Project. As
 part of the pretreatment process, CO2 will be removed from the feed gas as CO2 vapor14

        10
          Each loading dock will include: one pipe trestle; one loading platform; one
 gangway; four marine loading arms; associated aids to navigation; four berthing
 dolphins; and, six mooring dolphins.
        11
             August 15, 2022 Supplement to Previously Filed Project Information.
        12
          Venture Global CP2 LNG, LLC, FE Docket No. 21-131-LNG, Order No. 4812
 (April 22, 2022).
        13
         Venture Global CP2 LNG, LLC, December 2, 2021 Application, FE Docket
 No. 21-131-LNG.
        14
          First, the feed gas will be sent through an acid gas absorber column where the
 acid gas components (CO2 and hydrogen sulfide [H2S]) will be removed from the feed
 gas through accumulation in an amine solution. The acid-gas-rich amine solution will
 then be routed to an amine regenerator distillation column where the acid gases will be
 boiled out, creating a lean, regenerative amine solution to be cycled back to the absorber
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 and sent to the on-site carbon capture facility, where the CO2 vapor will be compressed,
 condensed into a liquid, and pumped to a higher pressure.15 The resulting CO2 liquid will
 then be routed to a CO2 send-out pipeline for injection into saline aquifers approximately
 three miles offshore.16

       B.       CP Express Pipeline Project (Docket No. CP22-22-000)

        CP Express proposes to construct a new interstate natural gas pipeline system to
 supply feed gas to the proposed CP2 LNG Project, providing up to 4,400,000 Dth/day of
 firm natural gas transportation service. The CP Express Pipeline will originate at
 interconnections with Transcontinental Gas Pipe Line’s interstate system and Midcoast
 Energy’s CJ Express pipeline in Jasper County, Texas, extend through Newton County,
 Texas, and Calcasieu and Cameron Parishes, Louisiana, and terminate at the CP2 LNG
 Project. CP Express estimates that the CP Express Pipeline Project will cost
 approximately $1.483 billion.17

        CP Express proposes to construct and operate the pipeline project in two phases in
 conjunction with construction of the CP2 LNG Project. Facilities constructed during
 Phase I would provide 2,200,000 Dth/day of firm transportation service, transporting
 enough feed gas for the nine liquefaction blocks to be constructed in Phase I of the CP2
 LNG Project. During Phase I, CP Express proposes to construct and operate the
 following facilities:


 column and a vapor stream containing the acid gases. Next, the vapor stream will be sent
 through a sulfur removal unit to remove the H2S. The resulting CO2 vapor stream will
 then be routed to the carbon capture facilities.
       15
          In the event the CCS system is unavailable, the acid gas stream will be routed to
 thermal oxidizers, where the CO2, trace amounts of H2S not removed in the sulfur
 removal unit, and trace amounts of hydrocarbons will be incinerated and discharged to
 the atmosphere. In the event the thermal oxidizers are also out-of-service during
 operations, the acid gas will be routed to the flare and emitted to the atmosphere.
       16
          The geological sequestration of CO2 is subject to the U.S. Environmental
 Protection Agency’s (EPA’s) jurisdiction under the Underground Injection Control (UIC)
 Program. The state of Louisiana has primary enforcement authority for CCS projects
 under the federal UIC program. The Louisiana Department of Natural Resources
 (Louisiana DNR) administers the UIC Class VI program in Louisiana. State of Louisiana
 Underground Injection Control Program; Class VI Primacy, 89 Fed. Reg. 703 (Jan. 5,
 2024).
       17
            Application at Ex. K.
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             • An approximately 85.4-mile-long, 48-inch-diameter mainline pipeline from
               Jasper County, Texas, to the CP2 LNG Project, with interconnections to
               existing natural gas transmission pipelines;18

             • An approximately 6-mile-long, 24-inch-diameter lateral pipeline in
               Calcasieu Parish, Louisiana (Enable Gulf Run Lateral);

             • The Moss Lake Compressor Station, near milepost (MP) 44.4 of the CP
               Express Pipeline, with two 34,800-horsepower (hp) natural-gas-fired
               compressor units;

             • Five meter stations at interconnects with existing pipelines along the
               mainline, with a 48-inch-diameter pig launcher at the Transco & CJ
               Express Interconnect Meter Station at MP 0.0 and a 24-inch-diameter pig
               receiver at the Enable Interconnect Meter Station at MP 6.0;

             • A 24-inch-diameter pig launcher at MP 0.0 of the Enable Gulf Run Lateral;
               and

             • A gas gate station19 (i.e., meter station) for gas deliveries at the CP2 LNG
               Project.

        Phase II would provide an additional 2,200,000 Dth/day of firm transportation
 service, transporting feed gas for the nine additional liquefaction blocks constructed in
 Phase II of the CP2 LNG Project. In Phase II, CP Express proposes to construct and
 operate three additional natural-gas-fired, 34,800-hp compression units and one natural-
 gas-fired, 13,000-hp booster unit at the Moss Lake Compressor Station.

        CP Express also requests: (1) a blanket certificate of public convenience and
 necessity pursuant to Part 284, Subpart G of the Commission’s regulations authorizing
 CP Express to provide transportation service to customers requesting and qualifying for
 transportation service under its proposed FERC Gas Tariff, with pre-granted
 abandonment authorization; (2) a blanket certificate of public convenience and necessity
 pursuant to Part 157, Subpart F of the Commission’s regulations authorizing certain

        18
          CP Express plans interconnections to the following pipeline systems:
 Transcontinental Gas Pipe Line and Midcoast Energy’s CJ Express Project in Jasper
 County, Texas; Texas Eastern Transmission and Gulf South Pipeline in Newton County,
 Texas; and Florida Gas Transmission and Tennessee Gas Pipeline in Calcasieu Parish,
 Louisiana.
        19
           The gas gate station will include a pig receiver, filter/separators, custody
 transfer meters, pressure regulators, emergency shutdown valves, and gas analyzers.
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 future facility construction, operation, and abandonment; and (3) approval of its pro
 forma tariff.

        CP Express states that it held a binding open season for the proposed firm
 transportation services to the CP2 LNG Project, and that as a result it executed a binding
 precedent agreement with CP2 LNG for 100% of the firm transportation service provided
 by Phases I and II of the CP Express Pipeline Project for a term of twenty years at
 negotiated rates. CP Express received no other bids or expressions of interest during the
 open season.20

        Notice, Interventions, and Comments

        Notice of CP2 LNG and CP Express’s joint application was issued on December
 16, 2021, and published in the Federal Register on December 23, 2021.21 The notice
 established January 6, 2022, as the deadline to file interventions, comments, and protests.
 Timely, unopposed motions to intervene22 were filed by: Public Citizen; Natural
 Resources Defense Council (NRDC); Healthy Gulf; Cheniere Creole Trail Pipeline;
 Driftwood LNG and Driftwood Pipeline; Southeast Laborers’ District Council; the State
 of Louisiana; Restore Explicit Symmetry To Our Ravaged Earth (RESTORE); the
 American Gas Association; Travis and Nicole Dardar; Anthony Theriot and Kent Duhon;
 and Sierra Club, Turtle Island Restoration Network, Louisiana Bucket Brigade, Louisiana
 Environmental Action Network, Port Arthur Community Action Network, and, Texas
 Campaign for the Environment (collectively, Environmental Coalition).

        Between January 7, 2022 and October 30, 2023, out-of-time motions to intervene
 were filed by: Golden Pass LNG; Golden Pass Pipeline LLC; Commonwealth LNG;
 Bernard and Georgia Webb and Jerryd Tassin; Mary Alice Nash; Niskanen Center; For a



        20
          Application at 10. CP Express provided a copy of the open season notice and
 proof of publication. October 17, 2022 Response to Data Request.
        21
             86 Fed. Reg. 72,939 (Dec. 23, 2021).
        22
           Timely, unopposed motions to intervene are granted by operation of Rule 214 of
 the Commission’s regulations. 18 C.F.R. § 385.214 (2023). Timely motions
 to intervene include those filed dealing with environmental issues during the comment
 period for the draft environmental impact statement (EIS). See 18 C.F.R.
 § 380.10(a)(1)(i) (2023). Because Travis and Nicole Dardar, Anthony Theriot and Kent
 Duhon, and the American Gas Association filed unopposed motions to intervene during
 the comment period for the draft EIS (January 19, 2023 – March 13, 2023), their motions
 are timely.
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 Better Bayou; and Adley and Judy Dyson. These late-filed interventions were granted by
 Secretary’s Notices on November 13, 2023.

         On April 18, 2024, Fishermen Involved in Sustaining our Heritage (FISH) filed a
 late motion to intervene in the proceedings. In its motion, FISH states that it is a
 coalition of 60 commercial fishermen who fish in and around the waters of Cameron,
 Louisiana, where the project will be located, and that its participation is in the public
 interest because it is the only organization dedicated to championing the rights of
 commercial fisherman in Southwest Louisiana.23 FISH explains that it was unable to
 intervene during the intervention window because it did not exist until November 2023.24
 We find that FISH failed to demonstrate that good cause exists to grant its motion to
 intervene out of time. Although FISH states that it was formed in November 2023, it did
 not seek to intervene in the proceedings until April 18, 2024. The Commission has
 previously explained that an entity cannot “sleep on its rights” and then seek untimely
 intervention.25 Further, FISH’s interests are adequately represented by other parties to
 the proceeding, including its Executive Director, Travis Dardar,26 as well as For a Better
 Bayou and Louisiana Bucket Brigade, with which FISH jointly filed comments on
 January 17, 2024, regarding the project’s impacts on commercial fishing and shrimping.
 Last we note that on its website, FISH states that it partners with other groups and NGOs,
 including several that are intervenors in these proceedings: Healthy Gulf; Sierra Club;
 For a Better Bayou; and Louisiana Bucket Brigade.27 Therefore, FISH’s late motion to
 intervene is denied.

       On January 6, 2022, the Environmental Coalition jointly filed a protest.28 On
 March 3, 2023, CP2 LNG and CP Express filed an answer to the Environmental

       23
            FISH April 18, 2024 Motion to Intervene at 1-2.
       24
            Id. at 3.
       25
            See Cal. Dept. of Water Resources, 120 FERC ¶ 61,057, at P 14 (2007)
 (footnote omitted), reh’g denied, 120 FERC ¶ 61,248, aff’d sub nom. Cal. Trout and
 Friends of the River v. FERC, 572 F.3d 1003 (9th Cir. 2009) (“an entity cannot ‘sleep on
 its rights’ and then seek untimely intervention”).
       26
            Travis and Nicole Dardar March 3, 2023 Motion to Intervene.
       27
            Fishermen Involved in Sustaining our Heritage (FISH),
 https://fishermenfightback.org (last accessed May 22, 2024).
       28
           On October 12, 2022, Louisiana Bucket Brigade filed, in this and several other
 Commission gas project dockets, a letter addressed to President Biden expressing general
 opposition to LNG export terminals on environmental, economic, climate, and national
 security grounds and sharing information about its Defend U.S. Consumers campaign,
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 Coalition’s protest. Although the Commission’s Rules of Practice and Procedure do not
 permit answers to protests,29 we will accept the answer herein because it clarifies the
 concerns raised and provides information that has assisted in our decision making.

        The Environmental Coalition asserts that the applicants have not demonstrated
 market need for the project and that the project’s climate impacts render it not consistent
 with the public interest. Individuals and other entities also filed comments expressing
 similar concerns. In addition, the Commission received comments in support of the
 project, citing an increase in job opportunities and local economic investment, as well as
 comments from international energy companies and utilities that executed sales purchase
 agreements with CP2 LNG urging that the project is needed. The protests and comments
 were addressed in the EIS, and as appropriate, below.

        Discussion

        A.       CP2 LNG Project (Docket No. CP22-21-000)

                     1. Jurisdiction over CCS Facilities

         CP2 LNG contends that the CCS facilities are not subject to the Commission’s
 jurisdiction, noting that certain components will be subject to the regulatory authority of
 other entities.30 Healthy Gulf asserts that the CCS facilities must be considered a part of
 the project,31 and Sierra Club argues that the carbon capture facility within the terminal
 boundary should be considered a part of the proposed project and subject to the
 Commission’s jurisdiction like other pollution control equipment at LNG terminals.32




 which Louisiana Bucket Brigade states will increase public awareness about the risks
 associated with continued gas export terminal development. Louisiana Bucket Brigade
 October 12, 2022 Letter at 1-4. The Bucket Brigade’s October 12th letter generally
 expresses the same issues already raised in its joint protest and environmental comments
 in this proceeding.
        29
             18 C.F.R. § 385.213(a)(2) (2023).
        30
           Application at 12; CP2 LNG July 7, 2023 Response to Environmental
 Information Request at General Attachment 1-a. See infra note 40 (discussing facilities
 subject to both the Commission’s and another agency’s jurisdiction).
        31
             Healthy Gulf January 5, 2022 Intervention at 1-2.
        32
          Environmental Coalition January 6, 2022 Protest at 5. LNG Terminals often
 include selective catalytic reduction systems to minimize emissions of nitrogen oxides
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         We conclude that the CCS facilities located within the terminal fence-line up to
 the entry point of the send-out pipeline33 are subject to the Commission’s jurisdiction
 under section 3(e) of the NGA.34 The Commission has consistently exercised its
 jurisdiction over pretreatment facilities within an LNG terminal’s fence-line35 that
 remove trace constituents36 from the feed gas, as well as over on-site facilities for the
 disposition of trace constituents.37 The fact that another agency may have jurisdiction
 over some aspect of a facility within the fence-line of an LNG terminal does not serve to
 remove that facility from Commission jurisdiction. Many facilities within an LNG


 (NOx) from combustion turbines. See, e.g., final EIS at 4-365; January 2019 Final EIS
 for Port Arthur Liquefaction Project at 2-9 (filed in Docket No. CP17-20-000).
        33
           The send-out pipeline would mostly be located outside the terminal fence-line,
 but the proposed entry point is located under the southern portion of the terminal’s
 floodwall. CP2 LNG July 22, 2022 Response to Environmental Information Request at
 2-3. The Department of Transportation’s Pipelines and Hazardous Materials Safety
 Administration (PHMSA) states that it would have jurisdiction over the send-out CO2
 pipeline starting from the first flange connection downstream of the on-site CO2 pipeline
 pumps. Final EIS at 4-397 to 4-398.
        34
          15 U.S.C. § 717b(e). We note that, consistent with this finding, the EIS
 evaluated the on-site CCS facilities.
        35
            “LNG terminal” includes facilities at the terminal site that are used to process
 natural gas. 15 U.S.C. § 717a(11). See, e.g., supra note 8 (describing jurisdictional
 pretreatment facilities that remove CO2, H2S, water, and heavy hydrocarbons from feed
 gas); September 2022 Final EIS for the Commonwealth LNG Project at 4-264 (describing
 jurisdictional pretreatment facilities to remove mercury, CO2, H2S, water, and heavy
 hydrocarbons from feed gas) (filed in Docket No. CP19-502-000). But see Freeport LNG
 Dev., L.P., 175 FERC ¶ 61,237, at n.9 (2021) (finding that an off-site helium processing
 facility is not jurisdictional because “…the helium plant will be separated by a unit fence
 and have minimal impacts on the safety and reliability of the pretreatment facility.”).
        36
           Pipeline-quality natural gas typically contains trace constituents such as
 nitrogen, oxygen, CO2, and water. Trace constituents have no significant effect on the
 operational efficiency of natural gas when used as an energy source but can negatively
 affect liquefaction equipment and product purity when present in feed gas for LNG
 production.
        37
           For instance, in the event the CCS facilities are unavailable, the CO2 removed
 from the feed gas will be routed to the jurisdictional facilities and equipment for final
 disposition. See supra note 15.
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 terminal’s fence-line are both jurisdictional to the Commission and subject to other
 regulatory authorities.38

                  2. Public Interest Standard Under Section 3 of the NGA

        Because the proposed facilities will be used to export natural gas to foreign
 countries, the construction and operation of the proposed facilities and site of their
 location require approval by the Commission under section 3 of the NGA.39 Commenters
 argue that the NGA does not contain a legal standard for the authorization of LNG
 terminals under section 3(e), and that the Commission has not articulated a coherent
 policy for exercising this authority.40 NRDC contends that the NGA requires the


       38
           For example, while CP2 LNG states that the emissions from the on-site
 combustion turbine powering the CO2 compressors are included in its air permit
 application submitted to the Louisiana Department of Environmental Quality (Louisiana
 DEQ) (CP2 LNG’s July 22, 2022 Response to Environmental Information Request at 3.),
 we note that the air permit application also covers emissions from all facilities
 undisputedly subject to the Commission’s jurisdiction, including the project’s eighteen
 liquefaction blocks and two power plants. Final EIS at 4-357; CP2 LNG’s August 1,
 2022 Response to Environmental Information Request at Attachment 1.f.v-1.
 Additionally, the regulatory authorities with jurisdiction over components of the CCS
 system highlighted by CP2 LNG—PHMSA and EPA under the UIC permitting
 program—have jurisdiction over the CO2 pipeline and geological sequestration of carbon
 dioxide, respectively, but do not have jurisdiction over the CO2 extraction and
 compression facilities located at the CP2 LNG Project terminal site.
       39
           15 U.S.C. § 717b(a). The regulatory functions of NGA section 3 were
 transferred to the Secretary of Energy in 1977 pursuant to section 301(b) of the
 Department of Energy Organization Act. Pub. L. No. 95-91, 42 U.S.C. § 7101 et seq.
 (2012). In reference to regulating the imports or exports of natural gas, the Secretary of
 Energy subsequently delegated to the Commission the authority to approve or disapprove
 the construction and operation of natural gas import and export facilities and the site at
 which such facilities shall be located. The most recent delegation is in DOE Delegation
 Order No. S1-DEL-FERC-2006, effective May 16, 2006. Applications for authorization
 to import or export natural gas must be submitted to the Department of Energy (DOE).
 The Commission does not authorize importation or exportation of the commodity itself.
 See EarthReports, Inc. v. FERC, 828 F.3d 949, 952-53 (D.C. Cir. 2016) (detailing how
 regulatory oversight for the export of LNG and supporting facilities is divided between
 the Commission and DOE).
       40
          See, e.g., Better Bayou et al. March 13, 2023 Comments at 1-3; NRDC March
 13, 2023 Comments at 2-3; Niskanen Center March 13, 2023 Comments at 8-9.
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 Commission to “meaningfully evaluate this proposed [p]roject through a genuine
 framework to balance those relevant costs against assessed benefits.”41

         We disagree that we lack a coherent standard. Section 3 provides that an
 application shall be approved if the Commission finds the proposal “will not be
 [in]consistent with the public interest,” subject to “such terms and conditions as the
 Commission [may] find necessary or appropriate.”42 The U.S. Court of Appeals for the
 District of Columbia Circuit (D.C. Circuit) has explained that the NGA section 3 standard
 “sets out a general presumption favoring . . . [such] authorization[s].”43 To overcome this
 favorable presumption and support denial of an NGA section 3 application, there must be
 an “affirmative showing of inconsistency with the public interest.”44 In addition, NGA
 section 3(c) provides that the exportation of gas to nations with which there is in effect a
 free trade agreement (FTA nations) “shall be deemed to be consistent with the public
 interest.”45 As noted above, CP2 LNG has received authorization to export to FTA
 nations.46

       We received comments contending that CP2 LNG fails to provide evidence of
 market need for the proposed project and that authorization of the project may lead to


        41
             NRDC March 13, 2023 Comments at 2-3.
        42
          15 U.S.C. § 717b(a), (e)(3). For a discussion of the Commission’s authority to
 condition its approvals of LNG facilities under section 3 of the NGA, see, e.g., Distrigas
 Corp. v. FPC, 495 F.2d 1057, 1063-64 (D.C. Cir. 1974), cert. denied, 419 U.S. 834
 (1974); Dynegy LNG Prod. Terminal, L.P., 97 FERC ¶ 61,231 (2001).
        43
          Ctr. for Biological Diversity v. FERC, 67 F.4th 1176, 1188 (D.C. Cir. 2023)
 (Alaska LNG) (quoting W. Va. Pub. Servs. Comm’n v. U.S. Dep’t of Energy, 681 F.2d
 847, 856 (D.C. Cir. 1982)); EarthReports v. FERC, 828 F.3d at 953 (same); see also
 Sierra Club v. U.S. Dep’t of Energy, 867 F.3d 189, 203 (D.C. Cir. 2017).
        44
           Sierra Club v. U.S. Dep’t of Energy, 867 F.3d at 203 (quoting Panhandle
 Producers & Royalty Owners Ass’n v. Econ. Regul. Admin., 822 F.2d 1105, 1111 (D.C.
 Cir. 1987)). See also KeySpan LNG, L.P., 112 FERC ¶ 61,028, at PP 3, 29 (2005)
 (finding that authorization of a proposed LNG import terminal would be inconsistent with
 the public interest where the proposed facilities would not fully comply with current
 safety standards even though the project would provide “a new source of reliable LNG
 imports in New England, where gas is critically needed.”).
        45
             15 U.S.C. § 717b(c).
        46
             See supra P 8.
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 overbuilding U.S. LNG export capacity.47 The Institute for Energy Economics &
 Financial Analysis claims that global demand for LNG exports was artificially inflated by
 the conflict in Ukraine and that future LNG demand growth is uncertain.48 Louisiana
 Bucket Brigade asserts that LNG companies are exploiting Russian hostilities to garner
 support for their proposed LNG projects and that expanding the number of LNG
 terminals poses national security risks.49 RESTORE states that the project’s contribution
 to climate change outweighs any public benefits it may provide.50 NRDC argues that
 DOE’s approval of exports of the natural gas commodity does not necessitate the
 Commission’s approval of the proposed export facility, and that the Commission cannot
 solely rely on DOE’s export approval to demonstrate the public benefits of the proposed
 project.51

         We also received comments from international energy companies and utilities that
 executed sales and purchase agreements with CP2 LNG, urging that the project is needed.
 Inpex Corporation and JERA, of Japan,52 and EnBW Energie Baden-Wurttemberg AG, of
 Germany,53 each filed comments stressing the importance of the CP2 LNG Project. The
 entities note that the project will contribute to energy security in Japan, Germany, and
 globally.

        Section 3(a) of the NGA provides, in part, that “no person shall export any natural
 gas from the United States to a foreign country or import any natural gas from a foreign
 country without first having secured an order of the Commission authorizing it to do
 so.”54 As noted above, in 1977 the Department of Energy Organization Act transferred

       47
        Environmental Coalition January 6, 2022 Protest at 2-3; Institute for Energy
 Economics & Financial Analysis March 13, 2023 Comments at 2-4; NRDC March 13,
 2023 Comments at 2-3.
       48
       Institute for Energy Economics & Financial Analysis March 13, 2023
 Comments at 2-4.
       49
            Louisiana Bucket Brigade October 12, 2022 Letter at 1-2.
       50
            RESTORE March 13, 2023 Comments at 6.
       51
            NRDC March 13, 2023 Comments at 2-3.
       52
        INPEX Corporation December 7, 2023 Comments; JERA Co., Inc. December 8,
 2023 Comments.
       53
            EnBW Energie Baden-Wurttemberg AG December 14, 2023 Comments.
       54
            15 U.S.C. § 717b(a).
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 the regulatory functions of section 3 of the NGA to the Secretary of Energy.
 Subsequently, the Secretary of Energy delegated to the Commission authority to
 “[a]pprove or disapprove the construction and operation of particular facilities, the site at
 which such facilities shall be located, and with respect to natural gas that involves the
 construction of new domestic facilities, the place of entry for imports or exit for
 exports.”55

         However, as we have previously explained,56 the Secretary has not delegated to
 the Commission any authority to approve or disapprove the import or export of the
 commodity itself.57 Therefore, we decline to address commenters’ and protestors’
 economic claims (e.g., those regarding market demand for LNG), which are relevant only
 to the exportation of the commodity of natural gas, a matter within DOE’s exclusive
 jurisdiction, and not implicated by our limited action of reviewing proposed terminal sites
 and facilities.58 The Commission’s authority under NGA section 3 applies “only to the
 siting and the operation of the facilities necessary to accomplish an export[,]”59 while
 “export decisions [are] squarely and exclusively within the [DOE]’s wheelhouse.”60
 Similarly, issues related to the impacts of natural gas development and production are
 related to DOE’s authorization of the export and not the Commission’s siting of the
 facilities,61 notwithstanding DOE’s interpretation of its own obligations under the
 National Environmental Policy Act (NEPA). We have reviewed CP2 LNG’s application

        55
             DOE Delegation Order No. 00-004.00A.
        56
          See Alaska Gasline Dev. Corp., 171 FERC ¶ 61,134, at P 15, order on
 reh’g, 172 FERC ¶ 61,214 (2020).
        57
           See supra note 41. See also Freeport LNG Dev., L.P., 148 FERC ¶ 61,076,
 reh’g denied, 149 FERC ¶ 61,119 (2014), aff’d sub nom. Sierra Club v. FERC, 827 F.3d
 36 (D.C. Cir. 2016) (finding that because DOE, not the Commission, has sole authority to
 license the export of any natural gas through LNG facilities, the Commission is not
 required to address the indirect effects of the anticipated export of natural gas in its
 NEPA analysis); Sabine Pass Liquefaction, LLC, 146 FERC ¶ 61,117, reh’g denied,
 148 FERC ¶ 61,200 (2014), aff’d sub nom. Sierra Club v. FERC, 827 F.3d 59 (D.C. Cir.
 2016).
        58
       See Jordan Cove Energy Project L.P., 170 FERC ¶ 71,202, at P 32 (2020);
 Commonwealth LNG, LLC, 181 FERC ¶ 61,143, at P 13 (2022).
        59
             Trunkline Gas Co., LLC, 155 FERC ¶ 61,328, at P 18 (2016).
        60
             Sierra Club v. FERC, 827 F.3d at 46.
        61
             Id.
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 to determine if the siting, construction, and operation of its facilities as proposed would
 not be consistent with the public interest.62

        CP2 LNG states that it has contractually secured through agreements with
 landowners all land required for the construction and operation of the CP2 LNG
 Project.63

        Additionally, as discussed further below, Commission staff’s EIS for the project
 finds that, although some impacts of the project would be permanent and significant, such
 as impacts on visual resources, including impacts to visual resources within
 environmental justice communities, most impacts would not be significant or would be
 reduced to less-than-significant levels with the implementation of avoidance,
 minimization, and mitigation measures recommended in the EIS64 and adopted by this
 order. We conclude that the various arguments raised regarding the CP2 LNG Project do
 not amount to the affirmative showing of inconsistency with the public interest that is
 necessary to overcome the presumption in section 3 of the NGA.

        In accordance with the Memorandum of Understanding signed on August 31,
 2018, by the Commission and the Pipeline and Hazardous Materials Safety
 Administration (PHMSA) within the U.S. Department of Transportation (DOT),65
 PHMSA undertook a review of the proposed facility’s ability to comply with the federal
 safety standards contained in Part 193, Subpart B, of Title 49 of the Code of Federal




        62
           See supra P 41; see also Nat’l Steel Corp., 45 FERC ¶ 61,100, at 61,332-33
 (1988) (observing that DOE, “pursuant to its exclusive jurisdiction, has approved the
 importation with respect to every aspect of it except the point of importation” and that the
 “Commission’s authority in this matter is limited to consideration of the place of
 importation, which necessarily includes the technical and environmental aspects of any
 related facilities”).
        63
             Application at 8.
        64
          As part of its environmental review, Commission staff developed mitigation
 measures it determined would appropriately and reasonably reduce the environmental
 impacts resulting from project construction and operation.
        65
          Memorandum of Understanding Between the Department of Transportation
 and the Federal Energy Regulatory Commission Regarding Liquefied Natural Gas
 Transportation Facilities (Aug. 31, 2018), https://www.ferc.gov/legal/mou/2018/FERC-
 PHMSA-MOU.pdf.
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 Regulations.66 On June 28, 2023,67 PHMSA issued a Letter of Determination indicating
 CP2 LNG has demonstrated that the siting of the proposed CP2 LNG Project complies
 with these federal safety standards. If the proposed project is subsequently modified so
 that it differs from the details provided in the documentation submitted to PHMSA,
 further review would be conducted by PHMSA.

        CP2 LNG will operate its LNG terminal under the terms and conditions mutually
 agreed to by its customers and will solely bear the responsibility for the recovery of any
 costs associated with construction and operation of the terminal and associated facilities.
 Accordingly, CP2 LNG’s proposal does not trigger NGA section 3(e)(4).68

        In view of the above, after careful consideration of the entire record of this
 proceeding, including the findings and recommendations of the final EIS, we find that,
 subject to the conditions imposed in this order, CP2 LNG’s proposal is not inconsistent
 with the public interest. Therefore, we will grant CP2 LNG’s application.

        B.       CP Express Pipeline Project (Docket No. CP22-22-000)

         Because the proposed facilities will be used to transport natural gas in interstate
 commerce subject to the Commission’s jurisdiction, the construction and operation of the
 facilities are subject to the requirements of subsections (c) and (e) of section 7 of the
 NGA.69

                     1. Certificate Policy Statement

         The Certificate Policy Statement provides guidance for evaluating proposals to
 certificate new construction.70 The Certificate Policy Statement establishes criteria for


        66
             49 C.F.R. pt. 193, subpt. B (2023).
        67
       Commission staff July 6, 2023 memo, Docket No. CP22-21-000 (attaching
 PHMSA’s Letter of Determination).
        68
          15 U.S.C. § 717b(e)(4) (governing orders for LNG terminals offering open
 access service).
        69
             Id. §§ 717f(c) & (e).
        70
           Certification of New Interstate Nat. Gas Pipeline Facilities, 88 FERC
 ¶ 61,227, corrected, 89 FERC ¶ 61,040 (1999), clarified, 90 FERC ¶ 61,128, further
 clarified, 92 FERC ¶ 61,094 (2000) (Certificate Policy Statement). On March 24, 2022,
 the Commission issued an order converting the policy statements issued in February 2022
 to draft policy statements. Certification of New Interstate Nat. Gas Facilities
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 determining whether there is a need for a proposed project and whether the proposed
 project will serve the public interest. The Certificate Policy Statement explains that, in
 deciding whether to authorize the construction of new pipeline facilities, the Commission
 balances the public benefits against the potential adverse consequences. The
 Commission’s goal is to appropriately consider the enhancement of competitive
 transportation alternatives, the possibility of overbuilding, subsidization by existing
 customers, the applicant’s responsibility for unsubscribed capacity, the avoidance of
 unnecessary disruptions of the environment, and the unneeded exercise of eminent
 domain in evaluating new pipeline construction.

         Under this policy, the threshold requirement for applicants proposing new projects
 is that the applicant must be prepared to financially support the project without relying on
 subsidization from its existing customers. The next step is to determine whether the
 applicant has made efforts to eliminate or minimize any adverse effects the project might
 have on the applicant’s existing customers, existing pipelines in the market and their
 captive customers, and landowners and communities affected by the route of the new
 pipeline facilities. If residual adverse effects on these interest groups are identified after
 efforts have been made to minimize them, the Commission will evaluate the project by
 balancing the evidence of public benefits to be achieved against the residual adverse
 effects. This is essentially an economic test. Only when the benefits outweigh the
 adverse effects on economic interests will the Commission proceed to complete the
 environmental analysis, where other interests are considered.

                        a.        No Subsidy Requirement and Project Need

        CP Express’s proposal satisfies the threshold requirement that it financially
 support the project without relying on subsidization from existing customers. CP Express
 is a new company with no existing shippers. Thus, there is no potential for subsidization
 on CP Express’s system.71

       CP Express asserts that the pipeline project is needed to transport domestically
 sourced natural gas to the CP2 LNG Project, where the gas will be liquefied and exported
 under CP2 LNG’s DOE/FE export authorization.72 CP Express entered a long-term

 Consideration of Greenhouse Gas Emissions in Nat. Gas Infrastructure Project Reviews,
 178 FERC ¶ 61,197 (2022) (Order on Draft Policy Statements).
        71
          See Mountain Valley Pipeline, LLC, 161 FERC ¶ 61,043, at P 32 (2017), order
 on reh’g, 163 FERC ¶ 61,197 (2018); Atl. Coast Pipeline, LLC, 161 FERC ¶ 61,042, at
 P 28 (2017), order denying reh’g, 163 FERC ¶ 61,098 (2018); Sierrita Gas Pipeline,
 LLC, 147 FERC ¶ 61,192, at P 23 (2014).
        72
             Application at 43.
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 precedent agreement with CP2 LNG for the full capacity of the pipeline system. Sierra
 Club asserts that the Commission may not rely on this precedent agreement as evidence
 of project need because CP2 LNG is an affiliate.73

         As the Commission has previously recognized, “it is not an uncommon model for
 entities developing LNG terminals to construct and operate, through an affiliate, an
 associated pipeline to provide transportation and ensure delivery of the natural gas which
 will serve as feedstock for the liquefaction process.”74 Further, affiliated LNG terminals,
 unlike affiliated local distribution companies, have no captive customers to whom they
 can pass the costs associated with their transportation contracts.75 We find CP Express’s
 precedent agreement with CP2 LNG for 100% of the pipeline’s capacity to be significant
 evidence of project need.

                       b.     Impacts on Existing Customers, Existing Pipelines and
                              Their Customers, and Landowners and Surrounding
                              Communities

         As discussed above, CP Express does not have existing customers. In addition,
 there is no evidence that the CP Express Pipeline Project will adversely affect other
 pipelines or their captive customers. The project is designed to connect the existing
 interstate grid to the proposed CP2 LNG Project. No pipeline currently provides
 transportation service to the CP2 LNG Project, and the project is not intended to replace
 service on other pipelines. No pipeline companies or their customers have protested CP
 Express’s application. We find that the CP Express Pipeline Project will not adversely
 affect existing customers or existing pipelines and their customers.

         We are also satisfied that CP Express has taken appropriate steps to minimize
 adverse economic impacts on landowners and surrounding communities. CP Express
 states that the project’s location and design were selected to minimize impacts to
 landowners, and CP Express revised its pipeline route based on conversations with
 landowners during the pre-filing process to reduce those impacts to the extent

        73
          Sierra Club March 11, 2022 Comments at 6. See also Niskanen Center January
 13, 2023 Comments at 5.
        74
          Driftwood Pipeline LLC, 183 FERC ¶ 61,049, at P 24 (2023) (citing Corpus
 Christi Liquefaction Stage III, LLC, 169 FERC ¶ 61,135 (2019), order on reh’g,
 181 FERC ¶ 61,033 (2022)); Rio Grande LNG, LLC, 169 FERC ¶ 61,131 (2019), order
 on reh’g, 170 FERC ¶ 61,046 (2020); Plaquemines LNG, 168 FERC ¶ 61,204; Port
 Arthur LNG, LLC, 167 FERC ¶ 61,052 (2019); Calcasieu Pass LNG, 166 FERC
 ¶ 61,144).
        75
             Driftwood Pipeline LLC, 183 FERC ¶ 61,049 at P 24.
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 practicable.76 Approximately 43% of the project (39.2 miles) will be collocated with
 existing pipelines, power lines, roadways, and canals. Construction of the project would
 affect 1,816.8 acres of land, 608.1 acres of which would be permanently retained for
 operation and maintenance of project facilities.77 Portions of the construction right-of-
 way that are not retained for operations and maintenance would be restored to
 preconstruction conditions.78

         Niskanen Center asserts that impacted landowners whose property is crossed by or
 next to CP Express’s right-of-way would face the potential forced taking of their property
 via eminent domain, overall diminution in property value, and harms from construction
 activities and the permanent placement of a 48-inch gas pipeline on or near their land.79
 The EIS concludes that the CP Express pipeline is not expected to have more than
 negligible effects on property values, and the EIS includes protective conditions, adopted
 here, to mitigate construction impacts on landowner property.80 As of June 2022, CP
 Express had secured purchase/lease agreements for 94% of the project’s aboveground
 facilities and anticipates that it will be able to secure agreements for the remaining
 aboveground tracts.81 Additionally, whether CP Express obtains land rights through
 agreement or eminent domain, landowners will be compensated for the use of their
 land.82

        In sum, we find that CP Express has demonstrated a need for the pipeline project
 and, further, that the project will not have adverse impacts on existing shippers or other
 pipelines and their existing customers and that the project’s benefits will outweigh any
 adverse economic effects on landowners and surrounding communities. Therefore, we




        76
             See final EIS at 3-37.
        77
             Id. at 1-4.
        78
             Id.
        79
             Niskanen Center March 13, 2023 Comments at 5.
        80
             Final EIS at 4-298.
        81
             Id. at 4-299.
        82
          See id. at 4-247 (explaining that, in the event the company acquires land rights
 through eminent domain, a court would determine the appropriate level of
 compensation).
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 conclude that the project is consistent with the criteria set forth in the Certificate Policy
 Statement and analyze the environmental impacts of the project below.83

                    2. Blanket Certificates

         CP Express requests a Part 284, Subpart G blanket certificate in order to provide
 open-access transportation services. Under a Part 284 blanket certificate, CP Express
 would not need individual authorizations to provide transportation services to particular
 customers. CP Express filed a pro forma Part 284 tariff to provide open-access
 transportation services. Because a Part 284 blanket certificate is required for CP Express
 to participate in the Commission’s open-access regulatory regime, we will grant CP
 Express a Part 284 blanket certificate, subject to the conditions imposed herein.

         CP Express also requests a Part 157, Subpart F blanket certificate. A Part 157
 blanket certificate gives an interstate pipeline NGA section 7 authority to automatically,
 or after prior notice, perform a restricted number of routine activities related to the
 construction, acquisition, abandonment, and replacement and operation of existing
 pipeline facilities, provided that the activities comply with constraints on costs and
 environmental impacts.84 Because the Commission has previously determined through a
 rulemaking that these blanket-certificate eligible activities are in the public convenience
 and necessity,85 it is the Commission’s practice to grant new natural gas companies a
 Part 157 blanket certificate if requested.86 Accordingly, we will grant CP Express a
 Part 157 blanket certificate, subject to the conditions imposed herein.




        83
         See Certificate Policy Statement, 88 FERC at 61,745-46 (explaining that only
 when the project benefits outweigh the adverse effects on the economic interests will the
 Commission then complete the environmental analysis).
        84
             See 18 C.F.R. § 157.203 (2023).
        85
         Revisions to the Blanket Certificate Reguls. & Clarification Regarding Rates,
 Order No. 686, FERC Stats. & Regs. ¶ 31,231, at P 9 (2006) (cross-referenced at 117
 FERC ¶ 61,074), order on reh’g, Order No. 686-A, 119 FERC ¶ 61,303, order on reh’g,
 Order No. 686-B, 120 FERC ¶ 61,249 (2007).
        86
           Cf. Rover Pipeline LLC, 161 FERC ¶ 61,244, at P 13 (2017) (denying a request
 for a blanket certificate where the company’s actions had eroded the Commission’s
 confidence it would comply with all the requirements of the blanket certificate program,
 including the environmental requirements).
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                    3. Rates

                       a.       Initial Rates

        CP Express proposes separate initial recourse reservation rates for firm
 transportation service for Phase I service and for Phase II service of $7.637 per Dth and
 $4.203 per Dth, respectively, under Rate Schedule FTS.87 CP Express states that once
 Phase II is placed in service, all facilities will be operated as a single, integrated system.88
 Accordingly, CP Express’s proposed rates for Phase II service include the combined
 costs and design capacity of all project facilities constructed in both Phase I and Phase II
 and will apply to all service on the system after Phase II is placed into service. CP
 Express also proposes recourse rates for interruptible transportation service under Rate
 Schedule ITS that are equal to the 100% load factor equivalent of the applicable Rate
 Schedule FTS rate.

        CP Express states that it calculated the system rates using a straight-fixed-variable
 rate design. CP Express estimates a total cost of service of $203,732,195 for the first
 year of Phase I service and $223,817,850 for the first year of Phase II service.89 CP
 Express states that its costs of service are based on a capital structure of 75% debt and
 25% equity, with an estimated debt cost of 6.0%, a rate of return on equity (ROE) of
 15.0%, and a depreciation rate of 5.0%.90

         Upon the completion and in-service of Phase I, CP Express proposes an initial
 cost-based reservation charge of $7.637 per Dth and a usage charge of $0.004 per Dth
 under Rate Schedule FTS, an interruptible rate of $0.255 per Dth under Rate Schedule
 ITS and an overrun charge of $0.255 per Dth.91 CP Express calculated these rates based
 on its estimated first-year reservation cost of service of $200,642,025, variable costs of
 $3,090,170, and annual billing determinants of 2,189,272 Dth/day.


        87
          Application at 33-34; October 17, 2022 Response to Data Request at Revised
 Ex. N (Revised Ex. N). CP Express revised Exhibits K, L, N, and O of its application in
 a response to a data request on October 17, 2022. Id.
        88
           Construction during Phase II will consist entirely of the addition of 117,400 hp
 of gas-fired compression at the Moss Lake Compressor Station. See supra P 7.
        89
             Revised Ex. N.
        90
          Id. The 5% depreciation rate is derived from the 20-year term of CP Express’s
 transportation service agreement with CP2 LNG.
        91
             Revised Ex. N.
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        Upon completion and in-service of Phase II, CP Express proposes an initial cost-
 based reservation charge of $4.203 per Dth and a usage charge of $0.002 per Dth under
 Rate Schedule FTS, an interruptible rate of $0.141 per Dth under Rate Schedule ITS and
 an overrun charge of $0.141 per Dth.92 CP Express calculated these rates based on its
 estimated first-year reservation cost of service of $220,442,714, variable costs of
 $3,375,136, and annual billing determinants of 4,370,422 Dth/day.

         We find that, once the Phase II facilities are placed in service, CP Express’s
 system will function as an integrated system and that CP Express’s proposed rate
 schedule appropriately establishes a single recourse rate for all Phase II service that
 reflects the costs and design capacities of both the Phase I and Phase II facilities.93 The
 transportation service on the capacity created by the Phase II facilities will be
 indistinguishable from the transportation service on the capacity created by Phase I
 facilities. The Phase II facilities will create an additional 2,200,000 Dth/day of capacity
 at a lower cost than the 2,200,000 Dth/day of capacity created by the Phase I facilities,
 resulting in lower rates for Phase II service than for Phase I.

        We have reviewed CP Express’s proposed cost of service and initial rates, as
 revised, and find that they are consistent with current Commission policy, subject to the
 modifications described below.

                                i.       Variable Costs

        CP Express states that its operations and maintenance (O&M) expenses include
 $3,090,170 in variable costs for Phase I service and $3,375,136 in variable costs for
 Phase II service.94 From these variable costs, CP Express calculated a usage charge of
 $0.004 per Dth for Phase I service and $0.002 per Dth for Phase II service.

        The Commission’s longstanding cost classification method assigns O&M costs to
 particular accounts, depending on the type of cost incurred, as defined in the Uniform
 System of Accounts.95 Costs assigned to each account are required to be itemized
 between two sub-accounts: labor and non-labor. Once the costs in each account have
 been itemized, these costs are then classified as fixed or variable. Under the straight-


        92
             Id.
        93
           See, e.g., Plaquemines LNG, 168 FERC ¶ 61,204 at P 33; Gulfstream Nat. Gas
 Sys., L.L.C., 105 FERC ¶ 61,052 (2003).
        94
             Revised Ex. N.
        95
             18 C.F.R. pt. 201 (2023).
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 fixed-variable rate design, fixed costs should be collected through the reservation charge
 and variable costs should be collected through the usage charge.96

         In its Revised Exhibit N, CP Express classified costs from Account Nos. 853
 (Compressor station labor and expenses), 857 (Measuring and regulating station
 expenses), 864 (Maintenance of compressor station equipment), and 865 (Maintenance of
 measuring and regulating station equipment) as variable and added them to its usage
 charge. CP Express did not provide a breakdown of its accounts by labor and non-labor
 expenses. Under the Commission’s traditional cost classification method, non-labor costs
 in Account Nos. 853, 864, 857, and 865 are classified as variable, and labor costs are
 classified as fixed.97 We direct CP Express to calculate its usage charge in accordance
 with Commission regulations and policy and reflect only non-labor costs included in
 Account Nos. 853, 864, 857, and 865 in its usage charge. Further, in its Revised Exhibit
 N, when CP Express calculated variable O&M expenses, CP Express did not remove the
 total variable O&M expenses from the fixed O&M expenses, thus double counting
 variable O&M expenses and increasing the total cost of service. As stated above, fixed
 costs should be collected through the reservation charge and variable costs should be
 collected through the usage charge. Therefore, we direct CP Express to recalculate its
 reservation charge in accordance with Commission policy.

        Furthermore, CP Express included Account No. 855 (Other fuel and power for
 compressor stations)98 costs in the fixed O&M expenses used to calculate its reservation
 charge. Because fuel use varies with throughput, these costs are properly classified as
 variable,99 and we direct CP Express to include Account No. 855 costs in its usage
 charge. When CP Express submits its tariff records before placing the project facilities
 into service, we direct CP Express to submit revised recourse rates consistent with the


        96
           18 C.F.R. § 284.7(e) (reservation charge) & § 284.10 (straight-fixed-variable
 rate design methodology) (2022); Pipeline Serv. Obligations & Revisions to Reguls.
 Governing Self-Implementing Transp.; & Regul. Of Nat. Gas Pipelines after Partial
 Wellhead Decontrol, Order No. 636, FERC Stats. & Regs. ¶ 30,939 (1992) (cross-
 referenced at 59 FERC ¶ 61,030); Tenn. Gas Pipeline Co., L.L.C., 156 FERC ¶ 61,157, at
 P 29 (2016).
        97
         Dominion Transmission Inc., 153 FERC ¶ 61,382, at P 33 (2015); Columbia
 Gulf Transmission, LLC, 152 FERC ¶ 61,214, at P 20 (2015).
        98
          This account includes the cost of coal, oil, other fuel, or electricity used for the
 to operate compressor stations. 18 C.F.R. pt. 201 (2023), Account 855 Other fuel and
 power for compressor stations.
        99
             Tenn. Gas Pipeline Co., L.L.C., 156 FERC ¶ 61,157 at P 25.
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 discussion herein, along with work papers in spreadsheet format, including formulas and
 a breakdown between labor and non-labor costs by account.100

                               ii.    Design Capacity

         As revised, CP Express’s proposed reservation rates for Phase I and Phase II
 service are based on a design capacity of 2,189,272 Dth/day and 4,370,422 Dth/day,
 respectively.101 Commission policy is to design initial rates based upon the full design
 capacity of the project.102 This approach ensures that the pipeline, not the rate payer, is
 placed at risk for underutilization of the facilities if it does not contract for its full
 capacity.103 Therefore, CP Express is directed to recalculate its initial rates based upon
 its design capacity of 2,200,000 Dth/day for Phase I service and 4,400,000 Dth/day for
 Phase II service.104

                               iii.   Return on Equity

        CP Express contends its proposed 15% ROE is reasonable because its equity ratio
 is only 25%, and the Commission has regularly approved a 14% ROE for greenfield
 projects with equity ratios up to 50%, due to the increasing risks, in recent years, of
 developing and constructing new pipeline infrastructure.105


        100
          When CP Express files its tariff records it should confirm that these Account
 No. 855 costs are not recoverable through its fuel reimbursement percentage. See Tenn.
 Gas Pipeline Co., L.L.C., 156 FERC ¶ 61,157 at P 25 n.22. See infra section III.B.3.c.
        101
              Revised Ex. N.
        102
         See, e.g., Atl. Coast Pipeline, LLC, 161 FERC ¶ 61,042 at PP 106, 112;
 Cameron Interstate Pipeline, LLC, 147 FERC ¶ 61,230, at P 43 (2014).
        103
           See, e.g., Dominion Transmission, Inc., 104 FERC ¶ 61,267, at P 57 (2003);
 Pac. Gas Transmission Co., 70 FERC ¶ 61,016, at 61,045, order on reh’g, 71 FERC
 ¶ 61,268 (1995).
        104
           See Application at 3, 8, & 23. See also May 1, 2023 Response to Data Request
 at Attachment 2, reflecting revised fuel rates based upon a capacity of 2,200,000 Dth/day
 for Phase I service and 4,400,000 Dth/day for Phase II service.
        105
           To support its claim that the risks of pipeline infrastructure development are
 increasing, CP Express cites recently proposed natural gas pipeline projects that have
 been abandoned as a result of opposition and regulatory challenges. Application at 34
 n.37.
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         For greenfield pipelines with equity components equal to or less than 50%, the
 Commission has previously approved ROEs up to 14% for projects to reflect the higher
 risks faced by new market entrants relative to existing pipelines with an existing
 customer base.106 CP Express has not provided sufficient support for why the
 Commission should deviate from its policy of a 14% ROE for greenfield projects;
 therefore we reject its proposed 15% ROE.107 Because CP Express’s equity component is
 less than 50%, consistent with Commission policy we authorize the use of a 14% ROE
 for this project. Accordingly, we require CP Express to revise its proposed recourse rates
 using an adjusted overall rate of return reflecting a 14% ROE.

                        b.     Negotiated Rates and Non-Conforming Provisions

         CP Express proposes to grant several contractual rights to CP2 LNG, the anchor
 shipper, that may materially deviate from the Rate Schedule FT Form of Service
 Agreement contained in CP Express’s proposed pro forma tariff. CP Express entered
 into a binding precedent agreement with CP Express for 100% of its firm transportation
 capacity for an initial term of 20 years subject to negotiated rates. CP Express states that
 the open season made the negotiated rates and certain other contractual rights available to
 any qualifying anchor shippers.108

         CP Express states that CP2 LNG will have the following anchor shipper rights:
 (1) the one-time right to delay Phase II under certain conditions; (2) the right to extend
 the initial 20-year primary term of its Phase I or Phase II service by an additional term
 ranging from one to ten years, at its election, by providing notice to CP Express no later
 than two years prior to the end of the primary term of its service agreement; (3) at the
 time of that notice, if a term extension is elected, CP2 LNG may also choose to reduce its
 maximum transportation quantity for the extended term, provided, however, that the
 reduced quantity is no less than 225,000 Dth/day; (4) entitlements at primary points of
 receipt that, in aggregate, exceed its Maximum Daily Transportation Quantity (MDTQ),

        106
           Roaring Fork Interstate Gas Transmission, LLC, 177 FERC ¶ 62,153, at P 30
 (2021). See also, e.g., Double E Pipeline, 173 FERC ¶ 61,074, at P 42 (2020); Nexus
 Gas Transmission, LLC, 160 FERC ¶ 61,022, at P 81 (2017); Fla. Se. Connection, 154
 FERC ¶ 61,080, at P 118 (2016); Corpus Christi Liquefaction Stage III, LLC, 169 FERC
 ¶ 61,135, at P 34 (2019).
        107
           See, e.g., Driftwood Pipeline LLC, 183 FERC ¶ 61,049 at P 42 (rejecting
 request for a 14.5% ROE and approving a 14% ROE); ETC Tiger Pipeline, LLC,
 131 FERC ¶ 61,010, at P 26 (2010) (denying a request for a 15% ROE and approving a
 14% ROE); Sonora Pipeline, LLC, 120 FERC ¶ 61,032, at P 26 (2007) (rejecting a
 request for a 14.5% ROE and approving a 14% ROE).
        108
              Application at 29.
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 provided that neither the primary firm entitlement at any single point of receipt nor its
 aggregate receipts on any day exceed its MDTQ, as well as the right to designate primary
 receipt point rights among available pipeline interconnections at any time prior to the
 execution of the service agreement; and (5) project-specific credit provisions to support
 the significant financial investment associated with development of the project that will
 remain in place for the duration of the firm service agreement.109

        As a threshold matter, for special terms and conditions of service to be
 permissible, they must be offered to all shippers who submit bids in an open season.110
 We are satisfied that CP Express met this requirement. In its binding open season,
 CP Express stated that “Anchor Shippers will be eligible to receive certain incentives
 with respect to a negotiated rate, receipt point rights, and term extensions, consistent with
 regulatory requirements. Shippers qualifying as Anchor Shippers for both phases of the
 project will also have certain rights regarding the timing of Phase II and related
 conditions precedent.”111

         A material deviation in a service agreement is any provision that: (1) goes beyond
 filling in the blank spaces with the appropriate information allowed by the tariff; and,
 (2) affects the substantive rights of the parties.112 The Commission prohibits negotiated
 terms and conditions of service that result in a shipper receiving a different quality of
 service than that offered to other shippers under the pipeline’s generally applicable tariff
 or that affect the quality of service received by others.113 However, not all material
 deviations are impermissible. Provisions that materially deviate from the corresponding
 pro forma agreement fall into two general categories: (a) provisions the Commission
 must prohibit because they present a significant potential for undue discrimination among
 shippers, and (b) provisions the Commission can permit without a substantial risk of



        109
            Id. at 30. CP Express states that these contractual rights are similar to the
 anchor shipper rights provided to anchor shippers on two other Venture Global pipelines.
 See Calcasieu Pass LNG, 166 FERC ¶ 61,144 at PP 34-38 (TransCameron Pipeline
 Project); Plaquemines LNG, 168 FERC ¶ 61,204 at PP 62-65 (Gator Express Pipeline
 Project).
        110
          Atl. Coast Pipeline, LLC, 161 FERC ¶ 61,042 at PP 116-118; Columbia Gas
 Transmission, L.L.C., 153 FERC ¶ 61,008, at PP 7-21 (2015).
        111
              October 17, 2022 Response to Data Request at 7.
        112
              Columbia Gas Transmission Corp., 97 FERC ¶ 61,221, at 62,002 (2001).
        113
              Monroe Gas Storage Co., LLC, 130 FERC ¶ 61,113, at P 28 (2010).
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 undue discrimination.114 Further, the Commission has found that non-conforming
 provisions may be necessary to reflect the unique circumstances involved with the
 construction of new infrastructure and to provide the needed security to ensure the
 viability of a project.115

        We find that the non-conforming provisions in CP Express’s precedent agreement
 with CP2 LNG constitute material deviations from CP Express’s pro forma service
 agreement; however, we further find the non-conforming provisions are permissible
 because they do not present a risk of undue discrimination, do not adversely affect the
 operational conditions of providing service, and do not result in any customer receiving a
 different quality of service.116

         CP Express’s pro forma tariff provides for CP Express to charge negotiated rates
 for its proposed services. CP Express proposes to provide service under negotiated rate
 transportation service agreements. CP Express must file either the negotiated rate
 agreements or tariff records setting forth the essential terms of the agreements in
 accordance with the Alternative Rate Policy Statement117 and the Commission’s
 negotiated rate policies.118 CP Express must file an executed copy of the non-conforming
 service agreement and identify and disclose all non-conforming provisions or agreements
 affecting the substantive rights of the parties under the tariff or service agreement. This
 required disclosure includes any such transportation provision or agreement detailed in a

        114
           Columbia Gas Transmission Corp., 97 FERC at 62,003. See also Equitrans,
 L.P., 130 FERC ¶ 61,024, at P 5 (2010).
        115
          See, e.g., Tenn. Gas Pipeline Co., L.L.C., 144 FERC ¶ 61,219 (2013);
 Midcontinent Express Pipeline LLC, 124 FERC ¶ 61,089 (2008).
        116
           See, e.g., Gulf South Pipeline Co., L.P., 115 FERC ¶ 61,123 (2006); Gulf South
 Pipeline Co., L.P., 98 FERC ¶ 61,318, at P 4 (2002). See also Calcasieu Pass LNG,
 166 FERC ¶ 61,144 at PP 34-38; Plaquemines LNG, 168 FERC ¶ 61,204 at PP 62-65.
        117
           Alt. to Traditional Cost-of-Service Ratemaking for Nat. Gas Pipelines; Regul.
 of Negotiated Transp. Servs. of Nat. Gas Pipelines, 74 FERC ¶ 61,076, clarification
 granted, 74 FERC ¶ 61,194, order on reh’g and clarification, 75 FERC ¶ 61,024, reh’g
 denied, 75 FERC ¶ 61,066, reh’g dismissed, 75 FERC ¶ 61,291 (1996), petition denied
 sub nom. Burlington Res. Oil & Gas Co. v. FERC, 172 F.3d 918 (D.C. Cir. 1998)
 (Alternative Rate Policy Statement).
        118
           Nat. Gas Pipelines Negotiated Rate Policies & Practices; Modification of
 Negotiated Rate Pol’y, 104 FERC ¶ 61,134 (2003) (Negotiated Rate Policy Statement),
 order on reh’g and clarification, 114 FERC ¶ 61,042, reh’g dismissed and clarification
 denied, 114 FERC ¶ 61,304 (2006).
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 precedent agreement that survives the execution of the service agreement. Consistent
 with section 154.112 of the Commission’s regulations, CP Express must also file a tariff
 record identifying the agreements as non-conforming agreements.119 In addition, the
 Commission emphasizes that the above determination relates only to those items
 described by CP Express in its application and not the entirety of the precedent
 agreement.120

                        c.     Fuel

          CP Express proposes to recover the costs of fuel and lost and unaccounted for gas
 through in-kind reimbursement percentages of shipper receipts. CP Express states that
 the reimbursement percentages will be adjusted annually with a true-up mechanism set
 forth in section 13 of the General Terms and Conditions (GT&C) of its pro forma
 tariff.121 CP Express proposes an initial fuel reimbursement percentage of 0.29% for
 Phase I service and 0.42% for Phase II service122 and an initial lost and unaccounted for
 percentage of 0.25%.123 CP Express states that the initial fuel reimbursement percentage
 reflects the required fuel to operate the Moss Lake Compressor Station on a design day
 with an assumed 100% load factor.




        119
              18 C.F.R. § 154.112 (2023).
        120
           A Commission ruling on non-conforming provisions in a certificate proceeding
 does not waive any future review of such provisions when the executed copy of the non-
 conforming agreement(s) and a tariff record identifying the agreement(s) as non-
 conforming are filed with the Commission, consistent with section 154.112 of the
 Commission’s regulations. See, e.g., Tenn. Gas Pipeline Co., L.L.C., 150 FERC
 ¶ 61,160, at P 44, n.33 (2015).
        121
              Application at 35-36.
        122
           May 1, 2023 Data Response at attach. 2. CP Express provided a revised fuel
 derivation to correct the fuel reimbursement percentages provided in the October 17,
 2022 Data Response. The fuel consumption is projected to be 6,380 Dth/day for Phase I
 service and 18,707 Dth/day for Phase II service.
        123
           Id.; October 17, 2022 Response to Data Request at 15. CP Express states that
 the 0.25% initial lost and unaccounted for percentage is consistent with the
 Commission’s approval of the percentage for the similarly situated TransCameron
 Pipeline. See Calcasieu Pass LNG, 166 FERC ¶ 61,144 at PP 29, 31.
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        We find that CP Express’s proposed initial fuel and lost and unaccounted for gas
 reimbursement percentages are reasonable, and that the proposed true-up mechanism is
 consistent with Commission regulation and policy.124

                        d.     Three-Year Filing Requirement

        Consistent with Commission precedent, CP Express is required to file a cost and
 revenue study no later than three months after its first three years of actual operation of
 the entire system (both Phase I and II) to justify its existing cost-based firm and
 interruptible recourse rates.125 In that filing, the projected units of service should be no
 lower than those upon which CP Express’s approved initial rates are based. The filing
 must include a cost and revenue study in the form specified in section 154.313 of the
 Commission’s regulations to update cost of service data.126 CP Express’s cost and
 revenue study should be filed through the eTariff portal using a Type of Filing Code 580.
 In addition, CP Express is advised to include as part of the eFiling description a reference
 to Docket Nos. CP22-21-000 and CP22-22-000 in the cost and revenue study.127

         To the extent CP Express has not begun construction of the Phase II facilities
 within two years of the in-service date of Phase I, CP Express is directed to file a cost and
 revenue study three years after the in-service date of the Phase I facilities. After
 reviewing the data, the Commission will determine whether to exercise its authority
 under NGA section 5 to investigate whether the rates remain just and reasonable. In the
 alternative, in lieu of that filing, CP Express may make an NGA general section 4 rate
 filing to propose alternative rates to be effective no later than three years after the in-
 service date for its proposed facilities.

                        e.     Pro Forma Tariff

      CP Express filed its pro forma tariff as part of its application in Exhibit P.
 CP Express states that the CP Express Pipeline System will provide transportation



        124
              18 C.F.R. § 154.403 (2023); ANR Pipeline Co., 108 FERC ¶ 61,050 (2004).
        125
           Atl. Coast Pipeline, LLC, 161 FERC ¶ 61,042 at P 105; Fla. Southeast
 Connection, 154 FERC ¶ 61,080 at P 139; Bison Pipeline, LLC, 131 FERC ¶ 61,013, at
 P 29 (2010); Ruby Pipeline, L.L.C., 128 FERC ¶ 61,224, at P 57 (2009); MarkWest
 Pioneer, L.L.C., 125 FERC ¶ 61,165, at P 34 (2008).
        126
              18 C.F.R. § 154.313 (2023).
        127
              Elec. Tariff Filings, 130 FERC ¶ 61,047, at P 17 (2010).
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 services on an unbundled, open access basis under nondiscriminatory terms and
 conditions.128

                               i.     Negotiated Rate Authority

         Commission policy requires that if a pipeline files a tariff record reflecting the
 terms of a negotiated rate agreement, the tariff record summary must fully describe the
 essential elements of the transaction, including the name of the shipper, the negotiated
 rate, the type of service, the receipt and delivery points applicable to the service, and the
 volume of gas to be transported. Also, where the price term of the negotiated rate
 agreement is a formula, the formula should be fully set forth in the tariff
 record. CP Express is directed to modify its tariff, GT&C section 4.14(a)(v), to be
 consistent with the Commission’s negotiated rate policy.129 In addition, CP Express must
 maintain separate and identifiable accounts for volumes transported, billing determinants,
 rate components, surcharges, and revenues associated with its negotiated rates in
 sufficient detail so that they can be identified in Statements G, I, and J in any future NGA
 section 4 or 5 rate case. CP Express is ordered to add this record keeping requirement to
 section 4.14(c) of its tariff.130

                               ii.    System Map

          CP Express’s pro forma tariff does not include maps of its system and therefore
 does not comply with the Commission’s regulations. CP Express is required to revise its
 tariff to provide uniform resource locators (URL) designating a location on the internet
 for publication of its system maps.131

                               iii.   Crediting of Operational Flow Order Penalties

        In section GT&C 14.2(a) of CP Express’s pro forma tariff, CP Express proposes
 to credit penalties pursuant to Operational Flow Orders (OFO), net of transporter’s costs,
 to non-offending firm transportation customers. However, this section does not fully




        128
              Application at 35.
        129
            Negotiated Rate Policy Statement, 104 FERC ¶ 61,134, order on reh’g and
 clarification, 114 FERC ¶ 61,042, reh’g dismissed and clarification denied, 114 FERC
 ¶ 61,304.
        130
              See, e.g., Gulf Crossing Pipeline Co., LLC, 123 FERC ¶ 61,100 (2008).
        131
              18 C.F.R. § 154.106 (2023).
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 comply with Order No. 637.132 While CP Express’s proposal states that it will credit
 OFO penalties only to non-offending firm shippers, we have generally held that a
 pipeline must credit revenues to all shippers. Since all shippers, including interruptible
 shippers, may be subject to penalties, all shippers should therefore receive a proportional
 share of any net penalty revenues.133 We therefore direct CP Express to revise section
 14.2(a) of its GT&C to provide crediting of OFO penalty revenues to all non-offending
 shippers, regardless of whether they are firm or interruptible. Moreover, CP Express
 proposes to credit revenues “net of Transporter’s costs.” CP Express will have the
 burden of supporting any such costs in a penalty revenue report.134 CP Express’s
 customers may challenge the costs and the methods of identifying these amounts when
 the report has been filed.

                               iv.   Segmentation

         CP Express states that it does not propose to offer segmentation rights on its
 system as it is not operationally feasible and not desired by its shipper. Therefore,
 CP Express requests exemption from section 284.7(d) of the Commission’s
 regulations.135 According to CP Express, the pipeline will operate as a uni-directional
 line, receiving gas from receipt-only interconnects with upstream pipelines and
 transporting it to the single delivery point at the CP2 LNG Project with no intermediate
 delivery points allowing for segmentation of the capacity.136

       We find that because CP Express has uni-directional, receipt-only interconnections
 with upstream pipelines and one delivery point, segmentation is not operationally feasible


        132
           Regul. of Short-Term Nat. Gas Transp. Servs. & Regul. of Interstate Nat. Gas
 Transp. Servs., Order No. 637, FERC Stats. & Regs. ¶ 31,091 (cross-referenced at 90
 FERC ¶ 61,109), clarified, Order No. 637-A, FERC Stats. & Regs. ¶ 31,099 (cross-
 referenced at 91 FERC ¶ 61,169), reh’g denied, Order No. 637-B, 92 FERC ¶ 61,062
 (2000), aff’d in part and remanded in part sub nom. Interstate Nat. Gas Ass’n of Am. v.
 FERC, 285 F.3d 18 (D.C. Cir.), order on remand, 101 FERC ¶ 61,127 (2002), order on
 reh’g, 106 FERC ¶ 61,088 (2004), aff’d sub nom. Am. Gas Ass’n v. FERC, 428 F.3d 255
 (D.C. Cir. 2005).
        133
           Destin Pipeline Co., L.L.C., 99 FERC ¶ 61,060, at 61,284 (2002); Nat. Gas
 Pipeline Co. of America, 101 FERC ¶ 61,200, at P 99 (2002).
        134
              See Order No. 637-A, FERC Stats. & Regs. ¶ 31,099 at 35,742.
        135
              Application at 36.
        136
              Id.
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 on the system as currently configured.137 Therefore, we will grant CP Express a limited
 waiver from implementing segmentation on its system. The waiver is granted only until
 CP Express adds a point to its system making segmentation operationally feasible.
 Before such additional point is placed in service, CP Express must file new or revised
 tariff records in accordance with the Commission’s regulations to provide for
 segmentation.

                             v.     NAESB

         The Commission has adopted in its regulations various standards for conducting
 business practices and electronic communication with interstate pipelines as promulgated
 by the North American Energy Standards Board (NAESB).138 The standards are intended
 to govern nominations, allocations, balancing measurement, invoicing, capacity release,
 and mechanisms for electronic communication between pipelines and those with whom
 they do business. CP Express requests an extension of time to implement NAESB
 Wholesale Gas Quadrant (WGQ) Version 3.2 Standards relating to various Electronic
 Data Interchange (EDI),139 Electronic Delivery Mechanism (EDM),140 and Internet
 Electronic Transport (IET)141 requirements until such time as CP Express is requested by
 a Part 284, open-access customer to provide such electronic data services. CP Express
 states that the Commission generally has granted an extension of time to comply with

        137
         Calcasieu Pass LNG, 166 FERC ¶ 61,144 at PP 39-40; Plaquemines LNG,
 168 FERC ¶ 61,204 at PP 41-42; Sierrita Gas Pipeline, LLC, 147 FERC ¶ 61,192 at P 56.
        138
          See Standards for Bus, Practices for Interstate Nat. Gas Pipelines, Order No.
 698, FERC Stats. & Regs. ¶ 31,251 (2007) (cross-referenced at 119 FERC ¶ 61,317),
 order granting clarification and denying reh’g, Order No. 698-A, 121 FERC ¶ 61,264
 (2007). Standards for Bus. Practices for Interstate Nat. Gas Pipelines, Order No. 587-S,
 111 FERC ¶ 61,203 (2005). Pursuant to the June 14, 2005 errata notice in Docket No.
 RM96-1-026, the title of the May 9, 2005 final rule was changed from Order No. 654 to
 Order No. 587-S.
        139
           EDI standards require computer-to-computer electronic data interchange of
 information in files as mapped from the NAESB WGQ datasets and communicated
 between trading partners over the Internet using the NAESB Internet Electronic
 Transport.
        140
           EDM standards relate to the use of the Internet for pertinent business practice
 and electronic communications.
        141
          IET refers to electronic transaction messaging standards which, in concert with
 Quadrant-specific EDM (QEDM), enable NAESB parties to securely and reliably
 exchange transactions over the Internet.
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 these standards.142 For good cause shown, we grant CP Express an extension of time to
 comply with EDI, EDM, and IET NAESB Standards, as requested.143 The extension of
 time is limited to the NAESB WGQ Version 3.2 Standards144 promulgated by Order No.
 587-Z,145 and will be in effect until a Part 284 customer requests CP Express to offer the
 EDI, EDM, and IET transactions or data via its website.146 Further, CP Express must be
 fully compliant with the NAESB WGQ Version 3.2 Standards as it relates to proprietary
 location codes.147

                               vi.    Determination

        CP Express proposes to offer firm and interruptible transportation services on an
 open-access basis under the terms and conditions set forth in the pro forma tariff attached
 as Exhibit P to the application. We find that CP Express’s proposed pro forma tariff
 generally complies with Part 284 of the Commission’s regulations,148 with the exceptions
 discussed above. We will require CP Express to file actual tariff records consistent with

        142
              Application at 37 (citing TransCameron Pipeline, LLC, 174 FERC ¶ 61,186
 (2021)).
        143
            NAESB WGQ Version 3.2 Standards 1.3.3, 1.3.9, 1.3.13, 1.3.20, 1.3.21,
 1.3.23, 1.3.48, 1.3.53, 1.3.55, 1.3.56, 1.3.58, 1.3.62, 1.4.2, 1.4.7, 2.3.5, 2.3.6, 2.3.13,
 2.3.32, 2.3.40, 2.4.2, 2.4.6, 2.4.7, 2.4.8, 3.3.23, 3.3.24, 3.4.1 through 3.4.4, 4.3.1 through
 4.3.3, 4.3.42 through 4.3.47, 4.3.49, 4.3.50, 4.3.52 through 4.3.55, 4.3.57, 4.3.58, 4.3.60,
 4.3.62, 4.3.66 through 4.3.69, 4.3.72, 4.3.75, 4.3.78 through 4.3.82, 4.3.84 through
 4.3.87, 4.3.107 through 4.3.110, 5.3.10 through 5.3.12, 5.3.70 through 5.3.72, 5.4.14
 through 5.4.17, 5.4.20 through 5.4.27, 10.3.1, 10.3.3 through 10.3.12, and 10.3.14
 through 10.3.29.
        144
          See B-R Pipeline Co., 128 FERC ¶ 61,126, at P 6 (2009) (each time the
 Commission adopts new versions of the standards, a pipeline seeking to retain an existing
 waiver must request a waiver of the new standards).
        145
          Standards for Business Pracs. of Interstate Nat. Gas Pipelines, Order
 No. 587-Z, 176 FERC ¶ 61,015 (2021).
        146
            CP Express states that any changes to NAESB standards, as well as any other
 subsequent changes in the Commission’s generally applicable requirements for tariffs,
 that take effect prior to the in-service date of the CP Express Pipeline Project will be
 incorporated into the tariff when CP Express files to make its tariff effective.
        147
              See Equitrans L.P., 153 FERC ¶ 61,320, at PP 9-13 (2015).
        148
              18 C.F.R. pt. 284 (2023).
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 the directives in this order at least 30 days and no more than 60 days prior to the
 commencement of service. In addition, CP Express must file a redline-strikeout version
 of the revised tariff records to identify the changes made to comply with this order.

        C.       Environmental Analysis

       To satisfy the requirements of the National Environmental Policy Act of 1969
 (NEPA),149 Commission staff evaluated the potential environmental impacts of the
 proposed project in an EIS. The U.S. Army Corps of Engineers (Army Corps); U.S.
 Department of Energy; U.S. Coast Guard; Department of Transportation’s Pipeline and
 Hazardous Materials Safety Administration (PHMSA); and National Oceanic and
 Atmospheric Administration’s National Marine Fisheries Service (NMFS) participated in
 development of the EIS as cooperating agencies, as defined by NEPA.150

          On February 17, 2021, Commission staff began its environmental review of the
 CP2 LNG and CP Express Projects by granting the applicants’ request to use the pre-
 filing process, assigning Docket No. PF21-1-000.151 The Commission’s pre-filing
 process is designed to encourage early involvement by citizens, governmental entities,
 non-governmental organizations, and other interested parties in the development of
 proposed natural gas transmission projects, prior to the filing of a formal application. As
 part of the pre-filing review, staff participated in three virtual open house public meetings
 held by the applicants on April 6, 7, and 8, 2021, to explain the Commission’s
 environmental review process to interested stakeholders.

        As part of the pre-filing process, on April 27, 2021, the Commission issued a
 Notice of Scoping Period Requesting Comments on Environmental Issues for the Planned
 CP2 LNG and CP Express Project and Notice of Public Scoping Sessions. The notice
 was published in the Federal Register on May 4, 2021, and opened a scoping period, with
 comments due on May 27, 2021.152 The notice was mailed to about 2,700 entities,
 including federal, state, and local officials; agency representatives; conservation
 organizations; Native American Tribes; local libraries and newspapers; non-

        149
           42 U.S.C. §§ 4321 et seq. See also 18 C.F.R. pt. 380 (2023) (Commission’s
 regulations implementing NEPA).
        150
            40 C.F.R. § 1501.8 (2023). Cooperating agencies have jurisdiction by law or
 special expertise with respect to resources potentially affected by a proposal and
 participate in the NEPA analysis.
        151
           Approval of Pre-filing Request, Docket No. PF21-1-000 (issued Feb. 17, 2021);
 see also 18 C.F.R. § 157.21(b) (2023).
        152
              86 Fed. Reg. 23,711 (May 4, 2021).
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 governmental organizations; and property owners in the vicinity of the proposed project
 (Commission staff’s environmental mailing list). Commission staff held three virtual
 public scoping sessions via telephone on May 11, 12, and 13, 2021, to provide
 government agencies and the general public the opportunity to comment about issues to
 be addressed in the environmental analysis. The pre-filing process ended on December 2,
 2021, when CP2 LNG and CP Express filed their applications for the CP2 LNG and CP
 Express Projects.

        On February 9, 2022, the Commission issued a Notice of Intent to Prepare an
 Environmental Impact Statement for the Proposed CP2 LNG and CP Express Project,
 Request for Comments on Environmental Issues, and Schedule for Environmental
 Review. The notice was published in the Federal Register153 and established a comment
 period that ended on March 11, 2022. The notice was also mailed to project stakeholders
 on the Commission staff’s environmental mailing list, including individuals who
 provided comments during the pre-filing process or asked to be on the mailing list.

        In response to the notices, the Commission received 56 comments and 1,719
 individual form letters from landowners; federal, state, and local agencies; Native
 American Tribes; companies and non-governmental organizations; and other interested
 individuals. Primary issues raised by the commenters related to potential project impacts
 on climate change, water quality and wetlands, wildlife, aquatic resources, threatened and
 endangered species, recreational activities, local infrastructure, environmental justice
 communities, and air quality.

        Pursuant to NEPA requirements, Commission staff prepared a draft EIS for the
 projects, which was issued on January 19, 2023, and addressed all substantive
 environmental comments received prior to its issuance. Notice of the draft EIS was
 published in the Federal Register on January 26, 2023,154 establishing a 45-day public
 comment period that ended on March 13, 2023. Copies of the notice were mailed to
 Commission staff’s environmental mailing list.

         In response to the draft EIS, the Commission received written comments from
 three federal agencies, two state agencies, eleven companies and non-governmental
 organizations, and nine individuals. The Commission also received a copy of one form
 letter associated with an online petition which had 83 signatures at the time of filing.
 Commission staff held two public comment sessions in the project area on March 1 and
 2, 2023, in Calcasieu and Cameron Parishes, Louisiana, respectively, to solicit and
 receive comments on the draft EIS. A total of 36 individuals provided oral comments.
 Primary issues raised by the commenters relate to potential project impacts on wetlands,

       153
             87 Fed Reg. 8580 (Feb. 15, 2022).
       154
             88 Fed. Reg. 4995 (January 26, 2023).
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 wildlife, aquatic resources, threatened and endangered species, air quality, LNG terminal
 safety, flooding and tropical storm systems, and greenhouse gases and climate change.

        Commission staff issued the final EIS for the projects on July 28, 2023. The
 Notice of Availability of the final EIS was published in the Federal Register on August 4,
 2023,155 and the notice was mailed to Commission staff’s environmental mailing list.
 The final EIS addresses: geology; soils; water resources; wetlands; vegetation; wildlife;
 aquatic resources; threatened and endangered species; land use; recreation; visual
 resources; socioeconomics; environmental justice;156 cultural resources; air quality; noise;
 safety; cumulative impacts; and alternatives. It also addresses all substantive
 environmental comments received on the draft EIS.

         The final EIS concludes that construction and operation of the projects would
 result in some adverse environmental impacts, but that with the mitigation measures
 recommended in the final EIS, most of these impacts would be reduced to less than
 significant levels.157 The final EIS concludes that impacts on visual resources, including
 cumulative visual impacts and visual impacts affecting environmental justice
 communities in the region, would be significant.158 With regard to climate change
 impacts, the final EIS does not characterize the project’s GHG emissions as significant or
 insignificant, but we provide information about these emissions below, based on the
 information on file in the proceeding and as disclosed in the final EIS.159

        The Commission received comments on the final EIS from the U.S.
 Environmental Protection Agency (EPA), NMFS, Louisiana Department of Wildlife and
 Fisheries (Louisiana DWF),160 the Natural Resources Defense Council (NRDC), the


        155
              88 Fed. Reg. 51,802 (Aug. 4, 2023).
        156
          Under NEPA, the Commission considers impacts to all potentially affected
 communities. Consistent with Executive Order 12,898 and Executive Order 14,008, the
 Commission separately identifies and addresses “disproportionately high and adverse
 human health or environmental effects” on environmental justice communities. Exec.
 Order No. 12,898, 59 Fed. Reg. 7629 (Feb. 11, 1994); Exec. Order No. 14,008, 86 Fed.
 Reg. 7619 (Jan. 27, 2021). See infra section III.C.7.
        157
              Final EIS at 5-1.
        158
              Id.
        159
              Final EIS at 4-549; see infra section III.C.8.
        160
            We note that most of Louisiana DWF’s comments on the final EIS were
 identical to its comments on the draft EIS, which were addressed in Appendix N of the
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 Environmental Integrity Project, Sierra Club, For a Better Bayou, Institute for Energy
 Economics and Financial Analysis, and landowners, stakeholders, and members of the
 public.161 Based on the comments received on the final EIS, the following issues are
 discussed further below: essential fish habitat (EFH); wildlife (including special status
 species and nesting birds); water quality certification; vulnerability to hurricanes and high
 winds speeds, shoreline erosion, and sea level rise; environmental justice; commercial
 fisheries and shrimping; climate change; air quality; alternatives; and cumulative impacts.

                    1.   Essential Fish Habitat

         The final EIS evaluated the potential impacts of three alternative pipeline routes
 on EFH and concluded that the alternatives do not provide a significant environmental
 advantage over the preferred pipeline route, which avoids impacting existing oyster
 habitat, artificial finfish reefs, and oyster cultch plants162 within Calcasieu Lake, as well
 as marsh restoration projects south of the lake.163 NMFS comments that it disagrees with
 this determination and notes that the alternative route through Calcasieu Lake would
 avoid a significant portion of estuarine emergent wetlands, resulting in fewer direct
 impacts to EFH.164 NMFS, however, concurs with the final EIS’s conclusion that
 implementation of the applicants’ preliminary compensatory mitigation plan and
 beneficial use of dredged materials plan would offset most of the EFH impacts.165
 Therefore, NMFS states that the EFH consultation requirements of the Magnuson-




 final EIS. Only substantive comments not previously addressed in the final EIS are
 addressed in this order.
        161
          See, e.g., Pam Elders October 17, 2023 Comments; Adley and Judy Dyson
 October 19, 2023 Comments; Karen Uhlenhuth October 19, 2023 Comments; Rebecca
 Liberman October 20, 2023 Comments; Jarrod Baniqued Comments; Kalama Reuter
 November 22, 2023 Comments; Donna Gaab November 22, 2023 Comments; Wendy
 Ring November 27, 2023 Comments; Thomas Kitson November 29, 2023 Comments;
 Alexis Dekle Comments; Betty Winkler November 30, 2023 Comments.
        162
           Oyster cultching involves the placement of various kinds of material into the
 water to provide points of attachment for oyster larvae.
        163
              Final EIS at 3-64.
        164
              NMFS September 29, 2023 Comments at 1.
        165
              Id.
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 Stevens Fishery Conservation and Management Act have been fulfilled for the
 projects.166

                     2. Sensitive Species

                        a.     Endangered Species Act Consultation

        On December 1, 2023, the U.S. Fish and Wildlife Service’s Louisiana Ecological
 Services Office (FWS) issued a Biological Opinion for the portions of the projects in
 Louisiana.167 Thus, consultation under Section 7 of the Endangered Species Act is now
 complete and as such staff’s environmental recommendation 19 that was included in the
 final EIS, is not included as an environmental condition of this order.168

                        b.     Rice’s Whale

        Sierra Club comments that the final EIS does not fully analyze the potential direct,
 indirect, and cumulative impacts the project would have on the Rice’s whale.169 Sierra
 Club further states that the final EIS inappropriately relied on CP2 LNG’s commitment to
 provide vessel operators with materials outlining voluntary measures to reduce their
 impacts on marine mammals as its basis for finding the CP2 LNG Project is not likely to
 adversely affect the Rice’s whale.170

       As discussed in the final EIS, the Rice’s whale has been documented off the coast
 of Louisiana in the Gulf of Mexico.171 Barges and other vessels carrying construction
 equipment, as well as LNG carriers, would travel through this area to the CP2 LNG
 terminal during construction and operation, respectively, and could potentially strike a




        166
              Id.
        167
              FWS January 17, 2024 Biological Opinion.
        168
             NMFS concurred with Commission staff’s conclusions for federally designated
 threatened or endangered species under their jurisdiction. NMFS May 12, 2023 Letter
 (filed in the docket in CP2 LNG and CP2 Express May 31, 2023 supplemental filing at
 327). This letter was inadvertently excluded from the final EIS.
        169
              Sierra Club March 5, 2024 Comments at 1-2.
        170
              Id.
        171
              Final EIS at 4-224.
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 Rice’s whale.172 The final EIS further discusses that the Rice’s whale may be impacted
 by marine pollution related to project operation.173

        The final EIS states that the potential for collisions between project-related vessels
 and the Rice’s whale is low because these vessels will use well-established shipping
 lanes, noting NMFS’s determination that the potential for collisions between vessels
 associated with the neighboring Calcasieu Pass LNG terminal and sperm whales, the
 most abundant whale species in the Gulf of Mexico, is highly unlikely.174 The final EIS
 notes that the risk of collision is minimized because CP2 LNG would provide the Vessel
 Strike Avoidance Measures to LNG carrier captains and would advocate compliance with
 the measures identified in the document.175

        As noted in Sierra Club’s comments, the estimated population of the Rice’s whale
 in the Gulf of Mexico is less than 50 individuals.176 We add here that the likelihood of a
 project-related vessel colliding with a Rice’s whale is low because operation of the CP2
 LNG Project would only marginally increase ship traffic in the Calcasieu Ship Channel
 and would result in an even smaller relative increase in ship traffic in the Gulf of
 Mexico.177

        Further, the final EIS discusses the potential impact from marine pollution from
 marine traffic associated with the project.178 To address the potential marine pollution
 impacts associated with offshore spills of fuel, lubricants, or other hazardous materials,
 the Coast Guard requires LNG carriers to develop and implement a Shipboard Oil
 Pollution Emergency Plan, which includes measures to be taken if an oil pollution




        172
              Id.
        173
              Id.
        174
              Id.
        175
              Id.
        176
              Sierra Club March 5, 2024 Comments at 1.
        177
           CP2 LNG estimates that between 200 and 400 LNG carriers would visit the
 terminal annually, which would represent only a minor increase in the level of ship traffic
 in the Calcasieu Ship Channel. Final EIS at 4-185.
        178
              Final EIS at 4-224.
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 incident occurs or if a ship is at risk of one.179 Implementation of these measures would
 minimize the risk of negative effects from marine pollution on the Rice’s whale.180

         The final EIS concludes that the construction and operation of the project may
 affect but is not likely to adversely affect the Rice’s whale.181 Based on its knowledge,
 expertise, and the information provided by Commission staff and related materials,
 NMFS concurred with the final EIS’s conclusion that the project is not likely to adversely
 affect any listed species under its jurisdiction, including the Rice’s whale.182

         Additionally, the final EIS discusses the potential cumulative impacts on the
 Rice’s whale from the increased LNG carrier traffic from the CP2 LNG terminal, and
 marine traffic associated with other existing and proposed LNG projects and oil and gas
 development in the Gulf of Mexico.183 The final EIS concludes that although the project
 would contribute to a minor cumulative increase in vessel traffic which could incur a risk
 to whales in the Gulf of Mexico, the magnitude of the increase would not be
 significant.184 In addition, the cumulative impacts of the increased LNG carrier traffic
 associated with the CP2 LNG Project when considered with other projects would be
 permanent, but would not be significant.185 We agree.

        Finally, Sierra Club asserts that the Commission must initiate formal consultation
 with NMFS to consider NMFS’s proposal to designate the Gulf’s central and western-
 shelf break as critical habitat for the Rice’s whale and the scientific evidence included in
 NMFS’s proposal.186 We disagree.187 Should NMFS designate critical habitat for the


        179
              Id.
        180
              Id.
        181
              Id.
        182
          NMFS May 12, 2023 Letter (filed to the docket in CP2 LNG and CP2 Express
 May 31, 2023 Supplemental Filing at 327).
        183
              Final EIS at 4-535.
        184
              Id.
        185
              Id. at 4-534.
        186
              Sierra Club March 5, 2024 Comments at 7-8, 11-13.
        187
            A proposal to designate critical habitat for a listed species does not trigger
 reinitiation of consultation under the ESA. See 40 C.F.R. § 402.16 (2023).
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 Rice’s whale, Commission staff will coordinate any necessary consultation with NMFS at
 that time.188

                         c.     Mississippi Diamond-backed Terrapin

         Louisiana DWF comments that the Mississippi Diamond-backed Terrapin
 (Malaclemys terrapin pileata) may occur in the project area and is considered vulnerable
 in Louisiana.189 Louisiana DWF states that this species inhabits brackish water habitats,
 especially sandy coastal marshes and dunes, and that nest searches should be conducted if
 any project activities that involve mobilization or demobilization would occur in the
 sandy edges of marshes and dunes inhabited by the terrapin.190 In accordance with
 Louisiana’s regulations,191 the final EIS analyzes project impacts on state-designated
 threatened and endangered species.192 The Mississippi Diamond-backed Terrapin is
 listed as S3 (vulnerable; at moderate risk of extirpation in Louisiana), but not currently
 identified as a state-designated threatened or endangered species.

        The final EIS concludes that the construction and operation of the project facilities
 would not have a significant impact on wildlife resources.193 To minimize project
 impacts, CP2 LNG and CP Express would adhere to the project-specific Upland Erosion
 Control, Revegetation, and Maintenance Plan (Plan), Wetland and Waterbody
 Construction and Mitigation Procedures (Procedures), and Spill Prevention, Control, and
 Countermeasure Plan (SPCC Plan). The applicants’ proposed mitigation measures, such
 as the use of erosion control devices where feasible, limiting the amount and duration of
 open trenches during construction, and restoring temporary workspace areas to as near
 pre-construction conditions as practicable, would minimize potential impacts on habitat
 and wildlife species. Further, CP Express would use a horizontal directional drill to cross
 beneath several rivers, which would eliminate impacts on the bed and banks of
 waterbodies potentially inhabited by the Mississippi Diamond-backed Terrapin. CP
 Express would also limit the extent and duration of disturbance to the remaining


        188
            NMFS has proposed, but not finalized, a critical habitat designation for
 the Rice's Whale. 88 Fed. Reg. 47,453 (July 24, 2023).
        189
              Louisiana DWF August 29, 2023 Comments at 2.
        190
              Id.
        191
              Louisiana Administrative Code Title 76, section I-317.
        192
              Final EIS at 4-229.
        193
              Id. at 4-152 to 4-162.
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 waterbody crossings, which would minimize impact on any potential terrapins. With
 these measures, we conclude that the project is not likely to adversely impact the species.

                        d.     Bird Nesting Colonies

        Louisiana DWF states that its Wildlife Diversity Program database “indicates the
 presence of bird nesting colonies within the project area,” noting that entry into or
 disturbance of active breeding colonies and work within a certain radius of an active
 nesting colony is prohibited.194 Louisiana DWF further provides guidance on measures
 to be implemented during construction to mitigate potential impacts on bird nesting
 colonies.195

        The final EIS states that there is potentially suitable habitat for waterbird nesting
 rookeries within 1 mile of the CP Express Pipeline Project, but no nests or rookeries were
 observed during field surveys of the construction workspace and its vicinity.196 CP2
 LNG and CP Express will conduct preconstruction nest surveys for both projects
 approximately four weeks prior to the migratory bird nesting window, which begins
 annually on March 1, and the nest surveys would be considered valid for 14 days.

         If nesting waterbirds are observed, Louisiana DWF guidelines state that all
 activities occurring within 1,000 feet of nesting wading birds (e.g., herons, egrets, ibis),
 should take place between September 1 and February 15, outside of the wading bird
 nesting season. For colonies containing nesting gulls (Laridae spp.), terns, and/or black
 skimmers (Rynchops niger), construction activities within 650 feet (or 2,000 feet for
 brown pelicans [Pelecanus occidentalis]) should take place between September 16 and
 April 1, outside of the nesting season for these species. CP2 LNG and CP Express have
 committed to these spatial and time-of-year restrictions. If construction within these
 spatial boundaries cannot be met, CP2 LNG and CP Express have committed to consult
 with the Louisiana DWF two weeks prior to the commencement of construction within
 those time-of-year restrictions.

                     3. Water Quality Certification

        The final EIS’s recommended condition 15 would require the applicants to file
 water quality certifications issued for the projects by the Railroad Commission of Texas
 (Railroad Commission) and the Louisiana Department of Environmental Quality
 (Louisiana DEQ) within 5 days of receipt. On August 31, 2023, and September 5, 2023,

        194
              Louisiana DWF August 29, 2023 Comments at 2-3.
        195
              Id.
        196
              Final EIS at 4-171.
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 the applicants filed the receipts of water quality certifications from Louisiana DEQ197 and
 the Railroad Commission, respectively.198 Further, as required by 40 CFR § 121.12,
 Commission staff notified EPA on November 21, 2023, that the water quality
 certifications for the projects were received.199 We have revised the final EIS’s
 recommended condition 15, included as environmental condition 15 in the appendix to
 this order, accordingly.200

         Environmental Integrity Project filed comments alleging deficiencies in
 Louisiana’s and Texas’s water quality certification processes and regulations, including
 copies of letters raising the same concerns filed with Louisiana DEQ and the Railroad
 Commission.201 The Clean Water Act (CWA) establishes the states as the primary
 authority for water quality certifications, and the Commission must defer to the final
 decision of the state.202 The Commission’s role is limited to confirming that the state has
 “facially satisfied the express requirements of section 401.”203 Here, in accordance with
 the CWA, Texas and Louisiana issued public notice of the applicants’ water quality
 certification requests.204 Nothing more is required.



        197
              CP2 LNG and CP Express August 31, 2023 Comments at 1-3.
        198
              CP2 LNG and CP Express September 5, 2023 Comments at 1-4.
        199
          Commission Staff November 21, 2023 Memorandum in Docket Nos. CP22-21-
 000 and CP22-22-000) (providing email communication with EPA).
        200
            We also revised environmental condition 15 to reflect EPA’s final Clean Water
 Act Section 401 Water Quality Certification Improvement Rule, effective November 27,
 2023, which limited the federal action agency’s review of water quality certifications to
 verification of compliance with the requirements of Clean Water Act section 401.
 88 Fed. Reg. 66,558 (Sept. 27, 2023).
        201
              Environmental Integrity Project September 28, 2023 Comments.
        202
              City of Tacoma, Washington v. FERC, 460 F.3d 53, 67 (D.C. Cir. 2006).
        203
            Id. at 68. Further, the Commission is not required to “inquire into every nuance
 of the state law proceeding, especially to the extent doing so would place FERC in the
 position of applying state law standards.” Id.
        204
           Army Corps August 24, 2023 Public Notice,
 https://www.swg.usace.army.mil/Media/Public-Notices/Article/3504385/swg-2021-
 00499-venture-global-cp2-lng-llc-various-wetlands-and-waterbodies-in-l/. The
 Galveston District of the Army Corps issues public notice regarding water quality
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                     4. Hurricanes, Flooding, Relative Sea Level Rise, and Shoreline
                        Erosion

        Wendy Ring notes concerns that the CP2 LNG Project would be vulnerable to
 hurricanes and located in an area with rapid rates of shoreline erosion and sea level rise,
 further noting that flooding and high winds may increase the risk of damage and leaks
 from the LNG terminal.205

        The final EIS discusses the resilience of the LNG terminal facilities with respect to
 hurricane winds and hurricane-induced flooding.206 The terminal would be designed for
 sustained wind speeds of 150 miles per hour (mph).207 The final EIS concludes that the
 use of a 150-mph sustained wind speed is adequate for the LNG storage tanks and other
 LNG facilities where both the wind and tornado load design procedures are followed as
 recommended during final design and construction.208 We agree.

        In addition, as recommended by staff in the final EIS, this order requires CP2
 LNG to design the floodwall to a 500-year mean recurrence interval with consideration of
 wind-driven wave effects, local subsidence, site settlement, shoreline recession, erosion
 and scour effect, and sea level rise based on National Oceanic and Atmospheric
 Administration projections, and, given the uncertainties, that the floodwall be
 periodically monitored and maintained to no less than a minimum elevation of 500-year
 mean recurrence interval flood event.209 The final EIS concludes that the storm surge
 floodwalls would provide adequate protection for the CP2 LNG terminal. We agree.

         The final EIS also discusses the resilience of the LNG terminal to extreme weather
 due to climate change.210 Based on CP2 LNG’s proposed design, which meets or exceeds
 both PHMSA’s minimum requirements and Commission staff recommendations for LNG
 facilities, as well as codes and standards for other essential infrastructure, the final EIS


 certifications under an agreement with the Railroad Commission and Louisiana DEQ. Id.
 at 4.
        205
              Wendy Ring November 27, 2023 Comments at 1.
        206
              Final EIS at 4-447 to 4-453.
        207
              Id. at 4-447. See also Appendix, Environmental Condition 32.
        208
              Id. at 4-448. See also Appendix, Environmental Condition 32.
        209
              Appendix, Environmental Conditions 39 & 40.
        210
              Final EIS at 4-451 to 4-453.
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 concludes that the project would be designed and maintained to withstand potential
 changes from climate change and any changes due to climate change would not present a
 significant impact to the safety of the LNG facilities.211 We agree.

                     5. Recreational and Commercial Fishing

        Adley and Judy Dyson and Fisherman Involved in Sustaining our Heritage (FISH)
 raise concerns regarding the potential impacts of the LNG terminal on the shrimping and
 fishing industries in and around the project area.212 The commenters state that the project
 threatens the viability of the fishing and shrimping industries as well as the historic
 culture that has arisen from those industries in the project area.213 Additionally, For a
 Better Bayou states that the LNG project threatens flora and fauna populations in the
 project area, that aquatic species such as shrimp would be killed or displaced, and that the
 project would limit the use of the few public fishing docks in the project area.214

         As discussed in the final EIS, construction of the LNG terminal could result in the
 mortality of less mobile species that are unable to escape the immediate construction
 area.215 Some wildlife would likely be permanently displaced as a result of habitat
 conversion to non-vegetated and/or impervious cover or maintained vegetation.216
 Artificial lighting at the terminal could also affect aquatic species in the Calcasieu Ship
 Channel.217 In addition, construction-related noise could affect animal behavior,
 foraging, or breeding patterns, and cause wildlife and fishes to move away from the noise
 or relocate in order to avoid the disturbance.218




        211
              Id. at 4-452 to 4-453.
        212
         Adley and Judy Dyson October 19, 2023 Comments at 1-2; FISH April 18,
 2024 Motion to Intervene.
        213
          Adley and Judy Dyson October 19, 2023 Comments at 1-2; FISH April 18,
 2024 Motion to Intervene at 1-2.
        214
              For a Better Bayou October 16, 2023 Motion to Intervene at 2.
        215
              Final EIS at 4-157.
        216
              Id.
        217
              Id.
        218
              Id.
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        As stated in the final EIS, CP2 LNG would adhere to the project-specific Plan and
 Procedures, which are specifically designed to avoid or minimize impacts on wildlife
 species and/or their habitats.219 Additionally, CP2 LNG would implement a training and
 awareness program for construction personnel to inform workers about resident wildlife
 and endangerment factors and to emphasize the responsibilities of the workers in
 preventing vehicular or vessel impacts (e.g., by adhering to speed limits and ensuring
 proper lighting).220 While these construction impacts would occur for an extended
 duration (e.g., 15 months for pile driving activities),221 many of these impacts are already
 experienced within the project area (e.g., lighting, vehicle traffic, in-water noise, etc.),
 and common wildlife species that are not excluded by the fencing and are habituated to
 anthropogenic activities would likely return to the project area following construction.222
 Additionally, while there would be permanent impacts associated with the removal of
 habitat and the area immediately surrounding the LNG terminal would be impacted by
 operational noise, lighting, and movement of operational personnel and vehicles, the final
 EIS concludes that construction and operation of the proposed LNG terminal would not
 have significant impacts on wildlife species due to the existence of similar habitats
 adjacent to the project area and CP2 LNG’s proposed restoration and mitigation for
 project impacts on wetland habitat.223 We agree.

        Contrary to the dissent’s assertion, the final EIS adequately analyzed the impacts
 from project construction and operation on the commercial fishing industry in the project
 area. The final EIS explains that the primary commercial fisheries in the project area are
 shrimp and blue crab, and that Cameron and Calcasieu Parishes support a modest
 commercial fishing industry with approximately 55 vessels operating out of the town of
 Cameron.224 The final EIS analyzes the potential for increased disruptions to recreational
 and commercial fisherman at alternative site locations,225 potential socioeconomic
 impacts on commercial fisheries and shrimping,226 impacts to commercial fisheries and

        219
              Id. at 4-158.
        220
              Id.
        221
              Id. at 4-316.
        222
              Id. at 4-158.
        223
              Id.
        224
              Id. at 4-267.
        225
              Id. at 3-56 to 3-59.
        226
              Id. at 4-266 to 4-271.
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 fisherman in environmental justice communities,227 and cumulative temporary and
 permanent impacts on commercial fishing.228

         As explained in the final EIS, recreational and commercial fishing could be
 impacted by construction activities associated with the LNG terminal. Project
 construction is anticipated to occur during peak fishing and recreational seasons;
 however, due to the overall size of the waterway and access to and maneuverability
 within the Calcasieu Ship Channel, fishing and recreational activities would not be
 significantly affected by the proposed use of barges.229 Temporary impacts on
 recreational and commercial users in the Calcasieu Ship Channel, who would likely
 include individuals from environmental justice communities, may occur in construction
 areas.230 Permanent impacts on recreational and commercial fisheries in the ship channel
 may occur due to the loss of available fishing areas from operation of the LNG terminal’s
 marine facilities and LNG carrier traffic.

         Potential impacts on commercial fisheries from project operation include:
 disturbances in vessel traffic corridors which fishing and shrimping vessels may need to
 traverse; difficulty accessing fishing locations as a result of large vessels associated with
 the project; and impacts to the number of fish, shrimp, or crab a commercial vessel may
 be able to catch.231 As described in the final EIS, based on consultations between
 Commission staff and Louisiana DWF, impacts on shrimping vessels would be greatest
 near the terminal south of the Firing Line where shrimping occurs year-round and vessel
 traffic and dredging associated with the LNG terminal would occur.232 Although the final
 EIS finds that fish, crab, and shrimp species common to the bay could be present in the
 project area, the area in which project activities would occur does not have any unique
 features or habitat characteristics that would draw recreational or commercial users to this
 particular location versus other locations within the Calcasieu Ship Channel.233



        227
              Id. at 4-321 and 4-328.
        228
              Id. at 4-541 and 4-544 to 4-545.
        229
              Id. at 4-321.
        230
              Id.
        231
              Id.
        232
              Id. at 4-321.
        233
              Id.
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        Additionally, CP2 LNG committed to continuing to develop its Engagement Plan
 for Local Commercial Shrimp Fishery, and Venture Global created the Calcasieu Pass
 Community Advisory Group to ensure residents of Cameron Parish can communicate
 issues and concerns directly to Venture Global.234 CP2 LNG will provide updates on its
 engagement effort and on the Calcasieu Pass Community Advisory Group meetings
 within CP2 LNG’s monthly construction reports.235 The final EIS concludes that
 construction and operation impacts on recreational and commercial fishing would be
 localized and less than significant.236 We agree.

                    6. Air Quality

        EPA suggests that Commission staff provide reports, such as emissions
 calculations, as appendices to their NEPA documents to increase transparency of the
 NEPA process.237 As stated in the final EIS, FERC docket accession numbers and
 appendices or attachment locations for the construction and operational emissions
 estimates are referenced throughout the final EIS and all referenced documents are
 available for public access.238

        EPA recommends that the Commission analyze the project’s potential
 construction Hazardous Air Pollutants (HAP) emission impacts based on relevant
 inhalation health-based risk for the pollutants.239 EPA notes that exposure may
 potentially be higher during the four-year construction period of the LNG terminal than
 during project operations due to the high emission intensity from mobile source
 construction equipment.240 Additionally, to minimize the likelihood of an exceedance of
 the National Ambient Air Quality Standards (NAAQS), EPA recommends that the

       234
             Id. at 1-13.
       235
             Id.
       236
           The final EIS describes impacts to commercial fishing as “moderate, but not
 significant,” final EIS at 4-270, and that the project would “contribute negligibly to
 overall temporary and minor cumulative impacts on commercial fisheries,” id. at 4-541.
 We clarify here that the CP2 LNG Project would have less than significant impacts on
 commercial fishing.
       237
             EPA September 1, 2023 Comments at 2.
       238
             See final EIS at 4-346 to 4-376, n.128.
       239
             EPA September 1, 2023 Comments at 2.
       240
             Id.
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 Commission require CP2 LNG to develop measures to implement when air monitoring
 data indicates that ambient pollutant concentrations are approaching an NAAQS
 threshold (e.g., 75% of a NAAQS threshold), and additional construction air quality
 mitigation measures, such as requiring higher tier construction equipment or zero exhaust
 emissions equipment.241

         As described in the final EIS, the location and magnitude of the projects’
 construction emissions’ effect on air quality will vary across the four-year construction
 period.242 There are numerous assumptions that have to be made to develop a dispersion
 model for an active and dynamic construction site with varying equipment, levels of use,
 and construction phases. Accordingly, it is unlikely that a dispersion model would yield
 results reliable enough to serve as a basis for a human health risk assessment.

        As stated in the final EIS, Commission staff determined that emissions during
 project construction would result in localized impacts on air quality.243 CP2 LNG and CP
 Express have committed to a number of measures to reduce the air quality impacts from
 construction, including using construction equipment and vehicles that comply with EPA
 mobile and non-road emission regulations, minimizing engine idling, and maintaining
 construction-related equipment in accordance with the manufacturer’s
 recommendations.244 CP2 LNG and CP Express have also committed to take measures to
 mitigate fugitive dust, such as applying water to the roadways and reducing vehicle
 speeds.

        Further, in coordination with Louisiana DEQ, CP2 LNG will develop and submit
 for Commission staff approval an Ambient Air Quality Mitigation and Monitoring Plan
 (Air Monitoring Plan) to measure and monitor ambient concentrations of inhalable
 particulate matter and nitrogen oxides (NOx), and CP2 LNG will include protocols to
 manage any potential NAAQS exceedances during construction and commissioning of
 the CP2 LNG terminal.245 Staff will consider EPA’s suggested mitigation measures, as
 well as requiring CP2 LNG to take measures where pollutant concentrations are
 approaching a NAAQS exceedance, during its review of the plan. Under the Air
 Monitoring Plan, CP2 LNG will report any periods of elevated concentrations, as well as:

       241
             Id.
       242
             Final EIS at 1-14.
       243
             Id. at 4-346 to 4-354.
       244
             Id. at 3-355 to 3-356.
       245
         Id. at 1-14. CP2 LNG must submit the Air Quality Plan as part of the
 Implementation Plan required by environmental condition 6 in the appendix to this order.
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 (1) a description of the specific activities occurring at the time of the exceedance and any
 other information, such as weather conditions, that may have contributed to the
 exceedance; (2) a description of what minimization or mitigation measures CP2 LNG
 implemented to reduce ambient air pollutant levels; and, (3) documentation of a reduction
 in ambient pollutant concentration levels to at or below the NAAQS. This information
 will be used to develop mitigation measures to minimize the potential for NAAQS
 exceedances. We conclude that such measures would minimize construction emissions
 and the likelihood for an exceedance of the NAAQS.

                  7. Environmental Justice

         In conducting NEPA reviews of proposed natural gas projects, the Commission
 follows the instruction of Executive Order 12898, which directs federal agencies to
 identify and address “disproportionately high and adverse human health or environmental
 effects” of their actions on minority and low-income populations (i.e., environmental
 justice communities).246 Executive Order 14008 also directs agencies to develop
 “programs, policies, and activities to address the disproportionately high and adverse
 human health, environmental, climate-related and other cumulative impacts on
 disadvantaged communities, as well as the accompanying economic challenges of such
 impacts.”247 Environmental justice is “the fair treatment and meaningful involvement of
 all people regardless of race, color, national origin, or income with respect to the
 development, implementation, and enforcement of environmental laws, regulations, and
 policies.”248

        246
           Exec. Order No. 12,898, 59 Fed. Reg. 7629 (Feb. 16, 1994). While the
 Commission is not one of the specified agencies in Executive Order 12898, the
 Commission nonetheless addresses environmental justice in its analysis, in accordance
 with our governing regulations and guidance. See 18 C.F.R. § 380.12(g) (2023)
 (requiring applicants for projects involving significant aboveground facilities to submit
 information about the socioeconomic impact area of a project for the Commission’s
 consideration during NEPA review); FERC, Guidance Manual for Environmental Report
 Preparation at 4-76 to 4-80 (Feb. 2017), https://www.ferc.gov/sites/default/files/2020-
 04/guidance-manual-volume-1.pdf.
        247
            Exec. Order No. 14,008, 86 Fed. Reg. 7619 (Jan. 27, 2021). The term
 “environmental justice community” includes disadvantaged communities that have been
 historically marginalized and overburdened by pollution. Id. at 7629. The term also
 includes, but may not be limited to minority populations, low-income populations, or
 indigenous peoples. See EPA, EJ 2020 Glossary (Jul. 31, 2023),
 https://www.epa.gov/environmentaljustice/ej-2020-glossary.
        248
           EPA, Learn About Environmental Justice,
 https://www.epa.gov/environmentaljustice/learn-about-environmental-justice (Aug. 16,
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        Consistent with the Council on Environmental Quality (CEQ)249 and EPA250
 guidance, the Commission’s methodology for assessing environmental justice impacts
 considers: (1) whether environmental justice communities (e.g., minority or low-income
 populations)251 exist in the project area; (2) whether impacts on environmental justice
 communities are disproportionately high and adverse; and (3) possible mitigation
 measures. As recommended in Promising Practices, the Commission uses the 50% and
 the meaningfully greater analysis methods to identify minority populations.252
 Specifically, a minority population is present where either: (1) the aggregate minority
 population of the block groups in the affected area exceeds 50% or (2) the aggregate




 2023). Fair treatment means that no group of people should bear a disproportionate share
 of the negative environmental consequences resulting from industrial, governmental, and
 commercial operations or policies. Id. Meaningful involvement of potentially affected
 environmental justice community residents means: (1) people have an appropriate
 opportunity to participate in decisions about a proposed activity that may affect their
 environment and/or health; (2) the public’s contributions can influence the regulatory
 agency’s decision; (3) community concerns will be considered in the decision-making
 process; and (4) decision makers will seek out and facilitate the involvement of those
 potentially affected. Id.
       249
            CEQ, Environmental Justice: Guidance Under the National Environmental
 Policy Act, at 4 (Dec. 1997) (CEQ’s Environmental Justice Guidance),
 https://www.energy.gov/sites/default/files/nepapub/nepa_documents/RedDont/G-CEQ-
 EJGuidance.pdf. CEQ offers recommendations on how federal agencies can provide
 opportunities for effective community participation in the NEPA process, including
 identifying potential effects and mitigation measures in consultation with affected
 communities and improving the accessibility of public meetings, crucial documents, and
 notices. There were opportunities for public involvement during the Commission’s
 prefiling and environmental review processes. Final EIS at 1-5.
       250
          See generally EPA, Promising Practices for EJ Methodologies in NEPA
 Reviews (Mar. 2016) (Promising Practices), https://www.epa.gov/sites/default/files/2016-
 08/documents/nepa_promising_practices_document_2016.pdf.
       251
           See generally Exec. Order No. 12,898, 59 Fed. Reg. 7629 (Feb. 16, 1994).
 Minority populations are those groups that include: American Indian or Alaskan Native;
 Asian or Pacific Islander; Black, not of Hispanic origin; or Hispanic.
       252
             See Promising Practices at 21-25.
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 minority population in the block group affected is 10% higher than the aggregate
 minority population percentage in the county/parish.253

         CEQ’s Environmental Justice Guidance also directs low-income populations to be
 identified based on the annual statistical poverty thresholds from the U.S. Census Bureau.
 Using Promising Practices’ low-income threshold criteria method, low-income
 populations are identified as block groups where the percent of a low-income population
 in the identified block group is equal to or greater than that of the county/parish.

         To identify potential environmental justice communities, and as discussed in the
 final EIS, Commission staff used 2020 U.S. Census American Community Survey data254
 for the race, ethnicity, and poverty data at the state, county/parish, and block group
 level.255 Additionally, in accordance with Promising Practices, staff used EJScreen,
 EPA’s environmental justice mapping and screening tool, as an initial step to gather
 information regarding minority and low-income populations; potential environmental
 quality issues; environmental and demographic indicators; and other important factors.256

        Once staff collected the block group level data, as discussed in further detail
 below, staff conducted an impacts analysis for the identified environmental justice
 communities and evaluated health or environmental hazards, the natural physical
 environment, and associated social, economic, and cultural factors to determine whether
 impacts were disproportionately high and adverse on environmental justice communities
 and also whether those impacts were significant.257 Commission staff assessed whether


        253
           Here, Commission staff selected Calcasieu and Cameron Parishes in Louisiana
 and Jasper and Newton Counties in Texas as the comparable reference communities to
 ensure that affected environmental justice communities are properly identified. A
 reference community may vary according to the characteristics of the particular project
 and the surrounding communities. Final EIS at 4-304.
        254
            U.S. Census Bureau, American Community Survey 2020 ACS 5-Year
 Estimates Detailed Tables, File# B17017, Poverty Status in the Past 12 Months by
 Household Type by Age of Householder, https://data.census.gov/cedsci/table?q=B17017;
 File #B03002 Hispanic or Latino Origin By Race,
 https://data.census.gov/cedsci/table?q=b03002.
        255
           See final EIS at table 4.10.10-1; figs. 4.10.10-1, 4.10.10-2, 4.10.10-3, &
 4.10.10-4.
        256
              See id. at 4-300.
        257
           See Promising Practices at 33 (stating that “an agency may determine that
 impacts are disproportionately high and adverse, but not significant within the meaning
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 impacts on an environmental justice communities were disproportionately high and
 adverse based on whether those impacts were predominantly borne by that community,
 consistent with EPA’s recommendations in Promising Practices.258

        Commission staff identified 17 environmental justice community block groups259
 (out of 31 total block groups) that are within 15 miles260 of the LNG terminal, within 1
 mile of the pipeline project’s aboveground facilities, and/or crossed by the CP Express
 Pipeline or Enable Gulf Run Lateral.261 For the LNG terminal, 6 block groups out of 8
 within the geographic scope are considered environmental justice block groups. For the
 CP Express Pipeline and Enable Gulf Run Lateral, 6 block groups out of 15 within the
 geographic scope are considered environmental justice block groups. For the contractor
 yards, 6 block groups out of 11 within the geographic scope are considered
 environmental justice block groups. The Moss Lake Compressor Station is within 1 mile
 of only 1 block group, which is not considered an environmental justice community. For

 of NEPA” and in other circumstances “an agency may determine that an impact is both
 disproportionately high and adverse and significant within the meaning of NEPA”).
        258
            Id. at 44-46 (explaining that there are various approaches to determining
 whether an action will cause a disproportionately high and adverse impact, and that one
 recommended approach is to consider whether an impact would be “predominantly borne
 by minority populations or low-income populations”). We recognize that EPA and CEQ
 are in the process of updating their guidance regarding environmental justice and we will
 review and incorporate that anticipated guidance in our future analysis, as appropriate.
        259
            Several census block groups are crossed or within the radius of multiple project
 facility components. This represents only unique census block groups affected by the
 projects.
        260
            Final EIS at 4-324. Based on the air quality impact analysis results for CP2
 LNG, operation of the project would result at various locations in 1-hour nitrogen dioxide
 (NO2) impacts that exceed the relevant significant impact level (SIL) out to about 15
 miles from the Terminal Facilities. A review of the modeling results filed on June 3,
 2024, (Accession no. 20240603-5211) indicated that the updated annual PM2.5 SIL would
 not result in impacts above the SIL extending beyond the distance already analyzed for
 NO2. Therefore, the Area of Impact for environmental justice review would not change.
        261
           Final EIS at 4-304. For these projects, we determined that a 15-mile radius
 around the proposed LNG terminal and a 1-mile radius around the pipeline’s
 aboveground facilities were the appropriate units of geographic analysis for assessing
 project impacts on the environmental justice communities. A 15-mile and 1-mile radius
 around the respective facilities represent the farthest extent of impacts on environmental
 justice communities.
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 the meter stations, 3 block groups out of 8 within the geographic scope are considered
 environmental justice block groups. For the 3 park-and-ride locations, all 4 of the block
 groups within the geographic scope are considered environmental justice block groups.

         The final EIS determined that potential impacts on the identified environmental
 justice communities may include flooding, impacts to surface water resources, wetlands
 impacts, visual impacts, socioeconomic impacts, recreational and commercial fishing
 impacts, traffic impacts, and air and noise impacts from construction and operation.262
 Environmental justice concerns are not present for other resource areas such as geology,
 soils, wildlife, land use, or cultural resources due to the minimal overall impact the
 projects would have on these resources and/or the absence of any suggested connection
 between such resources and environmental justice communities.263

                         a.     CP2 LNG Project

                                i.     Flooding

         The LNG terminal is not anticipated to induce flooding, as all aboveground
 facilities and roads would be constructed in accordance with federal, state, and local
 regulations, including parish floodplain requirements.264 Additionally, the project is not
 anticipated to significantly displace flood storage capacity. As described in the final EIS,
 the terminal site and CPX Meter Station, the only two aboveground facilities within
 environmental justice block groups and within the floodplain, would be within the
 proposed floodwall.265 Interior drainage ditches and detention ponds would be installed
 within the floodwall to manage stormwater, and stormwater discharges from the terminal
 site would be conveyed to the west, avoiding the nearby residences situated to the
 northeast and east.266 The final EIS finds that potential flooding impacts from the project
 on environmental justice communities would be less than significant.267 We agree.




        262
              Id. at 4-317 to 4-327.
        263
              Id. at 4-318.
        264
              Id.
        265
              Id.
        266
              Id. at 4-124.
        267
              Id. at 4-318.
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                                ii.   Surface Water

         Regarding surface water, the final EIS finds that construction and operation of the
 LNG terminal would permanently impact two unnamed waterbodies (two drainage
 ditches) within the project area and would temporarily (during construction) and
 permanently (during operation) impact portions of the adjacent Calcasieu Ship
 Channel.268 As stated in the final EIS, these impacts would result from dredging
 activities, site construction, marine traffic, stormwater runoff, water use, and hydrostatic
 testing, and could occur from accidental spills or other releases of hazardous
 substances.269 Environmental justice communities in proximity to the project,
 particularly the community located in proximity to the LNG terminal (Census Tract
 9702.02, Block Group 2 [CT 9702.02 - BG 2]), would be affected by dredging and
 resuspension of sediments. CP2 LNG would adhere to all permit conditions and best
 management practices included in the project-specific Procedures to minimize waterbody
 impacts and promote the stability of the excavated shoreline during and after construction
 of the LNG berthing area.270 Further, CP2 LNG would minimize impacts on water
 quality by using a hydraulic suction dredge, where turbidity would be focused close to
 the river bottom and would equate to a storm event within a short distance of the
 cutterhead.271 The final EIS concludes impacts on environmental justice communities
 related to surface water impacts would not be significant.272 The final EIS further
 concludes environmental justice communities in the study area would experience
 cumulative impacts on surface water but that these impacts would be less than
 significant.273 We agree.

        As stated in the final EIS, construction and operation of the LNG terminal, as well
 as marine traffic to and from the LNG terminal, have the potential to adversely impact
 water quality in the event of an accidental release of hazardous substances such as fuel,
 lubricants, coolants, or other material.274 CP2 LNG would implement the measures
 outlined in the project-specific Plan and Procedures to minimize the likelihood of a spill

        268
              Id.
        269
              Id.
        270
              Id.
        271
              Id.
        272
              Id.
        273
              Id. at 4-544.
        274
              Id. at 4-318.
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 and would implement its SPCC Plan in the event of a spill. If an accidental release were
 to occur, environmental justice communities along the ship channel, particularly the
 community in CT 9702.02 - BG 2, as well as individuals from these communities that use
 the channel, would be affected.275 LNG carriers are required by the U.S. Coast Guard to
 develop and implement a Shipboard Oil Pollution Emergency Plan, which includes
 measures to be taken when an oil pollution incident occurs, or a ship is at risk of one.276
 With these mitigation measures, the final EIS concludes that environmental justice
 communities would not be significantly impacted by an accidental release.277 We agree.

                                iii.   Wetlands

         The final EIS finds that project impacts associated with the LNG terminal on
 wetlands would be short-term and temporary during construction, and permanent during
 operation.278 Wetland impacts would occur within several identified environmental
 justice communities; therefore, the loss of wetland habitat and the subsequent decrease in
 wetland benefits could affect those environmental justice communities within and near
 the project. Potential wetland benefits include flood storage capacity, water filtration,
 and habitat for fish and wildlife. CP2 LNG will be required to obtain the applicable
 Army Corps and Louisiana Department of Natural Resources (Louisiana DNR)/Office of
 Coastal Management (OCM) permits for permanent loss of wetland habitat and
 implement any mitigation measures required by the Army Corps and Louisiana
 DNR/OCM for that loss. CP2 LNG will implement project-specific plans, as applicable,
 including its project-specific Procedures and SPCC Plan to minimize and/or avoid
 impacts on wetlands during project construction. The final EIS concludes that through
 implementation of the mitigation measures, impacts from the project on wetlands would
 not have a significant impact on environmental justice communities.279 The final EIS
 also concludes that environmental justice communities in the study area would
 experience cumulative impacts on wetlands but that these impacts would not be
 significant.280 We agree.



        275
              Id. at 4-319.
        276
              Id. at 4-318 to 4-319.
        277
              Id. at 4-319.
        278
              Id.
        279
              Id.
        280
              Id. at 4-544.
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                                   iv.   Visual Resources

         The final EIS concludes that the completed LNG terminal, which is within
 environmental justice community CT 9702.02 - BG 2, would result in permanent visual
 impacts associated with the existence and operation of the facilities.281 The tops of the
 LNG storage tanks and flare stack will create a vertical visual contrast across a relatively
 flat existing landscape for the nearby residences 330 feet north and 360 feet east of the
 project fence line.282 These same structures and the proposed floodwall surrounding the
 LNG terminal would be visible to users of the Calcasieu Ship Channel, visitors to nearby
 beaches, employees and operators of industrial facilities along Davis Road, motorists
 along the Creole Nature Trail (State Highway 27), and other areas surrounding the project
 site.283 While the perimeter berm and floodwall would help partially obscure the
 industrial facilities on the LNG terminal site from offsite views, including partial
 obstruction of the proposed tanks and flare stack, the nearby residences (and associated
 environmental justice populations) have a direct view of the LNG terminal.284 In
 response to Commission staff’s recommendation in the draft EIS, CP2 LNG committed
 to install vegetative screening by planting native live oak trees and native groundsel
 bushes on the northeastern and eastern sides of the terminal site.285 While the vegetative
 screening would minimize the impact to the extent practicable, the final EIS concludes,
 and we agree, that the LNG terminal will permanently change the viewshed and have a
 significant adverse effect on residents and passerby of the environmental justice
 communities near the project.286

         The final EIS also analyzed the cumulative visual impacts along the Calcasieu
 Ship Channel (including impacts from the Commonwealth LNG Terminal, Calcasieu
 Pass LNG Terminal, and the CP2 LNG Terminal) and determined that the project would
 adversely contribute to visual impacts on users of the Calcasieu Ship Channel; users of
 the Jetty Pier Facility, Lighthouse Bend Park, and nearby beaches; residents in the town
 of Cameron; and motorists along the Creole Nature Trail.287 Visual impacts from

        281
              Id. at 4-319.
        282
              See id. at app. J.
        283
              Id. at 4-319.
        284
              Id.
        285
              See id. at 4-319, 4-252 to 4-253, and app. J.
        286
              See id. at 4-319.
        287
              Id. at 4-546.
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 construction would include clearing of vegetation, grading, the presence of large
 construction equipment, lighting, and increased vehicle and vessel traffic. While the
 extent of impacts would vary depending on the proximity to the sites, environmental
 justice communities may experience significant visual changes from the construction and
 operation of additional sites, flares, lighting, and storage tanks for several miles. The
 final EIS concludes, and we agree, that the CP2 LNG terminal and other nearby LNG
 terminals will contribute to significant cumulative visual impacts on environmental
 justice communities in the project area.288

                               v.     Socioeconomics

         Regarding socioeconomics, as stated in the final EIS, the temporary influx of
 workers/contractors into the area during construction and operation of the LNG terminal
 could increase the demand for community services, such as traffic, housing, police
 enforcement, and medical care.289 The final EIS concludes, however, that sufficient
 housing units would be available and impacts on community services would not be
 significant.290 Based on the foregoing, the final EIS concludes that the project’s
 socioeconomic impacts on environmental justice communities would be less than
 significant.291 As stated in the final EIS, several other projects have been proposed or
 approved that could have overlapping construction schedules with the proposed project,
 including the Driftwood LNG Project, Line 200 and Line 300 Project, Hackberry Storage
 Project, Cameron LNG Expansion Project, Lake Charles Liquefaction Project, Magnolia
 LNG, Delfin LNG, and Commonwealth LNG Project.292 Combined, these additional
 projects could require a peak of more than 20,000 workers, a 10% increase in the current
 population.293 The temporary flux of workers/contractors into the area from all of these
 projects would increase the demand for housing. Should other major industrial projects
 listed in table 4.14.1-1 of the final EIS be constructed at the same time as the LNG
 terminal, sufficient housing would still be available.294 This cumulative increased
 demand for housing could drive costs up, increase property taxes, and adversely impact

       288
             See id.
       289
             Id. at 4-320.
       290
             Id. at 4-266, 4-276 to 4-280.
       291
             Id. at 4-320.
       292
             Id. at 4-546.
       293
             Id.
       294
             Id. at 4-546 to 4-547.
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 low-income individuals.295 An increase in costs of material goods may also occur due to
 increased demand for these goods. The final EIS concludes that environmental justice
 communities in the study area would experience cumulative impacts on socioeconomic
 resources but that these impacts would be less than significant.296 We agree with staff’s
 conclusions.

                                vi.   Recreational and Commercial Fishing

        Recreational and commercial fishing could be impacted by construction of the
 CP2 LNG terminal. As stated in the final EIS, construction activities are anticipated to
 occur during peak fishing and recreational seasons; however, due to the overall size of
 the waterway and access to and maneuverability within the Calcasieu Ship Channel,
 fishing and recreational activities would not be significantly affected by the proposed use
 of barges.297 Temporary impacts on recreational and commercial users in the Calcasieu
 Ship Channel, who would likely include individuals from environmental justice
 communities, may occur in construction areas.298
         Permanent impacts on recreational and commercial fisheries in the ship channel,
 as well as on individuals from environmental justice communities, may occur due to the
 loss of available fishing areas from operation of the terminal’s marine facilities and LNG
 carrier traffic.299 Based on consultations between Commission staff and Louisiana DWF,
 impacts on shrimping vessels would be greatest near the terminal south of the Firing Line
 where shrimping occurs year-round and vessel traffic and dredging associated with the
 CP2 LNG terminal would occur.300 Although the final EIS finds that fish, crab, and
 shrimp species common to the bay could be present, the area in which project activities
 will occur does not have any unique features or habitat characteristics that will draw
 recreational or commercial users to this particular location versus other locations within
 the Calcasieu Ship Channel.301



        295
              Id. at 4-547.
        296
              Id.
        297
              Id. at 4-321.
        298
              Id.
        299
              Id.
        300
              Id.
        301
              Final EIS at 4-321.
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         Venture Global created the Calcasieu Pass Community Advisory Group to ensure
 that residents from all parts of Cameron Parish are represented and can communicate
 promptly and directly with Venture Global to express any concerns they have or to
 communicate adverse impacts that they or their neighbors have seen related to Calcasieu
 Pass.302 Additionally, CP2 LNG has committed to continuing the development of its
 Engagement Plan for Local Commercial Shrimp Fishery and would provide updates on
 its engagement effort and on the Calcasieu Pass Community Advisory Group meetings
 within CP2 LNG’s monthly construction reports.303 The final EIS concludes that
 environmental justice communities in the study area would experience cumulative
 impacts on recreational and commercial fishing resources; however, these impacts would
 be less than significant.304 We agree.
                                vii.   Road and Marine Traffic

         The final EIS finds that area residents, including environmental justice
 communities near the LNG terminal, may be affected by traffic delays during
 construction of the LNG terminal.305 Construction of the CP2 LNG terminal would
 temporarily increase use of area roads by heavy construction equipment and associated
 trucks and vehicles. CP2 LNG would implement its Terminal Facilities Traffic
 Management Plan, which includes mitigation measures such as the use of park and ride
 locations, busing, staggered shift start and stop times during expected times of peak site
 personnel, and utilization of flagger police vehicles or traffic signals.306 Once
 construction is complete, CP2 LNG estimates that impacts on road traffic would be
 primarily limited to the 250 permanent LNG terminal employees, and periodic deliveries
 to the site. CP2 LNG predicts the level of service (LOS)307 of the roadways within the

        302
              Id. at 1-13.
        303
              Id.
        304
              Final EIS at 4-545.
        305
              Id. at 4-321.
        306
              Id. at 4-322.
        307
            The term level of service (LOS) is used to describe the operating conditions of
 a roadway based on factors such as speed, travel time, delay, and safety. LOS A denotes
 the best conditions (i.e., free flow), while LOS F denotes the worst conditions (i.e., forced
 or breakdown flow with frequent slowing required and more demand than capacity). CP2
 used the LOS concept outlined in the Transportation Research Board’s Highway
 Capacity Manual, 6th Edition. See CP2 LNG March 7, 2023 Supplemental Information
 on Workforce and Traffic.
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 project area would remain at an LOS D308 or better throughout construction and would
 remain at an LOS C or better during operation.309 With the proposed traffic mitigation
 measures as described above and in the final EIS, the final EIS concludes that traffic
 impacts from the project on environmental justice communities would be less than
 significant.310 The final EIS further concludes that environmental justice communities in
 the study area would experience cumulative impacts associated with traffic but that these
 impacts would also be less than significant.311 We agree.

        As stated in the final EIS, barge deliveries would occur at the LNG terminal site
 throughout the project’s construction period, with an estimated 32 barges a week at the
 peak of Phase I construction.312 During operations, up to 8 LNG carriers would call at
 the terminal’s marine facilities per week.313 Because of the existing traffic patterns and
 capacity of the Calcasieu Ship Channel, the final EIS concludes that the LNG carrier calls
 and barge deliveries associated with the project would not result in significant impacts on
 marine traffic.314 In addition, the final EIS concludes that recreational boaters and
 fishers, which likely include individuals from environmental justice communities, would
 not experience significant changes in marine traffic.315 We agree.

                                viii.   Air Quality

        We received a comment on the final EIS expressing concern with project air
 quality impacts on environmental justice communities.316 As explained in the final EIS,
 construction and operation of the LNG terminal would result in impacts on air quality.317

        308
            LOS D denotes the approach of unstable flow, with speeds decreased and
 traffic volume slightly increased.
        309
              Final EIS at 4-321 to 4-322.
        310
              Id. at 4-322.
        311
              Id. at 4-321 to 4-323.
        312
              Id. at 4-323.
        313
              Id. at 4-294.
        314
              Id. at 4-323.
        315
              Id.
        316
              Kalama Reuter November 22, 2023 Comments at 1.
        317
              Final EIS at 4-323.
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 CP2 LNG would implement measures to mitigate exhaust emissions during construction
 by using construction equipment and vehicles that comply with EPA’s mobile and non-
 road emission regulations, and using commercial gasoline and diesel fuel products that
 meet specifications of applicable federal and state air pollution control regulations.
 Further, CP2 LNG would mitigate fugitive dust by applying water to the roadways and
 reducing vehicle speeds. The final EIS concludes that construction-related impacts of the
 LNG terminal on local air quality would not be significant.318

        The final EIS states that CP2 LNG conducted detailed air quality impact
 assessments for emissions of criteria pollutants (subject to Prevention of Significant
 Deterioration [PSD] review) from the operation of the LNG terminal to show compliance
 with the relevant National Ambient Air Quality Standards (NAAQS).319 Based on the air
 quality impact analysis results for CP2 LNG, operation of the project would result in
 1-hour nitrogen dioxide (NO2) impacts at various locations out to about 15 miles from the
 LNG terminal that exceed the relevant Significant Impact Level (SIL).320 However, a
 further refined assessment of the cumulative analysis results showed that predicted CP2
 LNG impacts would not cause or contribute to an exceedance of the NAAQS for 1-hour
 NO2.321

        Although the LNG terminal would be in compliance with the NAAQS and the
 NAAQS are designated to protect sensitive populations, the final EIS acknowledges that
 NAAQS attainment alone may not ensure there is no localized harm to such populations
 due to project emissions of volatile organic compounds, hazardous air pollutants (HAP),
 as well as the presence of non-project related pollution sources, local health risk factors,
 disease prevalence, and access (or lack thereof) to adequate health care.322 According to
 EJScreen, the environmental justice community in which the LNG terminal is located
 (CT 9702.02 - BG 2) is within the 64th percentile for cancer prevalence among adults.323



        318
              Id. 4-323 to 4-324.
        319
              Id. at 4-324.
        320
          For major source permitting under the Clean Air Act, the SIL is the point below
 which the impact of increased emissions from a new or modified major source on
 ambient air quality does not cause or contribute to a violation of the NAAQS.
        321
              Id. at 4-324, app. K.
        322
              Id. at 4-324.
        323
              Id.
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 Thus, Commission staff followed EPA’s Human Health Risk Assessment Protocol324 in
 overseeing a Human Health Risk Assessment325 (Risk Assessment) for maximum HAP
 emissions from the LNG terminal (stationary and mobile marine sources) based on the
 highest model-predicted 1-hour and annual average ground-level concentrations of a total
 of 16 HAPs.326 The Risk Assessment estimated chronic (long-term) cancer risk and non-
 cancer hazard, as well as acute (short-term) non-cancer hazard via inhalation of HAP
 compounds potentially emitted from stationary and mobile marine sources at the LNG
 terminal.327 The Risk Assessment evaluated inhalation exposure of hypothetical adult
 and child residents for which Reasonable Maximum Exposure was assumed.328

         The results of the Risk Assessment showed that the estimated adult and child
 resident cancer risk for each HAP is at least an order of magnitude (i.e., 10-fold) below
 EPA’s risk management objective of 1-in-1 million for individual HAPs. Moreover, the
 total cancer risks summed across all HAPs are well below (by almost 100-fold) EPA’s
 target of 1-in-100,000 for a single facility. In other words, the CP2 LNG Terminal would
 represent up to a 0.0000002% (or 1.75E-07) increase in cancer risk as a conservative
 estimate for communities that live near to the terminal.329 The EPA’s risk management
 objective of 1-in-100,000 for a single facility is ten times more stringent than the highest
 cancer risk that EPA deems acceptable, to account for potential exposure to background
 levels of air contaminants. Therefore, this facility risk management objective addresses



        324
            EPA, Human Health Risk Assessment Protocol for Hazardous Waste
 Combustion Facilities, EPA530-D-05-006 (2005). The Human Health Risk Assessment
 Protocol incorporates risk assessment guidance and methods from the EPA, as well as the
 experience EPA has gained through conducting and reviewing combustion risk
 assessments, to provide a comprehensive method of assessing human health risk from
 combustion emissions. It provides a standardized methodology for conducting
 combustion risk assessments and, therefore, was chosen as the most appropriate guidance
 to follow.
        325
          Lucy Fraiser Toxicology Consulting LLC, CP2 LNG Terminal and Mobile
 Sources Human Health Risk Assessment. June 30, 2023. See Appendix O of the Final
 EIS.
        326
              Final EIS at 4-324, 4-374 to 4-376. See also Appendix O of the Final EIS.
        327
              Id.
        328
              Id. at 4-324.
        329
              See Table 6 of Appendix O in the Final EIS.
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 the potential for cumulative risk (i.e., risk associated with multiple HAPs and other
 sources in the area).

         The Hazard Quotient analysis from the Human Health Risk Assessment indicated
 that no chronic Hazard Quotient for any HAP is greater than the non-cancer risk
 management objective of 1 for individual HAPs. In addition, all aggregated chronic
 Hazard Index values (derived by summing Hazard Quotient values for all HAPs with
 similar chronic effects) are well below 1 (by almost 100-fold). Similarly, all acute
 Hazard Quotient and aggregated acute Hazard Index values are well below the acute risk
 management objective of 1 (by almost 100-fold).330 The results of the HHRA indicated
 the estimated cancer and non-cancer risks for the environmental justice community
 located within the same block group as the CP2 LNG terminal (CT 9702.02 - BG 2)
 would be below EPA’s risk management objectives during operation of the CP2 LNG
 terminal.331

       Commission staff concluded in the final EIS that the construction and operational
 emissions from the LNG terminal would not have significant adverse air quality impacts
 on environmental justice communities in the project area.332 We agree.

                                ix.    Noise

        As stated in the final EIS, noise levels above ambient conditions, attributable to
 construction activities at the LNG terminal, would vary over time and would depend
 upon the nature of the construction activity, the number and type of equipment operating,
 and the distance between sources and receptors.333 The closest noise sensitive area
 (NSA) within an environmental justice community (CT 9702.02 - BG 2) is about 330 feet
 northeast of the LNG terminal site (from the floodwall, where pile driving would occur
 during construction) and consists of a recreational vehicle park and residence.334 Peak
 construction noise (due to pile driving and civil works) would occur during the first
 18 months of construction and would increase noise levels over ambient conditions by
 9 to 10 decibels at the closest NSAs. Project construction would last up to 4 years,
 however, construction of the floodwall near the affected NSAs would occur as early as
 possible during project construction and would be expected to reduce the noise levels at

        330
              Final EIS at 4-325.
        331
              Id. at 4-325.
        332
              Id. at 4-323 to 4-325.
        333
              Id. at 4-325.
        334
              Id.
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 the NSAs by 5 to 10 dBA, depending on the location of construction activities.335
 Although project construction could occur 24 hours per day, pile driving would be
 limited to daytime hours (i.e., 7 a.m. to 7 p.m.). As recommended in the final EIS,336
 environmental condition 25 in the appendix to this order requires that CP2 LNG monitor
 noise levels during construction of the LNG terminal between 7 p.m. to 7 a.m. to ensure
 noise levels during these hours are less than our criterion of 48.6 decibels on the A-
 weighted scale (dBA) at any nearby NSA.

         Operational noise associated with the LNG terminal would be persistent and
 would increase noise levels over ambient by about 5.7 decibels at the closest NSA.337 As
 recommended in the final EIS,338 environmental conditions 26 and 27 in the appendix to
 this order require CP2 LNG to meet sound level requirements of 55 dBA day-night sound
 level (Ldn) at any nearby NSAs. With implementation of these measures, the final EIS
 concludes that the project would not result in significant noise impacts on local residents
 and the surrounding communities, including environmental justice populations.339 The
 final EIS further concludes that environmental justice communities in the study area
 would experience cumulative impacts related to noise but that these impacts would be
 less than significant.340 We agree.

                                x.     Safety

        Commission staff evaluated the potential impacts which could result from
 potential incidents identified for analysis, such as equipment failures or natural disasters,
 along the LNG marine vessel transit route and at the LNG terminal, including potential
 impacts to people with access and functional needs as defined in National Fire Protection
 Association (NFPA) 1600, Standard on Continuity, Emergency, and Crisis
 Management341 and NFPA 1616, Standard on Mass Evacuation, Sheltering, and Re-Entry

        335
              Id. at 4-326.
        336
              Id. at 4-388.
        337
              Id. at 4-326.
        338
              Id. at 4-388 to 4-389.
        339
              Id. at 4-327.
        340
              Id. at 4-554 to 4-556.
        341
           Freely and publicly accessible to view in English and Spanish at NFPA,
 https://www.nfpa.org/codes-and-standards/allcodes-and-standards/list-of-codes-
 andstandards/detail?code=1600, accessed January 2024.
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 Programs.342 The worst-case distances from these potential incidents would potentially
 impact three block groups, two of which are considered environmental justice
 communities. The block groups located with environmental justice communities that
 exceed the thresholds for minority and low income would include CT 9702.02 - BG 2
 (based on the low-income threshold); and CT 9701.02 - BG 1 (based on the minority
 threshold).343

        Commission staff determined that potential impacts on environmental justice
 communities may include safety concerns, however, staff determined that the risk of
 accidental or intentional events would be less than significant with implementation of the
 proposed safety and security measures recommended in the EIS. The proposed measures
 rise above minimum federal requirements and will enhance the safety and security of the
 project. We agree and adopt all of staff’s safety recommendations herein as
 environmental conditions. We encourage CP2 LNG to engage with the two potentially
 impacted environmental justice communities as it develops an Emergency Response Plan
 (ERP) in accordance with environmental condition 45.

                         b.     CP Express Pipeline Project

                                i.    Flooding

         The CP Express Pipeline Project is not anticipated to induce flooding. As
 described in the final EIS, CP Express calculated that 52.5 acre-feet of floodplain storage
 capacity will be lost due to construction and operation of aboveground facilities
 associated with the CP Express Pipeline.344 Based on an estimated total floodplain
 storage volume of 136,000 acre-feet, this would represent an approximate 0.04 percent
 loss of total floodplain storage volume, which would be a minor loss. Additionally, the
 only aboveground facility within an environmental justice block group that is also within
 a floodplain is the CPX Meter Station, which would be within the proposed floodwall of
 the LNG terminal. 345 Therefore, because project facilities would be elevated above base

        342
           Freely and publicly accessible to view in English only at NFPA,
 https://www.nfpa.org/codes-and-standards/all-codesand-standards/list-of-codes-
 andstandards/detail?code=1616, accessed January2024.
        343
              Final EIS at 4-474.
        344
            Id. at 4-98. Acre-feet of floodplain storage capacity lost for the Terminal Site
 Gas Gate Station (i.e., CPX Meter Station), Pig Receiver, and MLV 7 is not included in
 this calculation as these facilities would be constructed entirely within the CP2 LNG
 Terminal Site.
        345
              Id. at 4-318.
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 flood elevation ranges identified by the Federal Emergency Management Agency, and
 given CP Express’s implementation of other measures detailed in its Floodplain
 Mitigation Plan, the final EIS finds that potential flooding impacts from the CP Express
 Pipeline Project on environmental justice communities would be less than significant.346
 We agree.

                               ii.    Surface Water

         Construction of the CP Express Pipeline may result in potential impacts to surface
 waters due to clearing and grading activities; construction-related discharges (e.g.,
 stormwater and hydrostatic test water); the use of horizontal directional drilling (HDD),
 open-cut, and push method for pipeline installation; dredging and dredge material
 placement; and potential spills or leaks of hazardous liquids from the refueling of
 construction vehicles or storage of fuel, oil, and other fluids. In order to minimize the
 risk of a release impacting sensitive resources, CP Express would implement the project-
 specific plans, as applicable, including its project-specific Procedures, its HDD
 Monitoring and Contingency Plan, and its SPCC Plan to minimize and/or avoid impacts
 on water resources during construction. These plans would minimize the risk of impacts
 on surface waterbodies. With the mitigation measures, the final EIS concludes that
 environmental justice communities would not be significantly impacted by construction
 of the pipeline.347 We agree.

                               iii.   Wetlands

         The final EIS finds that the impacts on wetlands from the CP Express Pipeline
 would primarily be short-term and temporary during construction.348 Permanent impacts
 to wetlands would consist of the permanent conversion of some forested wetlands for
 permanent pipeline easements and the loss of some wetlands for the aboveground
 facilities.349 Wetland impacts would occur within several identified environmental justice
 communities; therefore, the loss of wetland habitat and the subsequent decrease in
 wetland benefits, could affect those environmental justice communities within and near
 the pipeline.350


       346
             Id.
       347
             Id. at 4-318 to 4-319.
       348
             Id. at 4-319.
       349
             Id. at 4-139 to 4-140.
       350
             Id. at 4-319.
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         The majority of wetlands impacted by construction would be restored to pre-
 construction conditions, resulting in only short-term impacts. CP Express is coordinating
 with the Louisiana DNR/OCM and the Army Corps to develop a Compensatory
 Mitigation Plan in accordance with the Mitigation Rule and CWA Section 404(b)(1)
 Guidelines to replace the loss of aquatic resource functions for permanent conversion and
 loss of wetlands.351 Further, CP Express would implement project-specific plans, as
 applicable, including its project-specific Procedures, its HDD Monitoring and
 Contingency Plan, and its SPCC Plan to minimize and/or avoid impacts on wetlands
 during pipeline construction. The final EIS concludes that through implementation of the
 mitigation measures, impacts from the project on wetlands would not have a significant
 impact on environmental justice communities.352 The final EIS also concludes that
 environmental justice communities in the study area would experience cumulative
 impacts on wetlands but that these impacts would be less than significant.353 We agree.

                               iv.    Visual Resources

        Temporary visual impacts would occur during construction of the pipeline and
 aboveground facilities. These impacts would consist of vehicle and equipment
 movement, vegetation clearing and grading, trench and foundation excavation, pipe
 storage, and spoil piles.354 Permanent visual impacts may occur along the pipeline route
 from removal of forested vegetation and periodic vegetation clearing within the
 permanent right-of-way to allow for visual pipeline inspection.355 After construction, CP
 Express would restore disturbed areas associated with the pipeline rights-of-way to near
 pre-construction conditions to the extent practicable, with the exception of the permanent
 right-of-way that would be kept in a low, maintained herbaceous state through regular
 mowing and woody vegetation removal.356

         The proposed Florida Gas Transmission Meter Station is 0.6 mile northeast of an
 identified environmental justice block group (CT 35 - BG 1).357 The nearest sensitive

       351
             Id. at 4-137.
       352
             Id. at 4-319.
       353
             Id. at 4-544.
       354
             Id. at 4-319.
       355
             Id.
       356
             Id. at 4-319 to 4-320.
       357
             Id. at 4-320.
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 receptor within CT 35 - BG 1 is a residence approximately 1 mile southwest of the meter
 station. The Florida Gas Transmission Meter Station would not be visible from the
 residence due to the presence of a wooded parcel of land west of the meter station.358
 The proposed Enable Interconnect Meter Station is within an identified environmental
 justice block group (CT 36.02 - BG 1).359 The nearest residence is approximately 0.6
 mile east of the meter station. The Enable Interconnect Meter Station would be
 constructed west of existing industrial facilities and a wooded lot; therefore, the meter
 station would not be visible to the nearest residence.360 The proposed CPX Meter Station
 is also within an identified environmental justice block group (CT 9702.02 - BG 2);
 however, it would be within the proposed floodwall associated with the LNG terminal
 and, therefore, would not be visible.361 The remaining meter stations and the Moss Lake
 Compressor Station are not in or within one mile of an environmental justice community.
 The final EIS concludes, and we agree, that visual impacts from construction and
 operation of the CP Express Pipeline are anticipated to have a permanent and minor
 effect on environmental justice communities.362

                               v.     Socioeconomics

        Regarding socioeconomics, as stated in the final EIS, the temporary influx of
 workers/contractors into the area along the pipeline route could increase the demand for
 community services, such as traffic, housing, police enforcement, and medical care.363
 The final EIS concludes, however, that sufficient housing units would be available and
 impacts on community services would not be significant.364 Based on the foregoing, the
 final EIS concludes that socioeconomic impacts on environmental justice communities
 would be less than significant.365




       358
             Id.
       359
             Id.
       360
             Id.
       361
             Id.
       362
             See id.
       363
             Id.
       364
             Id. at 4-266, 4-276 to 4-280.
       365
             Id. at 4-320.
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         As stated in the final EIS, several other projects have been proposed or approved
 that could have overlapping construction schedules with CP Express Pipeline Project,
 including Driftwood LNG Project, Line 200 and Line 300 Project, Hackberry Storage
 Project, Cameron LNG Expansion Project, Lake Charles Liquefaction Project, Magnolia
 LNG, Delfin LNG, and Commonwealth LNG Project.366 Combined, these projects could
 require a peak of more than 20,000 workers, a 10% increase in the current population.367
 The temporary flux of workers/contractors into the area from all of these projects would
 increase the demand for housing. Should other major industrial projects listed in table
 4.14.1-1 of the final EIS be constructed at the same time as the CP Express Pipeline,
 sufficient housing would still be available.368 This cumulative increased demand for
 housing could drive costs up, increase property taxes, and adversely impact low-income
 individuals.369 An increase in costs of material goods may also occur due to increased
 demand for these goods. The final EIS concludes that environmental justice communities
 in the study area would experience cumulative impacts on socioeconomic resources, but
 these impacts would be less than significant.370 We agree with staff’s conclusions.

                               vi.    Road Traffic

         The final EIS finds that area residents may be affected by traffic delays during
 construction of the CP Express Pipeline Project.371 Construction of the pipeline project
 would temporarily increase use of area roads by heavy construction equipment and
 associated trucks and vehicles. Increased use of these roads would result in a higher
 volume of traffic, increased commute times, and greater risk of vehicle accidents.372
 During construction, public roads utilized in the immediate vicinity of the pipeline would
 be monitored by CP Express and maintained as necessary. CP Express would implement
 its Traffic, Noxious Weed, and Fugitive Dust Control Plan to minimize impacts from
 pipeline construction on local traffic and transportation systems.373 During operation of

       366
             Id. at 4-546.
       367
             Id.
       368
             Id. at 4-546 to 4-547.
       369
             Id. at 4-547.
       370
             Id.
       371
             Id. at 4-322.
       372
             Id.
       373
             Id.
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 the pipeline, impacts on road traffic would be primarily limited to the ten employees
 based at the proposed Moss Lake Compressor Station (which is not within an
 environmental justice block group), and periodic deliveries to aboveground facilities.
 Therefore, the final EIS concludes that the road traffic impacts from the CP Express
 Pipeline on environmental justice communities are expected to be less than significant.374
 We agree.

                                vii.   Air Quality

        Emissions during construction of the CP Express Pipeline Project would generally
 be associated with the use of on-road and off-road mobile equipment. CP Express’s
 construction equipment exhaust emissions would be minimized by using construction
 equipment and vehicles that are maintained in accordance with manufacturers’
 maintenance schedules; comply with EPA vehicle and non-road engine emissions
 regulations; and use commercial fuels (e.g., diesel) that meet specifications of applicable
 federal and state air pollution control regulations.375 Fugitive dust generation would be
 minimized, in part, by applying water in active construction areas (e.g., unpaved roads,
 material storage piles) and imposing speed limits for on-site vehicles in accordance with
 CP2 LNG and CP Express’s Traffic, Noxious Weed, and Fugitive Dust Control Plan.376
 The final EIS concludes that impacts from pipeline construction on local air quality
 would not be significant.377

         The operation of the proposed Moss Lake Compressor Station would not cause or
 contribute to any cumulative significant impact level (SIL) exceedances for NAAQS, and
 it is not within 1 mile of an environmental justice community.378 Therefore, Commission
 staff concluded in the final EIS that the operational emissions from the pipeline would
 not have significant adverse air quality impacts on environmental justice communities.379
 We agree.




        374
              Id.
        375
              Id. at 4-323.
        376
              Id.
        377
              Id. at 4-323 to 4-324.
        378
              Id. at n. 101, 4-324.
        379
              Id. at 4-323 to 4-325.
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                               viii.   Noise

         As stated in the final EIS, noise levels above ambient conditions, attributable to
 pipeline construction activities, would vary over time and would depend upon the nature
 of the construction activity, the number and type of equipment operating, and the distance
 between sources and receptors.380 Construction noise at any given location, including
 locations within environmental justice block groups, would be temporary due to the
 assembly-line method of pipeline installation.381 However, noise associated with
 unmitigated HDD activities for pipeline construction would increase noise levels above
 ambient conditions at sensitive receptor sites in proximity to two HDD entry/exit
 locations (Marshall Street HDD Entry/Exit and Terminal Site Entry/Exit) in an identified
 environmental justice block group (CT 9702.02 - BG 2).382 The closest NSAs to the
 Marshall Street HDD are residences 990 feet southeast and 380 feet southeast of its
 entry/exit locations, respectively, and the closest NSAs to the Terminal Site HDD are
 residences 890 feet northeast and 430 feet southeast of its entry/exit location,
 respectively.383 CP Express will restrict HDD activities to daytime hours (i.e., 7 a.m. to
 7 p.m.) with the exception of pipe pullback and hydrostatic testing, which would occur
 continuously during daytime and nighttime hours until the activity is complete; however,
 depending on site conditions, pullback and testing activities are generally completed
 within a day or two.384 Except for HDD locations, construction activities associated with
 the CP Express Pipeline Project would generally be limited to daytime hours; therefore,
 most construction noise would have no nighttime impacts on residents or other sensitive
 receptors near the pipeline. Due to the temporary nature of construction, including HDD,
 no associated long-term impacts are anticipated for environmental justice populations.385

         Operation of the CP Express Pipeline would include an increase in noise levels at
 the proposed Florida Gas Transmission Meter Station, Enable Interconnect Meter Station,
 and CPX Meter Station; however, there are no NSAs within identified environmental
 justice block groups within 0.5 mile of the meter stations. The final EIS concludes the



       380
             Id. at 4-325.
       381
             Id. at 4-326.
       382
             Id.
       383
             Id.
       384
             Id.
       385
             Id.
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 pipeline project would not result in significant noise impacts on local residents and the
 surrounding communities, including environmental justice communities.386 We agree.

                         c.     Environmental Justice Conclusion

        In conclusion, 17 block groups out of 31 block groups within the geographic scope
 of the projects are considered environmental justice communities.387

        Temporary and permanent adverse impacts on environmental justice communities
 from construction and operation of the CP2 LNG Project include impacts associated with
 water resources, wetlands, socioeconomics, traffic, air quality, noise, and visual
 resources. The construction and operation of the LNG terminal would have a
 disproportionately high and adverse impact on environmental justice communities
 because the impacts would be predominantly borne by those communities. Visual
 impacts on environmental justice communities near the terminal would be significant. In
 addition, the project would contribute to significant cumulative visual impacts on
 environmental justice communities.388 The remainder of the temporary and permanent
 adverse impacts on water resources, wetlands, socioeconomics, traffic, air quality, and
 noise in environmental justice communities from construction and operation of the LNG
 terminal would be less than significant.389

        Temporary adverse impacts on environmental justice communities from
 construction of the CP Express Pipeline Project include impacts associated with water
 resources, wetlands, socioeconomics, traffic, air quality, and construction noise.
 Permanent adverse impacts on visual resources in environmental justice communities
 would occur as a result of pipeline operation, including removal of forested vegetation
 and periodic vegetation clearing within the permanent right-of-way. The construction
 and operation of the pipeline (including meter stations, contractor yards, and park and
 ride locations) would have a disproportionately high and adverse impact on
 environmental justice communities because the impacts would be predominantly borne
 by those communities, but the impacts would be less than significant.390



        386
              Id. at 4-326 to 4-327.
        387
              Id. at table 4.10.10-1.
        388
              Id. at 4-328 to 4-329, 4-546, app. J.
        389
              Id. at 4-329.
        390
              Id. at 4-328.
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                    8. Greenhouse Gas Emissions and Climate Change

         NEPA requires agencies to include in NEPA documents reasonably foreseeable
 environmental effects of the proposed agency action.391 CEQ defines effects or impacts
 as “changes to the human environment from the proposed action or alternatives that are
 reasonably foreseeable,” which include those effects that “occur at the same time and
 place” and those that “are later in time or farther removed in distance, but are still
 reasonably foreseeable.”392 An impact is reasonably foreseeable if it is “sufficiently
 likely to occur such that a person of ordinary prudence would take it into account in
 reaching a decision.”393

         For the CP2 LNG and CP Express Pipeline Projects, we find that the construction
 emissions, including commissioning, and direct operational emissions are reasonably
 foreseeable. The final EIS estimates that construction of the projects would result in
 3,034,891 tons of carbon dioxide equivalent (CO2e) emissions (equivalent to
 2,753,207 metric tons of CO2e) over the duration of construction and commissioning.394
 GHG emissions from the operation of the projects would result in an annual increase of
 CO2e emissions of about 9,380,776 tons per year (tpy) (equivalent to 8,510,099 metric
 tpy).395

        EPA argues that the Commission should disclose and evaluate the GHG emissions
 associated with upstream production and downstream use of the gas exported by the CP2
 LNG Project due to the Commission’s authorization role under NGA section 3 and to the
 reasonably close causal relationship between the projects and upstream and downstream

       391
           See FISCAL RESPONSIBILITY ACT OF 2023, PL 118-5, 137 Stat 10, at
 § 321 (June 3, 2023).
       392
             40 C.F.R. § 1508.1(g) (2023).
       393
            Id. § 1508.1(aa). See generally Dep’t of Transp. v. Pub. Citizen, 541 U.S. 752,
 767 (2004) (explaining that “NEPA requires ‘a reasonably close causal relationship’
 between the environmental effect and the alleged cause” and that “[t]he Court analogized
 this requirement to the ‘familiar doctrine of proximate cause from tort law”) (citation
 omitted); Food & Water Watch v. FERC, 28 F.4th 277, 288 (D.C. Cir. 2022)
 (“Foreseeability depends on information about the ‘destination and end use of the gas in
 question.’”) (citation omitted); Sierra Club v. FERC, 867 F.3d 1357, 1371 (D.C. Cir.
 2017) (Sabal Trail) (“FERC should have estimated the amount of power-plant carbon
 emissions that the pipelines will make possible.”).
       394
             See final EIS at 4-353, 4-358, 4-365, and tbls. 4.12.1-9, 4.12.1-10, & 4.12.1-17.
       395
             See id. at 4-368 and tbl. 4.12.1-19.
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 emissions.396 EPA states that it is irrelevant whether downstream GHG emissions occur
 within or outside of the United States to assess their climate impacts given that GHG
 emissions have impacts that are global in scale, and that whether the project gas is used
 nationally or internationally does not impact the location of upstream GHG emissions.397

        As we have repeatedly held,398 under D.C. Circuit precedent, the Commission
 need not consider the effects of upstream production or downstream transportation,
 consumption, or combustion of exported gas because the DOE’s “independent decision to
 allow exports . . . breaks the NEPA causal chain and absolves the Commission of
 responsibility to include [these considerations] in its NEPA analysis.”399

         The final EIS estimates that the social cost of GHGs from the projects is either
 $2,171,634,661 (assuming a discount rate of 5%), $8,163,209,390 (assuming a discount
 rate of 3%), $12,317,496,889 (assuming a discount rate of 2.5%) or $24,759,892,905
 (using the 95th percentile of the social cost of GHGs with a discount rate of 3%).400 The
 final EIS states that “construction and operation of the Project[s] would increase the
 atmospheric concentration of GHGs, in combination with past, current, and future
 emissions from all other sources globally and contribute incrementally to future climate
 change impacts.”401 We clarify that, assuming that the transported gas is not displacing
 equal-or higher-emitting sources, we recognize that the projects’ contributions to GHG




       396
             EPA September 1, 2023 Comments at 3; see also final EIS at 4-559.
       397
             EPA September 1, 2023 Comments at 3.
       398
          See Commonwealth LNG, 181 FERC ¶ 61,143 at P 77; Columbia Gulf
 Transmission, LLC, 178 FERC ¶ 61,198, at P 46, order on reh’g, 180 FERC ¶ 61,206, at
 P 78 (2022).
       399
           827 F.3d 36 (D.C. Cir. 2016) (Freeport); see also Sierra Club v. FERC,
 827 F.3d 59, 68-69 (D.C. Cir. 2016); EarthReports, Inc. v. FERC, 828 F.3d 949, 956
 (D.C. Cir 2016) (same); Sierra Club v. FERC, 867 F.3d 1357, 1372 (D.C. Cir.
 2017) (explaining Freeport).
       400
           The Interagency Working Group draft guidance identifies costs in 2020
 dollars. Interagency Working Group on Social Cost of Greenhouse Gases, United States
 Government, Technical Support Document: Social Cost of Carbon, Methane, and Nitrous
 Oxide Interim Estimates under Executive Order 13990, at 5 (Table ES-1) (Feb. 2021).
       401
             Final EIS at 4-559.
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 emissions globally contribute incrementally to future climate change
 impacts,402 including impacts in the region.403

       EPA recommends that the Commission detail the discount rates and methodology
 behind the social cost of GHG estimates in the Commission’s order or other NEPA
 documents.404 For the calculations, the final EIS assumed discount rates of 5%, 3%, and
 2.5%, and assumed that the project will begin service in 2026 and that the operational
 emissions would be at a constant rate throughout the life of a 20-year contract.405

        Additionally, EPA asserts that the social cost of GHG estimates in the final EIS
 underrepresent global impacts from GHG emissions because they do not include damages
 related to upstream or downstream emissions.406 As explained above, the upstream and
 downstream emissions are appropriately excluded from our NEPA analysis.407

         As we have done in prior orders, we place the project’s GHG emissions in context
 by comparing them to the total GHG emissions of the United States as a whole and at the
 state level. At a national level, 5,586.0 million metric tons (MMT) of CO2e were emitted
 in 2021 (inclusive of CO2e sources and sinks).408 The construction and commissioning
 emissions from the CP Express Pipeline Project and the CP2 LNG Project could
 potentially increase CO2e emissions based on the national 2021 levels by 0.002 to 0.02%




       402
             Id.
       403
             Id. at 4-457 to 4-558 (discussing observations from the Fourth Assessment
 Report).
       404
             EPA September 1, 2023 Comment at 3.
       405
             Final EIS at 4-560 to 4-561.
       406
             EPA September 1, 2023 Comment at 3.
       407
             See supra P 167.
       408
           Final EIS at 4-559; EPA, Inventory of U.S. Greenhouse Gas Emissions and
 Sinks: 1990-2021 at tbl. 2-1 (April 2022),
 https://www.epa.gov/system/files/documents/2023-04/US-GHG-Inventory-2023-Main-
 Text.pdf.
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 in any one year;409 in subsequent years, operation of the projects could potentially
 increase emissions nationally by 0.17%.410

        At the state level, we compare the project’s GHG emissions to the total CO2
 emissions for the State of Louisiana alone.411 For Louisiana, 183.3 MMT of CO2 were
 emitted in 2020.412 The total construction and commissioning emissions from the
 projects would temporarily increase CO2e emissions in Louisiana, based on the state
 2020 level, by 0.05 to 0.57% in any one year of construction/commissioning; in
 subsequent years, the operation of both projects could potentially increase annual GHG
 emissions in Louisiana by 5.13%.413

        When states have GHG emissions reduction targets, a project’s GHG emissions
 are compared to those state goals to provide additional context.414 The state of Louisiana
 established executive targets in 2020 to reduce net GHG emissions 26% to 28% by 2025
 and 40% to 50% by 2030, compared to 2005 levels. The targets also aim for net-zero
 GHG emissions by 2050. Statewide GHG emissions were 215 MMT CO2e in 2005;
 therefore, the goals are to have emission levels in Louisiana at about 157 MMT CO2e in
 2025 (based on a 27% reduction) and between 108 and 129 MMT CO2e in 2030. Based




        409
          Construction and commissioning are estimated to take a total of 48 months, but
 may occur over 5 calendar years. Final EIS at 2-18,4-349, and 4-358.
        410
          This estimate was incorrectly stated in the Final EIS and has been corrected
 here. Final EIS at 4-559.
        411
           In Texas, the pipeline and two meter stations would have only minor
 construction-related emissions and operational fugitive emissions. Given that the vast
 majority of project-related emissions would occur in Louisiana, we compare both
 projects’ GHG emissions to State of Louisiana emissions.
        412
              Final EIS at 4-560.
        413
              Mathematical Id. at 4-560.
        414
         See, e.g., Tex. E. Transmission, LP, 180 FERC ¶ 61,186, at P 28 (2022);
 Golden Pass Pipeline, LLC, 180 FERC ¶ 61,058, at P 21 (2022).
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 on operational emissions (9.38 MMT CO2e)415, the projects would contribute
 approximately 7.98% of the CO2e emissions level goal (midpoint of range) in 2030.416

        EPA recommends that the Commission avoid expressing project-level emissions
 as a percentage of national or state emissions or reduction targets as it “trivializes
 substantial project-scale GHG emissions and is also misleading given the nature of the
 climate policy challenge to reduce GHG emissions from a multitude of sources.”417 We
 disagree. The D.C. Circuit has repeatedly upheld the Commission’s analysis of a
 project’s estimated GHG emissions by comparison to national and state inventories.418

        EPA recommends that the Commission provide updated estimates of global
 warming potentials (GWP) for GHGs using the latest scientific information from the
 Intergovernmental Panel on Climate Change 6th Assessment Report.419 As stated in the
 final EIS, Commission staff chose to use GWPs that EPA itself established for reporting
 of GHG emissions and air permitting requirements, allowing for a consistent comparison
 with these regulatory requirements.420

        EPA also recommends that the Commission condition its approval of the projects
 on CP2 LNG and CP Express’s commitment to adopt all practicable GHG mitigation
 measures.421 EPA further recommends that any mitigation or best management practices
 be included as conditions of the authorization order, in a Memorandum of Understanding




       415
             Final EIS at 4-368.
       416
          Because the projects are not projected to begin operations until 2026, we only
 compare to Louisiana’s 2030 goal.
       417
             EPA September 1, 2023 Comment at 3.
       418
          Ala. Mun. Distributors Grp. v. FERC, 100 F.4th 207, 214 (D.C. Cir. 2024)
 (Evangeline Pass); Alaska LNG, 67 F.4th at 1183-84.
       419
             EPA September 1, 2023 Comments at 2.
       420
           Commission staff chose EPA-developed GWPs outlined in 40 C.F.R. pt. 98,
 subpt. A, tbl.A-1 (2023), rather than other published GWPs. Final EIS at 4-335; see also
 Gas Transmission Northwest LLC, 181 FERC ¶ 61,234, at P 39 (2022) (finding staff
 appropriately selected EPA’s GWP for methane in its environmental analysis).
       421
             EPA September 1, 2023 Comments at 2-3.
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 with CP2 LNG and CP Express, or in a state or local permit to ensure the measures are
 real and verifiable.422

        As described in the final EIS, CP2 LNG and CP Express have committed to
 various methods, measures, and best management practices, which Commission staff
 determined would help to reduce GHG emissions.423 Additionally, CP2 LNG plans to
 capture, compress, and sequester approximately 500,000 tons of CO2 from feed gas
 entering the CP2 LNG Project through its CCS facilities.424 We are satisfied that these
 measures sufficiently address EPA’s recommendation.

         Some commenters oppose the projects, citing concern regarding the projects’
 contribution to climate change and the importance of domestic and global GHG
 emissions reductions targets.425 The Commission has disclosed the GHG emissions
 associated with construction and operation of the projects.426 Additionally, as stated
 above, we recognize that the projects’ contributions to GHG emissions globally
 contribute incrementally to future climate change impacts, assuming that the transported
 gas is not displacing equal-or higher-emitting sources.427

         We clarify that, for informational purposes, Commission staff disclosed an
 estimate of the social cost of GHGs.428 While we have recognized in some past orders
 that the social cost of GHGs may have utility in certain contexts such as rulemakings,429
 we have also found that calculating the social cost of GHGs does not enable the
 Commission to determine credibly whether the reasonably foreseeable GHG emissions

        422
              Id. at 3.
        423
              Final EIS at 4-365 to 4-367.
        424
              See supra P 9.
        425
          See, e.g., Pam Elders October 17, 2023 Comments; Karen Uhlenhuth October
 19, 2023 Comments; Rebecca Liberman October 20, 2023 Comments.
        426
           See supra P 165; see also final EIS at 4-353, 4-358, 4-365, 4-368, and tbls.
 4.12.1-9, 4.12.1-10, 4.12.1-17, and 4.12.1-19.
        427
              See supra P 168.
        428
             Final EIS at 4-560 to 4-561. “Commission staff have not identified a
 methodology to attribute discrete, quantifiable, physical effects on the environment
 resulting from the Project’s incremental contribution to GHGs.” Id. at 4-559.
        429
              Fla. Se. Connection, LLC, 164 FERC ¶ 61,099, at PP 35-37 (2018).
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 associated with a project are significant or not significant in terms of their impact on
 global climate change.430 Currently, however, there are no criteria to identify what
 monetized values are significant for NEPA purposes, and we are currently unable to
 identify any such appropriate criteria.431 Nor are we aware of any other currently
 scientifically accepted method that would enable the Commission to determine the
 significance of reasonably foreseeable GHG emissions.432 The D.C. Circuit has
 repeatedly upheld the Commission’s decisions not to use the social cost of carbon,
 including to assess significance.433 In fact, the D.C. Circuit recently affirmed the

        430
             See Mountain Valley Pipeline, LLC, 161 FERC ¶ 61,043 at P 296, (2017), aff’d
 sub nom., Appalachian Voices v. FERC, 2019 WL 847199 (D.C. Cir. 2019); Del.
 Riverkeeper Network v. FERC, 45 F.th 104, 111 (D.C. Cir. 2022). The social cost of
 GHGs tool merely converts GHG emissions estimates into a range of dollar-denominated
 figures; it does not, in itself, provide a mechanism or standard for judging “significance.”
        431
            Tenn. Gas Pipeline Co., L.L.C., 181 FERC ¶ 61,051, at P 37 (2022); see
 also Mountain Valley Pipeline, LLC, 161 FERC ¶ 61,043 at P 296, order on reh’g,
 163 FERC ¶ 61,197, at PP 275-297 (2018), aff’d, Appalachian Voices v. FERC,
 No. 17-1271, 2019 WL 847199, at *2) (“[The Commission] gave several reasons why it
 believed petitioners’ preferred metric, the Social Cost of Carbon tool, is not an
 appropriate measure of project-level climate change impacts and their significance under
 NEPA or the Natural Gas Act. That is all that is required for NEPA
 purposes.”); EarthReports v. FERC, 828 F.3d 949, 956 (D.C. Cir. 2016) (accepting the
 Commission’s explanation why the social cost of carbon tool would not be appropriate or
 informative for project-specific review, including because “there are no established
 criteria identifying the monetized values that are to be considered significant for NEPA
 purposes”); Tenn. Gas Pipeline Co., L.L.C., 180 FERC ¶ 61,205, at P 75 (2022); see, e.g.,
 LA Storage, LLC, 182 FERC ¶ 61,026, at P 14 (2023); Columbia Gulf Transmission,
 LLC, 180 FERC ¶ 61,206 at P 91 (2022).
        432
             See, e.g., LA Storage, LLC, 182 FERC ¶ 61,026, at P 14 (“there are currently no
 criteria to identify what monetized values are significant for NEPA purposes, and we are
 currently unable to identify any such appropriate criteria.”).
        433
           See, e.g., Food & Water Watch v. FERC, Nos. 22-1214, 22-1315, 2024 WL
 2983833, at *6-7 (D.C. Cir. June 14, 2024) (Tenn. East 300) (noting that “NEPA
 regulations [do not] require an agency to clarify every environmental impact as
 significant or insignificant,” and upholding the Commission’s decision not to assess
 “significance” despite having done so in the past); Alaska LNG, 67 F.4th at 1184
 (explaining that “the Commission compared the Project’s direct emissions with existing
 Alaskan and nationwide emissions,” “declined to apply the social cost of carbon for the
 same reasons it had given in a previous order”; describing those reasons as (1) “the lack
 of consensus about how to apply the social cost of carbon on a long time horizon,” (2)
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 Commission’s decision to not analyze the social cost of carbon in its NEPA analysis,434
 rejected the suggestion that it was required to do so, found that the petitioner’s arguments
 “fare no better when framed as NGA challenges,” and then, in the very same paragraph,
 sustained the Commission’s public interest determination as “reasonable and lawful.”435

         We note that there currently are no accepted tools or methods for the Commission
 to use to determine significance; therefore, the Commission is not herein characterizing
 these emissions as significant or insignificant.436 Accordingly, we have taken the
 required “hard look” and have satisfied our obligations under NEPA.



 that “the social cost of carbon places a dollar value on carbon emissions but does not
 measure environmental impacts as such,” and (3) “FERC has no established criteria for
 translating these dollar values into an assessment of environmental impacts”; and
 recognizing that the Commission’s “approach was reasonable and mirrors analysis . . .
 previously upheld” and that the Commission “had no obligation in this case to consider
 the social cost of carbon”) (citations omitted); EarthReports v. FERC, 848 F.3d 949, 956
 (D.C. Cir. 2016) (upholding the Commission’s decision not to use the social cost of
 carbon tool due to a lack of standardized criteria or methodologies, among other things);
 Del. Riverkeeper Network v. FERC, 45 F.4th 104 (D.C. Cir. 2022) (also upholding the
 Commission’s decision not to use the social cost of carbon); Appalachian Voices v.
 FERC, 2019 WL 847199 (same).
        434
            Tenn East 300, 2024 WL 2983833, at *6 (“FERC need not attempt to monetize
 those emissions through a Social Cost of Carbon model which FERC views as unreliable
 for analyzing individual projects.”); Evangeline Pass, 100 F.4th 207, 214-15 (D.C. Cir.
 2024) (upholding the Commission's decision not to rely on the social cost of carbon tool
 where, as in the instant proceeding, Commission staff estimated the social cost of carbon,
 publicly disclosed those estimates, and shared them in the NEPA document); Alaska
 LNG, 67 F.4th at 1184 (“Rather than use the social cost of carbon, the Commission
 compared the Project’s direct emissions with existing Alaskan and nationwide emissions.
 It declined to apply the social cost of carbon for the same reasons it had given in a
 previous order. . . FERC’s approach was reasonable and mirrors analysis we have
 previously upheld.”).
        435
              Alaska LNG, 67 F.4th at 1184.
        436
          The February 18, 2022 Interim GHG Policy Statement, Consideration of
 Greenhouse Gas Emissions in Nat. Gas Infrastructure Project Revs., 178 FERC ¶ 61,108
 (2022), which proposed to establish a NEPA significance threshold of 100,000 tons per
 year of CO2e as a matter of policy, has been suspended, and opened to further public
 comment. Order on Draft Policy Statements, 178 FERC ¶ 61,197 at P 2.
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                     9. Alternatives

         In the final EIS, Commission staff determined that electric-driven turbines at the
 LNG terminal and electric motor-driven compression at the Moss Lake Compressor
 Station would not provide a significant environmental advantage over or equivalent
 reliability to the proposed gas-powered turbines and compression, in part due to the
 unpredictable reliability of electric power transmission during severe weather events,
 including hurricanes.437 EPA acknowledges these reliability issues, but recommends the
 Commission consider these alternative energy sources over the life of the projects, during
 which the availability of renewable energy may increase.438

        As stated in the final EIS, electric power transmission can be unreliable in the
 project area due to the susceptibility of overhead electric transmission lines to damage,
 and power outages lasting days or weeks are not uncommon in southern Louisiana after
 major weather events.439 Renewable energy provided through the electrical grid would
 be subject to the same reliability concerns. We agree.

                     10. Cumulative Impacts

                         a.     Mobile Source Emissions

        Sierra Club comments that the final EIS fails to consider cumulative air quality
 impacts from mobile source emissions, particularly from marine vessels.440 It notes that
 the final EIS for the CP2 LNG and CP Express Projects, as well as EISs for other
 Commission-jurisdictional projects considered in the cumulative impacts analysis,441
 estimates large volumes of mobile source emissions during both project construction and
 operation.442 Sierra Club asserts that including mobile source emissions in the


        437
              Id. at 3-85 to 3-86.
        438
              EPA September 1, 2023 Comments at 1-2.
        439
              Final EIS at 3-86.
        440
              Sierra Club October 16, 2023 Comments at 1.
        441
           Commission-jurisdictional LNG projects considered in the cumulative effects
 analysis are: the Calcasieu Pass LNG Project; Driftwood LNG Project; Lake Charles
 Liquefaction Project; Cameron LNG Project; Cameron LNG Expansion Project;
 Commonwealth LNG Project; Delfin LNG Project; and, Magnolia LNG Project. Final
 EIS at 4-518 to 4-520.
        442
              Sierra Club October 16, 2023 Comments at 2-3.
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 cumulative impacts analysis may result in a predicted NAAQS exceedance, thereby
 undermining the final EIS’s conclusion that there would be no significant individual or
 cumulative air quality impacts from the projects because, even where project emissions
 would exceed the Significant Impact Level (SIL) for a given pollutant, the ambient
 pollution levels would remain below the relevant NAAQS threshold.443 It further states
 that given the magnitude of cumulative mobile source emissions, this possibility cannot
 be dismissed as speculative.444

        The Commission’s analysis of cumulative air quality impacts satisfied our
 responsibility under NEPA. The cumulative air dispersion modeling in the final EIS was
 conducted in accordance with EPA’s 40 CFR Part 51, Appendix W.445 CP2 LNG
 conducted a cumulative impact analysis for the terminal facilities for each pollutant that
 exceeded the SIL. The terminal facilities sources, including marine vessels (LNG
 carriers and tugboats), were modeled along with additional offsite sources obtained from
 the Louisiana DEQ Emissions Reporting and Inventory Center. The Area of Impact
 (AOI) for each pollutant and averaging period was established as the distance from the
 terminal facilities to the farthest receptor that showed a model-predicted impact greater
 than the SIL in the Significance Analysis. The offsite source inventory for the
 cumulative analysis included all sources within the AOI plus 15 kilometers and all major
 sources within the AOI plus 20 kilometers.446

        The cumulative air dispersion modeling for the CP2 LNG and CP Express Projects
 included both stationary sources and mobile sources (LNG vessels and tugs) associated
 with the operation of the CP2 LNG terminal,447 as well as the stationary and mobile
 sources associated with the Calcasieu Pass LNG terminal.448 The emissions inventory
 provided by the Louisiana DEQ does not include mobile emissions associated with the
 other LNG terminals, and thus, those emissions were not included in the cumulative




       443
             Id. at 4-5.
       444
             Id. at 5.
       445
             Final EIS at 4-369 to 4-373.
       446
             Id. at 4-299.
       447
             Id. at 4-296 to 4-301.
       448
          See Appendix E of CP2 LNG’s August 1, 2022 Supplemental Response to
 Environmental Information Request No 3, which lists the Louisiana DEQ offsite sources.
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 impacts modeling.449 Per 40 CFR part 51, Appendix W – Guideline on Air Quality
 Models, this is consistent with the Prevention of Significant Deterioration requirements
 of the Clean Air Act.450

         Further, the final EIS describes a cause-and-contribute analysis that determined
 that the projects would not cause or contribute to the anticipated exceedances of the 1-
 hour NAAQS for nitrogen dioxide (NO2) or the 24-hour NAAQS for particulate matter
 (PM2.5) predicted by the modeling.451 This analysis indicates that existing, permitted off-
 site sources, such as existing marine vessels operating in the nearby Calcasieu Ship
 Channel, are the primary drivers of NAAQS exceedances in the project area because,
 where the modeling predicted an exceedance of a NAAQS threshold, that exceedance
 would occur even in the absence of the projects’ emissions.452 Based on this modeling,
 the final EIS concludes that the CP2 LNG terminal would not cause or contribute to a
 potential NAAQS exceedance.453 We agree.

         The addition of nearby mobile source emissions, including those from the nearest
 facilities, such as Commonwealth LNG terminal, would not change the conclusion that
 the CP2 LNG and CP Express Projects do not cause or contribute to potential NAAQS
 exceedances.454 As detailed in Appendix K of the final EIS, the highest project
 contribution to any potential NAAQS exceedance location for the 1-hour NO2 standard is

        449
            See id.; see also Louisiana DEQ, Air Emissions Inventory,
 https://deq.louisiana.gov/index.cfm?md=pagebuilder&tmp=home&pid=EmissionsInvent
 ory (last updated Mar. 2, 2023).
        450
            Where there is no simultaneous exceedance of the NAAQS and the significant
 impact level by the project sources, the modeling analysis is deemed to demonstrate that
 the proposed source would not cause or contribute to the potential NAAQS exceedance.
 40 C.F.R. part 51, app. W (Guideline on Air Quality Models), § 8.1.2 a (2023) states:
 “For a NAAQS or [Prevention of Significant Deterioration] increments assessment, the
 modeling domain or project's impact area shall include all locations where the emissions
 of a pollutant from the new or modifying source(s) may cause a significant ambient
 impact.” Further, per Section 9.2.3 c.: “The receptors that indicate the location of
 significant ambient impacts should be used to define the modeling domain for use in the
 cumulative impact analysis.”
        451
              Final EIS at 4-553.
        452
              Id.
        453
              Id. at 4-552 to 4-553.
        454
              Id. at 4-552 to 4-553.
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 3.7 micrograms per cubic meter, which is about half of the SIL for the 1-hour NO2
 standard.455

        Based on the cumulative air quality dispersion modeling and cause-and-contribute
 analysis summarized in the final EIS, as well as the extent of the project’s contribution to
 the potential exceedances of the NAAQS analyzed in the final EIS, our conclusion
 remains the same—the CP2 LNG terminal does not cause or contribute to potential
 NAAQS exceedances.456

        In addition, Sierra Club states that the information used to support the air quality
 modeling, as well as Louisiana DEQ’s emission inventory data, were not provided in the
 final EIS. Sierra Club questions why this information is not available to the public.457
 We note that the dispersion modeling assumptions are stated generally throughout the
 body text of the EIS, and footnotes in the EIS refer to CP2 LNG and CP Express’s
 detailed modeling reports (including the modeling files and Louisiana DEQ offsite
 emissions inventory) in CP2 LNG’s application as well.458

                         b.      Particulate Matter

       On March 6, 2024, EPA revised the National Ambient Air Quality Standards
 (NAAQS) for particulate matter with an aerodynamic diameter less than 2.5 micrometers
 (PM2.5), lowering the primary annual standard from 12.0 micrograms per cubic meter
 (µg/m3) to 9.0 µg/m3.459 The revised NAAQS became effective on May 6, 2024.

       As described in the final EIS, CP2 LNG’s modeling estimated that the maximum
 impacts from the LNG terminal would be 9.4 µg/m3 for the annual PM2.5 NAAQS.460 To
 confirm that the operations of the LNG terminal would not result in PM2.5 air quality
 impacts greater than the revised annual PM2.5 NAAQS in the surrounding communities,




        455
              Id. at app. K.
        456
              See id. at 4-552 to 4-553.
        457
              Sierra Club October 16, 2023 Comments at 5.
        458
           Final EIS at 4-296 to 4-303 and n. 138. See also Appendix E of CP2 LNG’s
 August 1, 2022 Supplemental Response to Environmental Information Request No 3.
        459
              89 Fed. Reg. 16,202 (Mar. 6, 2024).
        460
              Final EIS at tbl. 4.12.1-22.
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 Commission staff issued Environmental Information Requests (EIRs) to the applicant on
 March 26, 2024, and May 29, 2024, requesting revised air quality analysis.461

         On April 4 and June 3, 2024, CP2 LNG submitted revised air quality impacts
 analysis to demonstrate compliance with the revised annual PM2.5 NAAQS in the project
 area. Specifically, CP2 LNG updated its air dispersion modeling to use the PM2.5 design
 value derived from ambient air data collected at an air quality monitoring station in
 Vinton, Louisiana.462 CP2 LNG states that the ambient air conditions at the Vinton,
 Louisiana station are more representative of the project area than the ambient air
 conditions at the West Orange, Texas monitoring station used in its initial modeling. CP2
 LNG states that it originally used the design value from the West Orange station because,
 at that time, the data from the Vinton station was considered incomplete due to a 2021
 hurricane; however, in early 2024, CP2 LNG states that EPA concluded that the Vinton
 station’s data from 2020 to 2022 is valid and acceptable for use.463 With the Vinton
 station PM2.5 value, air dispersion modeling estimates that the total cumulative
 concentration of annual PM2.5 will be 8.2 ug/m3 once the LNG facilities are in operation,
 in compliance with the EPA’s revised standard.464

         We disagree with the dissent’s assertion that the revised PM2.5 annual NAAQS
 triggered the Commission’s duty to prepare a supplemental EIS.465 An agency need not
 supplement an EIS every time new information comes to light after an EIS is finalized,
 for to do so “would render agency decision making intractable, always awaiting updated
 information only to find the new information outdated by the time a decision is made.”466
 Rather, a supplemental EIS is required where “there are significant new circumstances or
 information relevant to environmental concerns and bearing on the proposed action or its




       461
           CP2 LNG submitted revised air quality analysis in response to Commission
 staff’s March 26, 2024 EIR on April 4, 2024.
       462
             CP2 LNG April 4, 2024 Response to Environmental Information Request.
       463
             Id.
       464
             Id.
       465
           Dissent at PP 12-16 (stating that a supplemental EIS is required “where there
 ‘might’ be ‘any’ significant environmental impacts”).
       466
          Marsh v. Or. Nat. Res. Council, 490 U.S. 360, 373-74 (1989); see also Mayo v.
 Reynolds, 875 F.3d 11, 16 (D.C. Cir. 2017).
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 impacts.”467 The D.C. Circuit has explained that a supplemental EIS “must only be
 prepared where new information provides a seriously different picture of the
 environmental landscape.”468

         Commission staff requested additional air quality analysis from the applicant to
 determine whether the LNG terminal would have a significant impact on air quality.
 Staff reviewed and replicated the cumulative air quality model filed on June 3, 2024, and
 determined that the increase in emissions from the CP1 LNG facility as well as the
 change in the annual PM2.5 SIL did not result in additional locations where cumulative
 impacts would exceed the NAAQS. Furthermore, staff confirmed that, consistent with
 the determination in the final EIS, the impacts attributable to the CP2 facility would not
 cause or contribute to an exceedance of any the NAAQS. The cumulative area of impact
 is not affected by the change in the annual PM2.5 SIL as the cumulative air quality AOI is
 based upon the much larger area where the 1-hour NO2 SIL is exceeded. Thus, the
 increase in area where the annual PM2.5 SIL is exceeded is much smaller than the 1-hour
 NO2 AOI. For the reasons explained herein, we are satisfied that the applicant’s revised
 modeling demonstrates compliance with the revised annual PM2.5 NAAQS in the project
 area and that the project will not significantly impact air quality.469

        The dissent further states that the analysis “inexplicably excluded mobile
 emissions from the Driftwood LNG, Lake Charles Liquefaction, Commonwealth LNG,
 and Magnolia LNG projects.”470 We note that EPA’s modeling guidance under Appendix
 W471 does not require modeling of mobile sources under clean air permitting PSD or Title
 V requirements.472 CP1 LNG and CP2 LNG are owned/controlled by the same company,
 so to ensure we took a “hard look” at the totality of the emission impacts under NEPA,



       467
           40 C.F.R. § 1502.9(d)(1)(ii) (emphasis added); see also Tenn. Gas Pipeline
 Co., L.L.C., 187 FERC ¶ 61,136, at P 50 (2004) (“…the decision to prepare a
 supplemental EIS is left to agency discretion under a ‘rule of reason.’”).
       468
          Stand Up for Cal.! v. Dep’t of the Interior, 994 F.3d 616, 629 (D.C. Cir.
 2021) (emphasis in original) (quoting Friends of Capital Crescent Trail v. FTA, 877 F.3d
 1051, 1060 (D.C. Cir. 2017) (internal quotation marks omitted)).
       469
             See supra P 192; see infra PP 196-197.
       470
             Dissent at P 15.
       471
             See supra P 184.
       472
             See supra P 185.
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 we conservatively included the mobile emissions from both CP1 LNG and CP2 LNG in
 the cumulative air quality model.

                      c.      CP1 LNG Terminal Emissions

        In comments filed April 24, 2024, Sierra Club argued that CP2 LNG’s cumulative
 air impact modeling was flawed because it did not include anticipated increases in
 operational emissions from the neighboring CP1 LNG terminal as described in CP1
 LNG’s application to modify its Title V/PSD Permit filed with LDEQ on March 17,
 2023. CP2 LNG responded on May 15, 2024, that its modeling did include CP1 LNG’s
 increased emissions and provided its application materials for the CP1 LNG permit
 modification. After reviewing the revised analysis, Commission staff determined that the
 modeling reflected the increase in CP1 LNG’s operational emissions, but did not include
 the associated LNG ship and support vessel emissions. Commission staff issued an EIR
 on May 29, 2024, requiring that CP2 LNG include CP1 LNG’s marine emissions in its air
 quality analysis.

        CP2 LNG filed an updated air quality analysis that included the marine emissions
 associated with the CP1 LNG terminal on June 3, 2024. The updated air quality
 modeling indicates that the increase in CP1 LNG emissions results in increases in overall
 cumulative impacts from NO2 and PM2.5. However, the updated air quality analysis
 demonstrates that operation of the CP2 LNG terminal would not result in air quality
 impacts that would cause or contribute to an exceedance of any NAAQS in the
 surrounding communities.

                   11. Environmental Impacts Conclusion

         We have reviewed the information and analysis contained in the final EIS, as well
 as other information in the record, regarding the potential environmental effects of the
 projects. We accept the environmental recommendations in the final EIS, as modified
 herein, and we are including them as conditions in the appendix to this order. Based on
 our consideration of this information, as supplemented or clarified herein,473 we agree
 with the conclusions presented in the final EIS and find that the projects, if implemented
 as described in the applications and in compliance with the environmental conditions to
 this order, are environmentally acceptable actions.




        473
           Although the analysis in the EIS provides substantial evidence for our
 conclusions in this order, it is the order itself that serves as our record of decision. The
 order supersedes any inconsistent discussion in the EIS.
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        Conclusion

        For the reasons discussed above, we find that the CP2 LNG Project is not
 inconsistent with the public interest, and we will grant CP2 LNG’s application for
 authorization under section 3 of the NGA to site, construct, and operate the project.

        The CP Express Pipeline Project will enable CP Express to transport domestically
 sourced natural gas to the CP2 LNG terminal for export. We find that CP Express has
 demonstrated a need for the project, that the project will not have adverse economic
 impacts on existing shippers or other pipelines and their existing customers, and that the
 project will have minimal impacts on the interests of landowners and surrounding
 communities. Additionally, as noted above, the project is an environmentally acceptable
 action. Based on the discussion above, we conclude under section 7 of the NGA that the
 public convenience and necessity requires approval of the CP Express Pipeline Project,
 subject to the conditions in this order.

         Compliance with the environmental conditions appended to our orders is integral
 to ensuring that the environmental impacts of approved projects are consistent with those
 anticipated by our environmental analyses. Thus, Commission staff carefully reviews all
 information submitted. Only when satisfied that the applicant has complied with all
 applicable conditions will a notice to proceed with the activity to which the conditions are
 relevant be issued. We also note that the Commission has the authority to take whatever
 steps are necessary to ensure the protection of life, health, property, and environmental
 resources during construction and operation of the project, including authority to impose
 any additional measures deemed necessary to ensure continued compliance with the
 intent of the conditions of the order, as well as the avoidance or mitigation of unforeseen
 adverse environmental impacts resulting from project construction and operation.

         Any state or local permits issued with respect to the jurisdictional facilities
 authorized herein must be consistent with the conditions of this certificate. The
 Commission encourages cooperation between interstate pipelines and local authorities.
 However, this does not mean that state and local agencies, through application of state or
 local laws, may prohibit or unreasonably delay the construction or operation of facilities
 approved by this Commission.474




        474
           See 15 U.S.C. § 717r(d) (state or federal agency’s failure to act on a permit
 considered to be inconsistent with Federal law); see also Schneidewind v. ANR Pipeline
 Co., 485 U.S. 293, 310 (1988) (state regulation that interferes with FERC’s regulatory
 authority over the transportation of natural gas is preempted) and Dominion
 Transmission, Inc. v. Summers, 723 F.3d 238, 245 (D.C. Cir. 2013) (noting that state and
 local regulation is preempted by the NGA to the extent it conflicts with federal
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       The Commission on its own motion received and made a part of the record in this
 proceeding all evidence, including the application, and exhibits thereto, and all
 comments.

 The Commission orders:

        (A) In Docket No. CP22-21-000, CP2 LNG is authorized under section 3 of the
 NGA to site, construct, and operate the CP2 LNG Project, as described and conditioned
 herein, and as more fully described in CP2 LNG’s application and subsequent filings by
 the applicant, including any commitments made therein.

        (B)    The authorizations in Ordering Paragraph (A) are conditioned on:

               (1)    CP2 LNG’s facilities being fully constructed and made available for
                      service within seven years of the date of this order; and

               (2)    CP2 LNG’s compliance with the environmental conditions contained
                      in the appendix to this order.

        (C) In Docket No. CP22-22-000, a certificate of public convenience and
 necessity under section 7(c) of the NGA is issued to CP Express authorizing it to
 construct and operate the CP Express Pipeline Project, as described and conditioned
 herein, and as more fully described in CP Express’s application and subsequent filings by
 the applicant, including any commitments made therein.

        (D)    The certificate authorized in Ordering Paragraph (C) is conditioned on:

               (1)    CP Express’s facilities being constructed and made available for
                      service within seven years of the date of this order pursuant to
                      section 157.20(b) of the Commission’s regulations;

               (2)    CP Express’s compliance with all applicable Commission
                      regulations under the NGA, particularly the general terms and
                      conditions set forth in Parts 154, 157, and 284, and paragraphs (a),
                      (c), (e), and (f) of section 157.20 of the Commission’s regulations;
                      and

               (3)    CP Express’s compliance with the environmental conditions contain
                      in the appendix of this order.



 regulation, or would delay the construction and operation of facilities approved by the
 Commission).
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        (E)    A blanket transportation certificate is issued to CP Express under Subpart G
 of Part 284 of the Commission’s regulations.

        (F)    A blanket construction certificate is issued to CP Express under Subpart F
 of Part 157 of the Commission’s regulations.

        (G) CP Express shall file a written statement affirming that it has executed firm
 contracts for the capacity levels and terms of service represented in the signed precedent
 agreements, prior to commencing construction.

         (H) CP2 LNG and CP Express shall notify the Commission’s environmental
 staff by telephone or e-mail of any environmental noncompliance identified by other
 federal, state, or local agencies on the same day that such agency notifies CP2 LNG or
 CP Express. CP2 LNG and CP Express shall file written confirmation of such
 notification with the Secretary of the Commission within 24 hours.

       (I)   CP Express’s initial recourse rates, fuel and lost and unaccounted for gas
 reimbursement percentages, and pro forma tariff are approved, as conditioned and
 modified above.

        (J)     CP Express is required to file actual tariff records reflecting revised initial
 rates and tariff language that comply with the requirements contained in the body of this
 order prior to the commencement of interstate service consistent with Part 154 of the
 Commission’s regulations. CP Express may file the revised initial rates for Phase II
 service in this filing or in a separate filing prior to the commencement of Phase II service.

        (K) The untimely motion to intervene filed by Fisherman Involved in
 Sustaining our Heritage on April 18, 2024, is denied.

         (L)     Within three months after its first three years of actual operation of its
 entire system including Phase II service, as discussed herein, CP Express must make a
 filing to justify its existing cost-based firm and interruptible recourse rates. CP Express’s
 cost and revenue study should be filed through the eTariff portal using a Type of Filing
 Code 580. In addition, CP Express is advised to include as part of the eFiling
 description, a reference to Docket Nos. CP22-21-000 and CP22-22-000 in the cost and
 revenue study. To the extent CP Express has not begun construction of the Phase II
 facilities within two years of the in-service date of Phase I, CP Express is directed to file
 a cost and revenue study three years after the in-service date of the Phase I facilities.
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 By the Commission. Commissioner Clements is dissenting with a separate statement
                    attached.
                    Commissioner Rosner is not participating.

 (SEAL)



                                           Debbie-Anne Reese,
                                            Acting Secretary.
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                                        Appendix

                              Environmental Conditions

             As recommended in the final environmental impact statement (EIS) and
       otherwise amended herein, this authorization includes the following conditions.



 1.    Venture Global CP2 LNG, LLC (CP2 LNG) and Venture Global CP Express, LLC
       (CP Express) shall follow the construction procedures and mitigation measures
       described in its application and supplements, including responses to staff data
       requests and as identified in the EIS, unless modified by the Order. CP2 LNG and
       CP Express must:

       a.    request any modification to these procedures, measures, or conditions in a
             filing with the Secretary of the Commission (Secretary);

       b.    justify each modification relative to site-specific conditions;

       c.    explain how that modification provides an equal or greater level of
             environmental protection than the original measure; and

       d.    receive approval in writing from the Director of the Office of Energy
             Projects (OEP), or the Director’s designee, before using that
             modification.

 2.    The Director of OEP, or the Director’s designee, has delegated authority to
       address any requests for approvals or authorizations necessary to carry out the
       conditions of the Order, and take whatever steps are necessary to ensure the
       protection of life, health, property, and the environment during construction and
       operation of the CP2 LNG and CP Express Project (project). This authority shall
       allow:

       a.    the modification of conditions of the Order;

       b.    stop-work authority and authority to cease operation; and

       c.    the imposition of any additional measures deemed necessary to ensure
             continued compliance with the intent of the conditions of the Order as well
             as the avoidance or mitigation of unforeseen adverse environmental impacts
             resulting from project construction and operation.

 3.    Prior to any construction, CP2 LNG and CP Express shall file an affirmative
       statement with the Secretary, certified by senior company officials, that all
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       company personnel, environmental inspectors (EI), and contractor personnel will
       be informed of the EI’s authority and have been or will be trained on the
       implementation of the environmental mitigation measures appropriate to their jobs
       before becoming involved with construction and restoration activities.

 4.    The authorized facility locations shall be as shown in the EIS, as supplemented by
       filed plot plans, alignment sheets, and facility diagrams. As soon as they are
       available, and before the start of construction, CP2 LNG and CP Express shall
       file with the Secretary any revised detailed plans, diagrams, and alignment sheets
       at a scale not smaller than 1:6,000 with station positions for all facilities approved
       by the Order. All requests for modifications of environmental conditions of the
       Order or site-specific clearances must be written and must specify locations
       designated on these plans, diagrams, and alignment sheets.

       CP Express’ exercise of eminent domain authority granted under Natural Gas Act
       (NGA) section 7(h) in any condemnation proceedings related to the Order must be
       consistent with the authorized Pipeline System facilities and locations. CP
       Express’ right of eminent domain granted under NGA section 7(h) does not
       authorize it to increase the size of its natural gas pipeline to accommodate future
       needs or to acquire a right-of-way for a pipeline to transport a commodity other
       than natural gas.

 5.    CP2 LNG and CP Express shall file with the Secretary detailed alignment
       maps/sheets and aerial photographs at a scale not smaller than 1:6,000 identifying
       all route realignments or facility relocations, staging areas, pipe storage yards, new
       access roads, and other areas that would be used or disturbed that have not been
       previously identified in filings with the Secretary. Approval for each of these
       areas must be explicitly requested in writing. For each area, the request must
       include a description of the existing land use or cover type, documentation of
       landowner approval, whether any cultural resources or federally listed threatened
       or endangered species would be affected, and whether any other environmentally
       sensitive areas are within or abutting the area. All areas shall be clearly identified
       on the maps, or aerial photographs. Use of each area must be approved in writing
       by the Director of OEP, or the Director’s designee, before construction in or
       near that area.

       This requirement does not apply to extra workspace allowed by the Federal
       Energy Regulatory Commission’s (FERC or Commission) Upland Erosion
       Control, Revegetation, and Maintenance Plan and/or minor field realignments per
       landowner needs and requirements which do not affect other landowners or
       sensitive environmental areas such as wetlands.

       Examples of alterations requiring approval include all route alignments and
       facility location changes resulting from:
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       a.    implementation of cultural resources mitigation measures;

       b.    implementation of endangered, threatened, or special concern mitigation
             measures;

       c.    recommendations by state regulatory authorities; and

       d.    agreements with individual landowners that affect other landowners or
             could affect sensitive environmental areas.

 6.    At least 60 days before construction begins, CP2 LNG and CP Express shall file
       an Implementation Plan with the Secretary for review and written approval by the
       Director of OEP, or the Director’s designee. CP2 LNG and CP Express must file
       revisions to the plan as schedules change. The plan shall identify:

       a.    how CP2 LNG and CP Express will implement the construction procedures
             and mitigation measures described in its application and supplements
             (including responses to staff data requests), identified in the EIS, and
             required by the Order;

       b.    how CP2 LNG and CP Express will incorporate these requirements into the
             contract bid documents, construction contracts (especially penalty clauses
             and specifications), and construction drawings so that the mitigation
             required at each site is clear to onsite construction and inspection
             personnel;

       c.    the number of EIs assigned, and how the company will ensure that
             sufficient personnel are available to implement the environmental
             mitigation;

       d.    company personnel, including EIs and contractors, who will receive copies
             of the appropriate material;

       e.    the location and dates of the environmental compliance training and
             instructions CP2 LNG and CP Express will give to all personnel involved
             with construction and restoration (initial and refresher training as the
             project progresses and personnel change); (with the opportunity for OEP
             staff to participate in the training sessions(s));

       f.    the company personnel (if known) and specific portion of CP2 LNG and
             CP Express’ organization having responsibility for compliance;

       g.    the procedures (including use of contract penalties) CP2 LNG and CP
             Express will follow if noncompliance occurs; and
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       h.         for each discrete facility, a Gantt or PERT chart (or similar project
                  scheduling diagram), and dates for:

              i.         the completion of all required surveys and reports;

             ii.         the environmental compliance training of onsite personnel;

            iii.         the start of construction; and

            iv.          the start and completion of restoration.

 7.    CP2 LNG shall employ at least one EI and CP Express shall employ at least one
       EI per construction spread. The EI(s) shall be:

       a.         responsible for monitoring and ensuring compliance with all mitigation
                  measures required by the Order and other grants, permits, certificates, or
                  other authorizing documents;

       b.         responsible for evaluating the construction contractor's implementation of
                  the environmental mitigation measures required in the contract (see
                  condition 6 above) and any other authorizing document;

       c.         empowered to order correction of acts that violate the environmental
                  conditions of the Order, and any other authorizing document;

       d.         a full-time position, separate from all other activity inspectors;

       e.         responsible for documenting compliance with the environmental conditions
                  of the Order, as well as any environmental conditions/permit requirements
                  imposed by other federal, state, or local agencies; and

       f.         responsible for maintaining status reports.

 8.    Beginning with the filing of its Implementation Plan, CP2 LNG shall file updated
       status reports with the Secretary on a monthly basis and CP Express shall file
       updated status reports with the Secretary on a biweekly basis until all construction
       and restoration activities are complete. Problems of a significant magnitude shall
       be reported to the FERC within 24 hours. On request, these status reports will
       also be provided to other federal and state agencies with permitting
       responsibilities. Status reports shall include:

       a.         an update on CP2 LNG and CP Express’ efforts to obtain the necessary
                  federal authorizations;

       b.         project schedule, including current construction status of the project and
                  work planned for the following reporting period;
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       c.    a listing of all problems encountered, contractor
             nonconformance/deficiency logs, and each instance of noncompliance
             observed by the EI during the reporting period (both for the conditions
             imposed by the Commission and any environmental conditions/permit
             requirements imposed by other federal, state, or local agencies);

       d.    a description of the corrective and remedial actions implemented in
             response to all instances of noncompliance, nonconformance, or deficiency;

       e.    the effectiveness of all corrective and remedial actions implemented;

       f.    a description of any landowner/resident complaints which may relate to
             compliance with the requirements of the order, and the measures taken to
             satisfy their concerns; and

       g.    copies of any correspondence received by CP2 LNG and CP Express from
             other federal, state, or local permitting agencies concerning instances of
             noncompliance, and CP2 LNG and CP Express response.

 9.    CP2 LNG and CP Express shall develop and implement an environmental
       complaint resolution procedure, and file such procedure with the Secretary, for
       review and approval by the Director of OEP, or the Director’s designee. The
       procedure shall provide landowners with clear and simple directions for
       identifying and resolving their environmental mitigation problems/concerns during
       construction of the project and restoration of the right-of-way. Prior to
       construction, CP2 LNG and CP Express shall mail the complaint procedures to
       each landowner whose property will be crossed by the project.

       a.    In its letter to affected landowners, CP2 LNG and CP Express shall:

             (1)     provide a local contact that the landowners should call first with
                     their concerns; the letter should indicate how soon a landowner
                     should expect a response;

             (2)     instruct the landowners that if they are not satisfied with the
                     response, they should call CP2 LNG and CP Express Hotline; the
                     letter should indicate how soon to expect a response; and

             (3)     instruct the landowners that if they are still not satisfied with the
                     response from CP2 LNG and CP Express Hotline, they should
                     contact the Commission’s Landowner Helpline at 877-337-2237 or
                     at LandownerHelp@ferc.gov.

       b.    In addition, CP2 LNG and CP Express shall include in its status report a
             copy of a table that contains the following information for each
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              problem/concern:

              (1)    the identity of the caller and date of the call;

              (2)    the location by milepost and identification number from the
                     authorized alignment sheet(s) of the affected property;

              (3)    a description of the problem/concern; and

              (4)    an explanation of how and when the problem was resolved, will be
                     resolved, or why it has not been resolved.

 10.   CP2 LNG and CP Express must receive written authorization from the Director of
       OEP, or the Director’s designee, before commencing construction of any project
       facilities. To obtain such authorization, CP2 LNG and CP Express must file with
       the Secretary documentation that it has received all applicable authorizations
       required under federal law (or evidence of waiver thereof).

 11.   CP2 LNG must receive written authorization from the Director of OEP, or the
       Director’s designee, prior to introducing hazardous fluids into the Terminal
       Facilities. Instrumentation and controls, hazard detection, hazard control, and
       security components/systems necessary for the safe introduction of such fluids
       shall be installed and functional.

 12.   CP2 LNG must receive written authorization from the Director of OEP, or the
       Director’s designee, before placing into service the Terminal Facilities. Such
       authorization will only be granted following a determination that the facilities
       have been constructed in accordance with FERC approval, can be expected to
       operate safely as designed, and the rehabilitation and restoration of areas affected
       by the project are proceeding satisfactorily.

 13.   CP Express must receive written authorization from the Director of OEP, or the
       Director’s designee, before placing the Pipeline System into service. Such
       authorization will only be granted following a determination that rehabilitation and
       restoration of the right-of-way and other areas affected by the project are
       proceeding satisfactorily.

 14.   Within 30 days of placing the authorized facilities in service, CP2 LNG and CP
       Express shall file an affirmative statement with the Secretary, certified by a senior
       company official:

       a.     that the facilities have been constructed in compliance with all applicable
              conditions, and that continuing activities will be consistent with all
              applicable conditions; or
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       b.     identifying which of the conditions in the Order CP2 LNG and CP Express
              has complied with or will comply with. This statement shall also identify
              any areas affected by the project where compliance measures were not
              properly implemented, if not previously identified in filed status reports,
              and the reason for noncompliance.

 15.   All conditions attached to the water quality certification issued by the Railroad
       Commission of Texas and/or the Louisiana Department of Environmental Quality
       constitute mandatory conditions of the Order. Prior to construction activities,
       CP2 LNG and CP Express shall file, for review and written approval of the
       Director of OEP, or the Director’s designee, any revisions to its project design
       necessary to comply with the water quality certification conditions.

 16.   Prior to construction, CP Express shall file with the Secretary, for review and
       written approval by the Director of OEP, or the Director’s designee:

       a.     the Interstate 10, Energy Corridor, and Houston River horizontal directional
              drills (HDD) alignment plan and profile that incorporates site-specific
              geotechnical information; and

       b.     for each proposed HDD, a description of any subsurface conditions that
              were identified during geotechnical investigations that may increase the
              risk of HDD complications (e.g., loss of drilling fluids; drill transition
              between overburden/bedrock, drill hole collapse, existing groundwater
              and/or soil contamination) as well as the measures that CP Express would
              implement to minimize these risks.

 17.   Prior to construction, CP2 LNG shall file with the Secretary, for review and
       written approval by the Director of the OEP, or the Director’s designee, for the six
       proposed Calcasieu Pass HDDs:

       a.     an HDD monitoring, inadvertent return response, and contingency plan
              which describes drilling fluid composition and management, monitoring
              procedures during drilling operations, and response procedures for an
              inadvertent return of drilling fluid to the ground surface;

       b.     an alignment plan and profile that incorporates site-specific geotechnical
              information; and

       c.     a description of any subsurface conditions that were identified during
              geotechnical investigations that may increase the risk of HDD
              complications (e.g., loss of drilling fluids; drill transition between
              overburden/bedrock, drill hole collapse, existing groundwater and/or soil
              contamination) as well as the measures that CP2 LNG would implement to
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                minimize these risks.

 18.   Prior to construction, CP2 LNG shall provide a plan for review and written
       approval by the Director of the OEP, or the Director’s designee, to maintain an
       intake velocity of less than 0.5 feet per second at the hydrostatic test water intake
       structure screen.

 19.   Prior to construction, CP2 LNG shall consult with the National Marine Fisheries
       Service Marine Mammal Branch to confirm that an Incidental Take Authorization
       is not required for the project. CP2 LNG shall file the documentation of the
       consultation with the Secretary.

 20.   CP2 LNG and CP Express shall not begin construction of the project until they
       file with the Secretary a copy of the determination of consistency with the Coastal
       Zone Management Plan issued by the Louisiana Department of Natural
       Resource/Office of Coastal Management.

 21.   CP Express shall not begin construction of the facilities and/or use of staging,
       storage, or temporary workspace areas and new or to-be improved access roads
       until:

       a.       CP Express files with the Secretary:

              i.      any remaining cultural resources survey report(s);

             ii.      site evaluation report(s) and avoidance/treatment plan(s), as
                      required; and

            iii.      comments on the cultural resources reports and plans from the Texas
                      and Louisiana State Historic Preservation Officers and/or any
                      interested Indian tribes.

       b.       the Advisory Council on Historic Preservation is afforded the opportunity
                to comment if historic properties would be adversely affected; and

       c.       the FERC staff reviews and the Director of OEP, or the Director’s designee,
                approves the cultural resources reports and plans, and notifies CP Express
                in writing that treatment plans/mitigation measures (including
                archaeological data recovery) may be implemented and/or construction may
                proceed.

       All material filed with the Commission containing location, character, and
       ownership information about cultural resources much as the cover and any
       relevant pages therein clearly labeled in bold lettering: “CUI/PRIV – DO NOT
       RELEASE.”
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 23.   Prior to construction, CP2 LNG shall file a nighttime noise mitigation plan with
       the Secretary, for review and written approval by the Director of OEP, or the
       Director’s designee, that includes the measures it will implement to reduce the
       projected nighttime (7:00 p.m. to 7:00 a.m.) construction noise levels to at or
       below 48.6 A-weighted decibel (dBA) equivalent sound level (Leq) at noise
       sensitive areas (NSA)/noise evaluation locations (NEL), and how it will monitor
       the noise levels during construction activities.

 24.   Prior to construction, CP2 LNG shall file a pile driving noise mitigation plan
       with the Secretary, for review and written approval by the Director of OEP, or the
       Director’s designee, that includes the measures it will implement to reduce the
       projected maximum sound level (Lmax) pile driving noise levels to at or below
       70 dBA Lmax at NSAs/NELs, and how it will monitor the noise levels during pile
       driving activities. The mitigation plan shall include mitigation measures, such as
       temporary barriers or shrouds.

 25.   During construction activities at the Terminal Facilities between 7:00 p.m.
       and 7:00 a.m., CP2 LNG shall monitor noise levels, document the noise levels in
       the construction status reports, and restrict the noise attributable to construction
       activities to no more than 55 dBA day-night sound level (Ldn) (48.6 dBA Leq) at
       any nearby NSAs.

 26.   CP2 LNG shall file with the Secretary, a full power load noise survey for the
       Terminal no later than 60 days after each phase of liquefaction blocks are placed
       into service. If the noise attributable to operation of the equipment at the Terminal
       exceeds an Ldn of 55 dBA at any nearby NSA, within 60 days CP2 LNG shall
       modify operation of the liquefaction facilities or install additional noise controls
       until a noise level below an Ldn of 55 dBA at the NSA is achieved. CP2 LNG
       shall confirm compliance with the above requirement by filing a second noise
       survey with the Secretary no later than 60 days after it installs the additional
       noise controls.

 27.   CP2 LNG shall file a noise survey with the Secretary, no later than 60 days after
       placing the entire Terminal into service. If a full load condition noise survey is not
       possible, CP2 LNG shall provide an interim survey at the maximum possible
       horsepower load within 60 days of placing the Terminal into service and provide
       the full load survey within 6 months. If the noise attributable to operation of the
       equipment at the Terminal exceeds an Ldn of 55 dBA at any nearby NSA under
       interim or full horsepower load conditions, CP2 LNG shall file a report on what
       changes are needed and shall install the additional noise controls to meet the level
       within 1 year of the in-service date. CP2 LNG shall confirm compliance with the
       above requirement by filing an additional noise survey with the Secretary no later
       than 60 days after it installs the additional noise controls.
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 28.   CP Express shall file a noise survey for the Moss Lake Compressor Station with
       the Secretary no later than 60 days after placing the station into service. If a full
       power load conditions are not possible, CP Express shall file an interim survey at
       the maximum possible horsepower load within 60 days of placing the station into
       service and file the full load survey within 6 months. If the noise attributable to
       operation of the equipment at the Moss Lake Compressor Station exceeds an Ldn
       of 55 dBA at any nearby NSA under interim or full horsepower load conditions,
       CP Express shall file a report on what changes are needed and shall install the
       additional noise controls to meet the level within 1 year of the in-service date.
       CP Express shall confirm compliance with the above requirement by filing an
       additional noise survey with the Secretary no later than 60 days after it installs
       the additional noise controls.

 29.   CP Express shall file a noise survey for the TETCO & Boardwalk Interconnect
       and Florida Gas Meter Stations with the Secretary no later than 60 days after
       placing the stations into service. If full power load conditions are not possible, CP
       Express shall file an interim survey at the maximum possible horsepower load
       within 60 days of placing the station into service and file the full load survey
       within 6 months. If the noise attributable to operation of the equipment at the
       meter stations exceeds an Ldn of 55 dBA at any nearby NSAs under interim or full
       horsepower load conditions, CP Express shall file a report on what changes are
       needed and shall install the additional noise controls to meet the level within 1
       year of the in-service date. CP Express shall confirm compliance with the above
       requirement by filing an additional noise survey with the Secretary no later than
       60 days after it installs the additional noise controls.

 30.   Prior to initial site preparation, CP2 LNG shall file with the Secretary the
       following information, stamped and sealed by the professional engineer-of-record,
       registered in the State of Louisiana:

       a.     the erosion control and prevention plan for the dock area; and

       b.     the finalized foundation design criteria for the project; and the associated
              quality assurance and quality control procedures.

 31.   Prior to initial site preparation, CP2 LNG shall file with the Secretary the
       finalized pile load test program (e.g., pile load test procedure, locations,
       configuration, quality assurance, and quality control, etc.), which shall comply
       with American Society for Testing and Materials (ASTM) D1143, ASTM 3689,
       ASTM 3966, or approved equivalent. The filing shall be stamped and sealed by
       the professional engineer-of-record, registered in the State of Louisiana.

 32.   Prior to initial site preparation, CP2 LNG shall file with the Secretary the
       finalized wind design basis for the project facility, which shall include the tornado
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       loads determination and consideration for the design loads combination cases as
       required by American Society of Civil Engineers (ASCE)/Structural Engineering
       Institute (SEI) (2022).

 33.   Prior to construction of final design, CP2 LNG shall file with the Secretary the
       following information, stamped and sealed by the professional engineer-of-record,
       registered in the State of Louisiana:

       a.    the corrosion control and prevention plan for any underground piping,
             structure, foundations, equipment, and components;

       b.    the finalized site settlement analysis for the project site, which shall include
             total settlement, differential settlement, subsidence, sea level rise, potential
             soil liquefaction;

       c.    the total and differential settlement of final designed structures, systems,
             and components foundations for the project site;

       d.    the finalized settlement monitoring program and procedures for the project
             site; and

       e.    the total and differential settlement monitoring system of liquified natural
             gas (LNG) storage tank foundation design shall comply with applicable
             LNG industrial code/standards, including but not limited to American
             Petroleum Institute (API) 620 (12th edition), API 625 (1st edition), API
             650 (13th edition), API 653 (5th edition), and American Concrete Institute
             (ACI) 376 (2011 edition) or approved equivalents.

 34.   Prior to construction of final design, CP2 LNG shall file with the Secretary the
       following information, stamped and sealed by the professional engineer-of-record,
       registered in the State of Louisiana:

       a.    site preparation drawings and specifications;

       b.    finalized civil and structural design basis, criteria, specifications;

       c.    LNG terminal structures, LNG storage tank, and foundation design
             drawings and calculations (including prefabricated and field constructed
             structures);

       d.    seismic design specifications for procured Seismic Category I equipment;

       e.    quality control procedures to be used for civil/structural design and
             construction; and
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       f.    a determination of whether soil improvement is necessary to counteract soil
             liquefaction.

       In addition, CP2 LNG shall file, in its Implementation Plan, the schedule for
       producing this information.

 35.   Prior to construction of the final design, CP2 LNG shall file with the Secretary
       the finalized projectile/missile impact analysis to demonstrate that the outer
       concrete container wall of the full containment LNG storage tank could withstand
       projectile/missile impact. The analysis shall detail the projectile/missile speeds
       and characteristics and methods used to determine penetration resistance and
       perforation depths. The finalized projectile/missile impact analysis shall be
       stamped and sealed by the professional engineer-of-record, registered in the State
       of Louisiana.

 36.   Prior to construction of final design, CP2 LNG shall file with the Secretary a
       final design basis of the structure, system, and components in consideration of
       flood loads, erosion and scour and hydrostatic loads; and final maintenance
       program of inspection of hydrographic survey of the submerged slope conducted
       with enough frequency to detect any erosion in the areas vulnerable to bow
       thrusters and propellers. The filing shall be stamped and sealed by the
       professional engineer-of-record, registered in the State of Louisiana.

       Information pertaining to the following specific conditions, shall be filed with
       the Secretary for review and written approval by the Director of OEP, or the
       Director’s designee, within the timeframe indicated by each condition.
       Specific engineering, vulnerability, or detailed design information meeting the
       criteria specified in Order No. 833 (Docket No. RM16-15-000), including
       security information, shall be submitted as critical energy infrastructure
       information pursuant to 18 CFR §388.113. See Critical Electric
       Infrastructure Security and Amending Critical Energy Infrastructure
       Information, Order No. 833, 81 Fed. Reg. 93,732 (December 21, 2016), FERC
       Stats. & Regs. 31,389 (2016). Information pertaining to items such as offsite
       emergency response, procedures for public notification and evacuation, and
       construction and operating reporting requirements will be subject to public
       disclosure. All information shall be filed a minimum of 30 days before
       approval to proceed is requested.

 37.   Prior to initial site preparation, CP2 LNG shall file the finalized geotechnical
       investigation report that includes the performance of boreholes and cone
       penetration test (CPT) soundings on the route from LNG storage tank area to dock
       area; the performance of the boreholes and CPT soundings for each LNG storage
       tank foundation area in accordance with the provisions of ACI 376 (2011 edition)
       or approved equivalent; and details on the number, location, and depth of
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       boreholes and CPT soundings. The finalized geotechnical investigation report
       shall be stamped and sealed by the professional engineer-of-record, registered in
       the State of Louisiana.

 38.   Prior to initial site preparation, CP2 LNG shall file the finalized civil plot plan
       with slopes and elevation contour lines for the project site. The finalized civil plot
       plan shall demonstrate that the CP2 LNG site would not be flooded during mean
       higher high water (MHHW) after accounting for sea level rise and subsidence
       using intermediate values over 30 years. The MHHW shall be based upon tidal
       datum from station 8768094 recorded by National Oceanic and Atmospheric
       Administration or approved equivalent. The sea level rise and vertical land
       movement shall be in accordance with a minimum intermediate curve
       corresponding to the design life of the facility in Global and Regional Sea Level
       Rise Scenarios for the United States, U.S. Department of Commerce, National
       Ocean and Atmospheric Administration, National Ocean Service Center for
       Operational Oceanographic Products and Services, February 2022 or approved
       equivalent.

 39.   Prior to initial site preparation, CP2 LNG shall file the final design of
       floodwalls (storm surge protection barriers) to comply with applicable
       code/standards requirements including but not limited to National Fire Protection
       Association (NFPA) 59A (2019 edition) as incorporated by 33 CFR 127, and
       NFPA 59A (2001 edition) in 49 CFR 193. In addition, the floodwalls shall be
       designed and maintained in accordance with ASCE/SEI 7 (2022 edition) or
       approved equivalent and ASCE/SEI 24 (2014 edition) or approved equivalent to
       withstand a minimum of a 500-year mean occurrence interval in consideration of
       relative sea level rise, local subsidence, site settlement, shoreline recession,
       erosion and scour effect, and wind-driven wave effects. The sea level rise and
       vertical land movement shall be in accordance with a minimum intermediate curve
       corresponding to the design life of the facility in Global and Regional Sea Level
       Rise Scenarios for the United States, U.S. Department of Commerce, National
       Ocean and Atmospheric Administration, National Ocean Service Center for
       Operational Oceanographic Products and Services, February 2022 or approved
       equivalent.

 40.   Prior to construction of final design, CP2 LNG shall file the settlement
       monitoring and maintenance plan, which ensures the storm surge floodwalls to be
       no less than a minimum elevation of 500-year mean recurrence interval flood
       event; and facilities are protected for the life of the LNG terminal considering
       settlement, subsidence, and sea level rise.

 41.   Prior to initial site preparation, CP2 LNG shall file an overall project schedule,
       which includes the proposed stages of initial site preparation, construction,
       commissioning, and in-service plan relative to notice to proceed requests and
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       related conditions.

 42.   Prior to initial site preparation, CP2 LNG shall file procedures for controlling
       access during construction.

 43.   Prior to initial site preparation, CP2 LNG shall file quality assurance and
       quality control procedures for construction activities, including initial equipment
       laydown receipt and preservation.

 44.   Prior to initial site preparation, CP2 LNG shall file its design wind speed
       criteria for all other facilities not covered by Pipeline and Hazardous Materials
       Safety Administration’s Letter of Determination to be designed to withstand wind
       speeds commensurate with the risk and reliability associated with the facilities in
       accordance with ASCE/SEI 7 (2022) or approved equivalent.

 45.   Prior to initial site preparation, CP2 LNG shall develop an Emergency
       Response Plan (including evacuation and any sheltering and re-entry) and
       coordinate procedures with the U.S. Coast Guard; state, county, and local
       emergency planning groups; fire departments; state and local law enforcement;
       and other appropriate federal agencies. This plan shall be consistent with
       recommended and good engineering practices, as defined in NFPA 1600, NFPA
       1616, NPFA 1620, NFPA 470, NFPA 475, or approved equivalents and based on
       potential impacts and onsets of hazards from accidental and intentional events
       along the LNG marine vessel route and potential impacts and onset of hazards
       from accidental and intentional events at the LNG terminal, including but not
       limited to a catastrophic failure of the largest LNG tank. This plan shall address
       any special considerations and pre-incident planning for infrastructure and public
       with access and functional needs and shall include at a minimum:

       a.     materials and plans for periodic dissemination of public education and
              training materials for evacuation and/or shelter in place of the public within
              any transient hazard areas along the LNG marine vessel route and within
              LNG terminal hazard areas;

       b.     plans to competently train emergency responders required to effectively and
              safely respond to hazardous material incidents including, but not limited to,
              LNG fires and dispersion;

       c.     plans to competently train emergency responders to effectively and safely
              evacuate or shelter public within transient hazard areas along the LNG
              marine vessel route and within hazard areas from LNG terminal;

       d.     designated contacts with federal, state and local emergency response
              agencies responsible for emergency management and response within any
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             transient hazard areas along the LNG marine vessel route and within hazard
             areas from the LNG terminal;

       e.    scalable procedures for the prompt notification of appropriate local officials
             and emergency response agencies based on the level and severity of
             potential incidents;

       f.    scalable procedures for mobilizing response and establishing a unified
             command, including identification, location, and design of any emergency
             operations centers and emergency response equipment required to
             effectively and safely respond to hazardous material incidents and evacuate
             or shelter public within transient hazard areas along the LNG marine vessel
             route and within LNG terminal hazard areas;

       g.    scalable procedures for notifying public, including identification, location,
             design, and use of any permanent sirens or other warning devices required
             to effectively communicate and warn the public prior to onset of
             debilitating hazards within any transient hazard areas along the LNG
             marine vessel route and within hazard areas from the LNG terminal;

       h.    scalable procedures for evacuating the public, including identification,
             location, design, and use of evacuation routes/methods and any mustering
             locations required to effectively and safely evacuate the public within any
             transient hazard areas along the LNG marine transit route and within hazard
             areas from the LNG terminal; and

       i.    scalable procedures for sheltering the public, including identification,
             location, design, and use of any shelters demonstrated to be needed and
             demonstrated to effectively and safely shelter the public prior to onset of
             debilitating hazards within transient hazard areas that may better benefit
             from sheltering in place (i.e., those within Zones of Concern 1 and 2), along
             the route of the LNG marine vessel and within hazard areas of the LNG
             terminal that may benefit from sheltering in place (i.e., those within areas
             of 1,600 British thermal units per square foot per hour [BTU/ft2-hr] and
             10,000 BTU/ft2-hr radiant heats from fires with the farthest impacts,
             including from a catastrophic failure of the largest LNG tank).

       CP2 LNG shall notify the FERC staff of all planning meetings in advance and
       shall report progress on the development of its ERP at 3‑month intervals. CP2
       LNG shall file public versions of offsite emergency response procedures for public
       notification, evacuation, and shelter in place.

 46.   Prior to initial site preparation, CP2 LNG shall file a Cost-Sharing Plan
       identifying the mechanisms for funding all project-specific security/emergency
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       management costs that would be imposed on state and local agencies. This
       comprehensive plan shall include funding mechanisms for the capital costs
       associated with any necessary security/emergency management equipment and
       personnel base. This plan shall include sustained funding of any requirement or
       resource gap analysis identified to effectively and safely evacuate and shelter the
       public and to effectively and safely respond to hazardous material incidents
       consistent with recommended and good engineering practices. CP2 LNG shall
       notify FERC staff of all planning meetings in advance and shall report progress on
       the development of its Cost Sharing Plan at 3-month intervals.

 47.   Prior to initial site preparation, CP2 LNG shall file calculations demonstrating
       the loads on buried pipelines and utilities at temporary road crossings would be
       adequately distributed. The analysis shall be based on API Recommended
       Practices (RP) 1102 or other approved methodology.

 48.   Prior to initial site preparation, CP2 LNG shall file pipeline and utility damage
       prevention procedures for personnel and contractors. The procedures shall include
       provisions to mark buried pipelines and utilities prior to any site work and
       subsurface activities.

 49.   Prior to construction of final design, CP2 LNG shall file change logs that list
       and explain any changes made from the front-end-engineering-design (FEED)
       provided in CP2 LNG’s application and filings. A list of all changes with an
       explanation for the design alteration shall be provided, and all changes shall be
       clearly indicated on all diagrams and drawings.

 50.   Prior to construction of final design, CP2 LNG shall file information/revisions
       pertaining to CP2 LNG’s response numbers 37, 50, 60, 75b, 175, 176 of its June
       10, 2022 filing; numbers 35, 86, 195, 197 of its July 7, 2022 filing; numbers 55,
       59, 184, 191, 206 of its July 19, 2022 filing; number 15 of its August 2, 2022
       filing; numbers 196, 205 of its August 4, 2022 filing; number 87 of its September
       14, 2022 filing; numbers 13, 18 and 24 of its October 28, 2022 filing; number 22
       of its November 3, 2022 filing; number 6 of its November 28, 2022 filing; number
       11 of its May 19, 2023 filing; and numbers 1, 6, 7, 8, 9, 10 of its May 26, 2023
       filing, which indicated features to be included or considered in the final design.

 51.   Prior to construction of final design, CP2 LNG shall file drawings and
       specifications for crash rated vehicle barriers in accordance with ASTM F2656
       (2015) or approved equivalent at each facility entrance for access control. The
       crash rating vehicle type shall be supported by a security vulnerability assessment
       that takes into account the potential target attractiveness, threats, vulnerabilities,
       consequences, and mitigation effectiveness consistent with American Institute of
       Chemical Engineers, Guidelines for Analyzing and Managing the Security
       Vulnerabilities of Fixed Chemical Sites, or equivalent. The crash rating speed
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       shall be supported by an analysis of the maximum attainable vehicle velocity
       based on vehicle type acceleration and road characteristics (e.g., straight length,
       radius of curvature, sloped/banked, coefficient of friction, etc.).

 52.   Prior to construction of final design, CP2 LNG shall file drawings of vehicle
       protections internal to the plant, such as guard rails, barriers, and bollards to
       protect transfer piping, pumps, compressors, hydrants, and monitors to ensure that
       the facilities would be protected from inadvertent damage from vehicles, unless
       the facilities are located sufficiently away from in-plant roadways and areas
       accessed by vehicle.

 53.   Prior to construction of final design, CP2 LNG shall file drawings of the
       security fence. The fencing drawings shall provide details of fencing that
       demonstrate it is in accordance with National Fire Protection Association (NFPA)
       59A (2019 edition) and would restrict and deter access around the entire facility
       and have a setback from exterior features (e.g., power lines, trees, etc.) and from
       interior features (e.g., piping, equipment, buildings, etc.) by at least 10 feet and
       that would not allow the fence to be overcome.

 54.   Prior to construction of final design, CP2 LNG shall file security camera and
       intrusion detection drawings. The security camera drawings shall show the
       locations, mounting elevation, areas covered, and features of each camera (e.g.,
       fixed, tilt/pan/zoom, motion detection alerts, low light, etc.) and shall provide
       camera coverage at access points and along the entire perimeter of the terminal
       with redundancies and camera coverage of the interior of the terminal to enable
       rapid monitoring of the terminal, including a camera at the top of each LNG
       storage tank, and coverage within pretreatment areas, within liquefaction areas,
       within truck transfer areas, within marine transfer areas, and within buildings.
       Drawings shall also show or note the location and type of the intrusion detection
       and shall cover the entire perimeter of the facility.

 55.   Prior to construction of final design, CP2 LNG shall file photometric analyses
       or equivalent and associated lighting drawings. The lighting drawings shall show
       the location, elevation, type of light fixture, and lux levels of the lighting system
       and shall depict illumination coverage along the perimeter of the terminal, process
       equipment, mooring points, and along paths/roads of access and egress to facilitate
       security monitoring and emergency response operations in accordance with federal
       regulations (e.g., 49 CFR 193, 29 CFR 1910, and 29 CFR 1926) and API 540 or
       approved equivalent.

 56.   Prior to construction of final design, CP2 LNG shall file a plan to implement the
       security risk analysis countermeasure recommendations and provide justification
       for any that would not be implemented as recommended.
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 57.   Prior to construction of final design, CP2 LNG shall file a plot plan of the final
       design showing all major equipment, structures, buildings, and impoundment
       systems.

 58.   Prior to construction of the final design, CP2 LNG shall file an evaluation of the
       final design that quantitatively confirms the congestion levels used in overpressure
       modeling, considering the volume blockage ratios with all of the equipment,
       structural components, and piping included. In addition, CP2 LNG shall file
       details for mitigation of overpressures onto the emergency diesel generators and
       any other significant components, unless final overpressure calculations
       demonstrate this is not necessary.

 59.   Prior to construction of final design, CP2 LNG shall file three-dimensional plant
       drawings to confirm plant layout for maintenance, access, egress, and the extent
       and density of congested areas used in overpressure modeling.

 60.   Prior to construction of final design, CP2 LNG shall file up-to-date process flow
       diagrams (PFDs), heat and material balances (HMBs), and piping and instrument
       diagrams (P&IDs) including vendor P&IDs. The HMBs shall demonstrate a peak
       export rate of 28 million metric tonnes per annum. The P&IDs shall include the
       following information:

       a.     equipment tag number, name, size, duty, capacity, and design conditions;

       b.     equipment insulation type and thickness;

       c.     storage tank pipe penetration size and nozzle schedule;

       d.     valve high pressure side and internal and external vent locations;

       e.     piping with line number, piping class specification, size, and insulation type
              and thickness;

       f.     piping specification breaks and insulation limits;

       g.     all control and manual valves numbered;

       h.     relief valves with size and set points; and

       i.     drawing revision number and date.

 61.   Prior to construction of final design, CP2 LNG shall file P&IDs, specifications,
       and procedures that clearly show and specify the tie-in details required to safely
       connect subsequently constructed facilities with the operational facilities.

 62.   Prior to construction of final design, CP2 LNG shall file a car seal and lock
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       philosophy and car seal and lock program, including a list of all car-sealed and
       locked valves consistent with the P&IDs. The car seal and lock program shall
       include monitoring and periodically reviewing correct car seal and lock placement
       and valve position.

 63.   Prior to construction of final design, CP2 LNG shall file information to verify
       how the EPC contractor has addressed all FEED hazard identification (HAZID)
       study recommendations.

 64.   Prior to construction of final design, CP2 LNG shall file a hazard and
       operability review of the final design P&IDs, a list of the resulting
       recommendations, and actions taken on the recommendations. The issued for
       construction P&IDs shall incorporate the hazard and operability review
       recommendations and justification shall be provided for any recommendations that
       are not implemented.

 65.   Prior to construction of final design, CP2 LNG shall file information to
       demonstrate adherence to NFPA 59A (2019) Chapter 10 or approved equivalent,
       and, or including, the following information for the final design of the LNG
       transfer pipe-in-pipe systems:

       a.    the detailed design, materials of construction, and a plot plan layout of the
             pipe-in-pipe system, including identification of all conventional process
             lines extending from or attached to the pipe-in-pipe, as well as the locations
             of any reliefs, instrumentation or other connections along the inner or outer
             pipes;

       b.    an assessment of the vapor production and vapor handling capacities within
             the annular space during a full inner pipe rupture or smaller release into the
             outer pipe;

       c.    stress analysis (thermal, mechanical, seismic, etc.) for the pipe-in-pipe
             systems, including the differential stresses between the inner pipe and outer
             pipe for a full inner pipe rupture, or any smaller release, at any location
             along the system;

       d.    an evaluation demonstrating that pressure surge events will not exceed the
             design pressures;

       e.    leak testing details, including pressures, for the outer pipe, consistent with
             American Society of Mechanical Engineers (ASME) B31.3;

       f.    details of the maintenance procedures that will be followed over the life of
             the facility to determine that the outer pipe will be continuing to adequately
             serve as spill containment;
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       g.    procedures for purging or draining LNG from the outer pipe;

       h.    details of loading and any external features that will protect against external
             common cause failures of the inner and outer pipes, including resulting
             stresses during horizontal directional drilling and fabrication processes;

       i.    drawings and calculations for the sizing and configuration of any pressure
             relief for the annular space of the pipe-in-pipe and for the inner pipe in case
             of isolation while containing LNG; and

       j.    plans to detect and monitor the LNG transfer line for leak monitoring.

 66.   Prior to construction of final design, CP2 LNG shall provide a check valve
       upstream of the acid gas removal column to prevent backflow or provide a
       dynamic simulation that shows that upon plant shutdown, the vertical piping
       segment would be sufficient for this purpose.

 67.   Prior to construction of final design, CP2 LNG shall include LNG tank fill flow
       measurement with high flow alarm.

 68.   Prior to construction of final design, CP2 LNG shall specify the discretionary
       vent valve be operable through the Distributed Control System (DCS). In
       addition, car sealed open manual block valves shall be provided upstream and
       downstream of the discretionary vent valve. CP2 LNG shall also specify a
       discretionary vent valve on each LNG storage tank to safely vent pressure when
       the tank is isolated from the common boil-off gas (BOG) system.

 69.   Prior to construction of final design, CP2 LNG shall file the safe operating
       limits (upper and lower), alarm and shutdown set points for all instrumentation
       (e.g., temperatures, pressures, flows, and compositions).

 70.   Prior to construction of final design, CP2 LNG shall file cause-and-effect
       matrices for the process instrumentation, fire and gas detection system, and
       emergency shutdown system. The cause-and-effect matrices shall include alarms
       and shutdown functions, details of the voting and shutdown logic, and set points.

 71.   Prior to construction of final design, CP2 LNG shall specify that all emergency
       shutdown (ESD) valves are to be equipped with open and closed position switches
       connected to the DCS/safety instrument system (SIS).

 72.   Prior to construction of final design, CP2 LNG shall file an up-to-date
       equipment list, process and mechanical data sheets, and specifications. The
       specifications shall include:

       a.    building specifications (e.g., control buildings, electrical buildings,
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              compressor buildings, storage buildings, pressurized buildings, ventilated
              buildings, blast resistant buildings);

       b.     mechanical specifications (e.g., piping, valve, insulation, rotating
              equipment, heat exchanger, storage tank and vessel, other specialized
              equipment);

       c.     electrical and instrumentation specifications (e.g., power system, control
              system, SIS, cable, other electrical and instrumentation); and

       d.     security and fire safety specifications (e.g., security, passive protection,
              hazard detection, hazard control, firewater).

 73.   Prior to construction of final design, CP2 LNG shall file a list of all codes and
       standards and the final specification document number where they are referenced.

 74.   Prior to construction of final design, CP2 LNG shall file complete specifications
       and drawings of the proposed LNG tank design and installation.

 75.   Prior to construction of final design, CP2 LNG shall file an evaluation of
       emergency shutdown valve closure times. The evaluation shall account for the
       time to detect an upset or hazardous condition, notify plant personnel, and close
       the emergency shutdown valve(s).

 76.   Prior to construction of final design, CP2 LNG shall file an evaluation of
       dynamic pressure surge effects from valve opening and closure times and pump
       operations that demonstrate that the surge effects do not exceed the design
       pressures.

 77.   Prior to construction of final design, CP2 LNG shall file a pipe stress analysis
       for critical or potential higher consequence lines that evaluates all loads in
       ASME B31.3 (2016 edition and after), including but not limited to consideration
       of hazardous fluid lines that are cryogenic, high temperature, subject to slug flow,
       and that include 2-phase flow. CP2 LNG shall also demonstrate, for hazardous
       fluids, piping and piping nipples 2 inches or less in diameter are designed to
       withstand external loads, including vibrational loads in the vicinity of rotating
       equipment and operator live loads in areas accessible by operators.

 78.   Prior to construction of final design, CP2 LNG shall clearly specify the
       responsibilities of the LNG tank contractor and the Engineering Procurement and
       Construction (EPC) contractor for the piping associated with the LNG storage
       tank.

 79.   Prior to construction of final design, CP2 LNG shall file the sizing basis and
       capacity for the final design of the flares and/or vent stacks as well as the pressure
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       and vacuum relief valves for major process equipment, vessels, and storage tanks.

 80.   Prior to construction of final design, CP2 LNG shall specify that the common,
       non-spared process vessels are installed with spare pressure relief valves to ensure
       overpressure protection during relief valve testing or maintenance.

 81.   Prior to construction of final design, CP2 LNG shall file an updated fire
       protection evaluation of the proposed facilities. A copy of the evaluation, a list of
       recommendations and supporting justifications, and actions taken on the
       recommendations shall be filed. The evaluation shall justify the type, quantity,
       and location of hazard detection and hazard control, passive fire protection,
       emergency shutdown and depressurizing systems, firewater, and emergency
       response equipment, training, and qualifications in accordance with NFPA 59A
       (2001). The justification for the flammable and combustible gas detection and
       flame and heat detection systems shall be in accordance with International Society
       of Automation (ISA) 84.00.07 or approved equivalent methodologies and would
       need to demonstrate 90 % or more of releases (unignited and ignited) that could
       result in an off-site or cascading impact would be detected by two or more
       detectors and result in isolation and de-inventory within 10 minutes. The analysis
       shall take into account the set points, voting logic, wind speeds, and wind
       directions. The justification for firewater shall provide calculations for all
       firewater demands based on design densities, surface area, and throw distance as
       well as specifications for the corresponding hydrant and monitors needed to reach
       and cool equipment.

 82.   Prior to construction of final design, CP2 LNG shall file spill containment
       system drawings with dimensions and slopes of curbing, trenches, impoundments,
       tertiary containment and capacity calculations considering any foundations and
       equipment within impoundments, as well as the sizing and design of the down-
       comers. The spill containment drawings shall show containment for all hazardous
       fluids including all liquids handled above their flashpoint, from the largest flow
       from a single line for 10 minutes, including de-inventory, or the maximum liquid
       from the largest vessel (or total of impounded vessels) or otherwise demonstrate
       that providing spill containment would not significantly reduce the flammable
       vapor dispersion or radiant heat consequences of a spill. Any elevated stainless
       steel that would convey spills of cold liquefied gases shall be demonstrated
       suitable to handle the thermal shock combined with any applicable jetting forces
       of a pressurized release.

 83.   Prior to construction of final design, CP2 LNG shall file an analysis that
       demonstrates the flammable vapor dispersion from design spills will be prevented
       from dispersing underneath the elevated jetty control room, or the control room
       will be able to withstand an overpressure due to ignition of the flammable vapor
       that disperses underneath the elevated jetty control room.
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 84.   Prior to construction of final design, CP2 LNG shall file electrical area
       classification drawings, including cross sectional drawings. The drawings shall
       demonstrate compliance with NFPA 59A, NFPA 70, NFPA 497, and API RP 500,
       or approved equivalents. In addition, the drawings shall include revisions to the
       electrical area classification design or provide technical justification that supports
       the electrical area classification using most applicable API RP 500 figures (i.e.,
       figures 20 and 21) or hazard modeling of various release rates from equivalent
       hole sizes and wind speeds (see NFPA 497 release rate of 1 lb-mole/minute).

 85.   Prior to construction of final design, CP2 LNG shall file analysis of the
       buildings containing hazardous fluids and the ventilation calculations that limit
       concentrations below the lower flammable limits (LFL) (e.g., 25% LFL),
       including an analysis of off gassing of hydrogen in battery rooms, and shall also
       provide hydrogen detectors that alarm (e.g., 20 to 25% LFL) and initiate
       mitigative actions (e.g., 40 to 50% LFL) or alarms in the event the ventilation is
       not functioning as designed, in accordance with NFPA 59A and NFPA 70, or
       approved equivalents.

 86.   Prior to construction of final design, CP2 LNG shall file drawings and details of
       how process seals or isolations installed at the interface between a flammable fluid
       system and an electrical conduit or wiring system meet the requirements of
       NFPA 59A (2001) and NFPA 70 (1999 or 2020, as applicable).

 87.   Prior to construction of final design, CP2 LNG shall file details of an air gap or
       vent installed downstream of process seals or isolations installed at the interface
       between a flammable fluid system and an electrical conduit or wiring system.
       Each air gap shall vent to a safe location and be equipped with a leak detection
       device that shall continuously monitor for the presence of a flammable fluid, alarm
       the hazardous condition, and shut down the appropriate systems. Alternatively,
       CP2 LNG shall file details on a system providing an approved equivalent
       protection, in accordance with NFPA 59A (2023 edition), from the migration of
       flammable fluid through the electrical conduit or wiring.

 88.   Prior to construction of final design, CP2 LNG shall file complete drawings and
       a list of the hazard detection equipment. The drawings shall clearly show the
       location and elevation of all detection equipment as well as their coverage area.
       The list shall include the instrument tag number, type, manufacturer, model,
       location, alarm indication locations, and shutdown functions of the hazard
       detection equipment.

 89.   Prior to construction of final design, CP2 LNG shall file a technical review of
       facility design that:

       a.     identifies all combustion/ventilation air intake equipment; and
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       b.     demonstrates that these areas are adequately covered by flammable gas
              detection devices and applicable toxic gas detection devices, and indicates
              how these devices would isolate or shutdown any combustion or ventilation
              air intake equipment whose continued operation could add to or sustain an
              emergency.

 90.   Prior to construction of final design, CP2 LNG shall file a design that includes
       hazard detection suitable to detect high temperatures and smoldering combustion
       products in electrical buildings and control room buildings.

 91.   Prior to construction of final design, CP2 LNG shall file an evaluation of the
       voting logic and voting degradation for hazard detectors.

 92.   Prior to construction of final design, CP2 LNG shall file a list of alarm and
       shutdown set points for all hazard detectors that account for the calibration gas of
       the hazard detectors when determining the lower flammable limit set points for
       methane, ethylene, propane, isopentane, and condensate.

 93.   Prior to construction of final design, CP2 LNG shall file a list of alarm and
       shutdown set points for all hazard detectors that account for the calibration gas of
       hazard detectors when determining the set points for toxic components such as
       condensate and hydrogen sulfide.

 94.   Prior to construction of final design, CP2 LNG shall file a drawing showing the
       location of the emergency shutdown buttons, including but not limited to the
       refrigerant storage, LNG storage areas and area/unit emergency isolation and
       equipment shutdown. Emergency shutdown buttons shall be easily accessible,
       conspicuously labeled, and located in an area which would be accessible during an
       emergency.

 95.   Prior to construction of final design, CP2 LNG shall file facility plan drawings
       and a list of the fixed and wheeled dry-chemical, hand-held fire extinguishers, and
       other hazard control equipment. Plan drawings shall clearly show the location by
       tag number of all fixed, wheeled, and hand-held extinguishers and shall
       demonstrate the spacing of extinguishers meet prescribed NFPA 10 travel
       distances. The list shall include the equipment tag number, type, manufacturer
       and model, capacity, equipment covered, discharge rate, and automatic and
       manual remote signals initiating discharge of the units and shall demonstrate they
       meet NFPA 59A.

 96.   Prior to construction of final design, CP2 LNG shall file drawings and
       specifications for the structural passive protection systems to protect equipment
       and supports from low temperature releases below minimum design metal
       temperatures.
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 97.    Prior to construction of final design, CP2 LNG shall file calculations or test
        results for the structural passive protection systems to protect equipment and
        supports from low temperature releases below minimum design metal
        temperatures.

 98.    Prior to construction of final design, CP2 LNG shall file drawings and
        specifications for the structural passive protection systems to protect equipment
        and supports from pool fires and from jet fires of design spills that may exacerbate
        the initial hazard, as well as for electrical and control equipment that activate
        emergency systems to protect this equipment from a minimum 20-minute
        Underwrites Laboratories Inc. (UL) 1709 fire exposure.

 99.    Prior to construction of final design, CP2 LNG shall file a detailed quantitative
        analysis to demonstrate that adequate mitigation would be provided for each
        pressure vessel that could fail within the 4,000 BTU/ft2-hr zone from pool or jet
        fires; each critical structural component (including the LNG marine vessel) and
        emergency equipment item that could fail within the 4,900 BTU/ft2-hr zone from a
        pool or jet fire; and each occupied building that could expose unprotected
        personnel within the 1,600 BTU/ft2-hr zone from a pool or jet fire. Trucks at truck
        transfer stations shall be included in the analysis of potential pressure vessel
        failures, as well as measures needed to prevent cascading impact due to the 10-
        minute sizing spill at the marine area. A combination of passive and active
        protection for pool fires and passive and/or active protection for jet fires shall be
        provided and demonstrate the effectiveness and reliability. Effectiveness of
        passive mitigation shall be supported by calculations or test results for the
        thickness limiting temperature rise over the fire duration, and active mitigation
        shall be supported by reliability information by calculations or test results, such as
        demonstrating flow rates and durations of any cooling water would mitigate the
        heat absorbed by the component. The total firewater demand shall account for all
        components that could fail due to a pool or jet fire.

 100.   Prior to construction of final design, CP2 LNG shall file an evaluation and
        associated specifications, drawings, and datasheets for transformers and
        transformer fluid demonstrating prevention of cascading damage of transformers
        (e.g., fire walls or spacing) in accordance with NFPA 850 or approved equivalent.

 101.   Prior to construction of final design, CP2 LNG shall provide additional
        information on final design for any blast walls, hardened structures, and blast
        resistant design, including supporting hazard analysis and building risk assessment
        studies, in order to prevent cascading damage.

 102.   Prior to construction of final design, CP2 LNG shall file facility plan drawings
        showing the proposed location of the firewater systems. Plan drawings shall
        clearly show the location of firewater piping, post indicator and sectional valves,
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        and the location and area covered by each monitor, hydrant, hose, water curtain,
        deluge system, water-mist system, and sprinkler. The drawings shall demonstrate
        that each process area, fire zone, or other sections of piping with several users can
        be isolated with post indicator or sectional valves in accordance with NFPA 24
        (2013 or thereafter) or approved equivalent, and that firewater coverage is
        provided by at least two monitors or hydrants with sufficient firewater flow to cool
        exposed surfaces subjected to a fire. The drawings shall also include piping and
        instrumentation diagrams of the firewater systems. Drawings of the sprinkler
        system design shall show coverage in applicable buildings per NFPA 850 and in
        applicable closed roofed buildings around the site, per NFPA 13.

 103.   Prior to construction of final design, CP2 LNG shall specify that the firewater
        pump shelter is designed to remove the largest firewater pump or other component
        for maintenance with an overhead or external crane.

 104.   Prior to construction of final design, CP2 LNG shall demonstrate that the
        firewater storage tank is in compliance with NFPA 22 or approved equivalent.

 105.   Prior to construction of final design, CP2 LNG shall specify that the firewater
        flow test meter is equipped with a transmitter and that a pressure transmitter is
        installed upstream of the flow transmitter. The flow transmitter and pressure
        transmitter shall be connected to the DCS and recorded.

 106.   Prior to construction of the final design, CP2 shall file the finalized seismic
        monitoring program for the project site. The seismic monitoring program shall
        comply with NFPA 59A (2019 edition) sections 8.4.14.10, 8.4.14.12, 8.4.14.12.1,
        8.4.14.12.2, and 8.4.14.13; ACI 376 (2011 edition) sections 10.7.5 and 10.8.4;
        U.S. Nuclear Regulatory Commission Regulatory Guide Regulatory Guide (RG)
        1.12 (Revision 3) sections 1 and 3 through 9 and all subsections, or approved
        equivalents. A free-field seismic monitoring device shall be included in the
        seismic monitoring program for the project site. The seismic monitoring program
        information must include installation location plot plan; description of the triaxial
        strong motion recorders or other seismic instrumentation; the proposed alarm set
        points and operating procedures (including emergency operating procedures) for
        control room operators in response to such alarms/data obtained from seismic
        instrumentation; and testing and maintenance procedures.

 107.   Prior to construction of final design, CP2 LNG shall file drawings of the storage
        tank piping support structure and support of horizontal piping at grade including
        pump columns, relief valves, pipe penetrations, instrumentation, and
        appurtenances.

 108.   Prior to construction of final design, CP2 LNG shall file the structural analysis
        of the LNG storage tank and outer containment demonstrating they are designed to
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        withstand all loads and combinations.

 109.   Prior to construction of final design, CP2 LNG shall file an analysis of the
        structural integrity of the outer containment of the full containment LNG storage
        tank demonstrating it can withstand the radiant heat from an adjacent external
        pipeline fire or from an adjacent tank roof fire modeled using LNGFIRE3 or a
        similarly approved and validated pool fire model with application of uncertainty
        factors commensurate with its validation results including consideration of
        extrapolation. If the LNG storage tank walls will not be designed to withstand the
        predicted radiant heat for the maximum duration, CP2 LNG shall demonstrate
        firewater coverage, or other mitigation that can be remotely or automatically
        activated or manually activated from a safe accessible distance based on
        appropriate Personal Protective Equipment ratings, for the LNG storage tank walls
        in addition to any other firewater coverage needs.

 110.   Prior to construction of final design, CP2 LNG shall file an analysis of the
        structural integrity of the outer containment of the full containment LNG storage
        tank demonstrating it can withstand the thermal shock caused by a failure of the
        inner tank, including specification of the leakage rate.

 111.   Prior to construction of final design, CP2 LNG shall file the final wheel load
        evaluations for underground hazardous fluid lines, including feed gas lines within
        the plant, in accordance with API RP 1102 or approved equivalent, and address
        any recommendations.

 112.   Prior to commissioning, CP2 LNG shall file a detailed schedule for
        commissioning through equipment startup. The schedule shall include milestones
        for all procedures and tests to be completed: prior to introduction of hazardous
        fluids and during commissioning and startup. CP2 LNG shall file documentation
        certifying that each of these milestones has been completed before authorization to
        commence the next phase of commissioning and startup will be issued.

 113.   Prior to commissioning, CP2 LNG shall file detailed plans and procedures for:
        testing the integrity of onsite mechanical installation; functional tests; introduction
        of hazardous fluids; operational tests; and placing the equipment into service.

 114.   Prior to commissioning, CP2 LNG shall file settlement results during the
        hydrostatic tests of the LNG storage containers and shall file a plan to periodically
        thereafter to verify settlement is as expected and does not exceed the applicable
        criteria set forth in API 620 (12th edition), API 625 (1st edition), API 650 (13th
        edition), API 653 (5th edition), and ACI 376 (2011 edition) or approved
        equivalents. The program shall also specify what actions would be taken after
        various levels of seismic events.
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 115.   Prior to commissioning, CP2 LNG shall file the operation and maintenance
        procedures and manuals, as well as safety procedures, hot work procedures and
        permits, abnormal operating conditions procedures, simultaneous operations
        procedures, and management of change procedures and forms. The operational
        maintenance and testing procedures for fire protection components shall be in
        accordance with the current versions of the applicable standards listed in
        NPFA 59A (2019) or equivalent.

 116.   Prior to commissioning, CP2 LNG shall file a plan for clean-out, dry-out,
        purging, and tightness testing. This plan shall address the requirements of the
        American Gas Association’s Purging Principles and Practice, and shall provide
        justification if not using an inert or non-flammable gas for clean-out, dry-out,
        purging, and tightness testing.

 117.   Prior to commissioning, CP2 LNG shall tag all equipment, instrumentation, and
        valves in the field, including drain valves, vent valves, main valves, and car-sealed
        or locked valves.

 118.   Prior to commissioning, CP2 LNG shall file a plan to maintain a detailed training
        log to demonstrate that operating, maintenance, and emergency response staff
        have completed the required training. In addition, CP2 LNG shall file signed
        documentation that demonstrates training has been conducted, including ESD and
        response procedures, prior to the respective operation.

 119.   Prior to commissioning, CP2 LNG shall file the procedures for pressure/leak
        tests which address the requirements of ASME Boiler and Pressure Vessel Code
        (BPVC) Section VIII and ASME B31.3. In addition, CP2 LNG shall file a line list
        of pneumatic and hydrostatic test pressures.

 120.   Prior to introduction of hazardous fluids, CP2 LNG shall complete and
        document a pre-startup safety review to ensure that installed equipment meets the
        design and operating intent of the facility. The pre-startup safety review shall
        include any changes since the last hazard review, operating procedures, and
        operator training. A copy of the review with a list of recommendations, and
        actions taken on each recommendation, shall be filed.

 121.   Prior to introduction of hazardous fluids, CP2 LNG shall complete and
        document all pertinent tests (Factory Acceptance Tests, Site Acceptance Tests,
        Site Integration Tests) associated with the DCS and SIS that demonstrates full
        functionality and operability of the system.

 122.   Prior to introduction of hazardous fluids, CP2 LNG shall develop and
        implement an alarm management program consistent with ISA 18.2 (2016 edition)
        or approved equivalent to reduce alarm complacency and maximize the
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        effectiveness of operator response to alarms.

 123.   Prior to introduction of hazardous fluids, CP2 LNG shall complete and
        document clean agent acceptance tests.

 124.   Prior to introduction of hazardous fluids, CP2 LNG shall complete and
        document a firewater pump acceptance test and firewater monitor and hydrant
        coverage test. The actual coverage area from each monitor and hydrant shall be
        shown on facility plot plan(s).

 125.   Prior to introduction of hazardous fluids, CP2 LNG shall complete and
        document sprinkler system acceptance tests.

 126.   CP2 LNG shall file a request for written authorization from the Director of OEP
        prior to unloading or loading the first LNG commissioning cargo. After
        production of first LNG, CP2 LNG shall file weekly reports on the commissioning
        of the proposed systems that detail the progress toward demonstrating the facilities
        can safely and reliably operate at or near the design production rate. The reports
        shall include a summary of activities, problems encountered, and remedial actions
        taken. The weekly reports shall also include the latest commissioning schedule,
        including projected and actual LNG production by each liquefaction train, LNG
        storage inventories in each storage tank, and the number of anticipated and actual
        LNG commissioning cargoes, along with the associated volumes loaded or
        unloaded. Further, the weekly reports shall include a status and list of all planned
        and completed safety and reliability tests, work authorizations, and punch list
        items. Problems of significant magnitude shall be reported to the FERC within 24
        hours.

 127.   Prior to commencement of service, CP2 LNG shall file a request for written
        authorization from the Director of OEP. Such authorization would only be
        granted following a determination by the U.S. Coast Guard, under its authorities
        under the Ports and Waterways Safety Act, the Magnuson Act, the MTSA of 2002,
        and the Security and Accountability For Every Port Act, that appropriate measures
        to ensure the safety and security of the facility and the waterway have been put
        into place by CP2 LNG or other appropriate parties.

 128.   Prior to commencement of service, CP2 LNG shall notify the FERC staff of any
        proposed revisions to the security plan and physical security of the plant.

 129.   Prior to commencement of service, CP2 LNG shall label piping with fluid
        service and direction of flow in the field consistent with ASME A13.1 (2020
        edition) or approved equivalent, in addition to the pipe labeling requirements of
        NFPA 59A (2001).
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 130.   Prior to commencement of service, CP2 LNG shall provide plans for any
        preventative and predictive maintenance program that performs periodic or
        continuous equipment condition monitoring.

 131.   Prior to commencement of service, CP2 LNG shall develop procedures for
        offsite contractors’ responsibilities, restrictions, monitoring, training, and
        limitations and for supervision of these contractors and their tasks by CP2 LNG
        staff. Specifically, the procedures shall address:

        a.    selecting a contractor, including obtaining and evaluating information
              regarding the contract employer's safety performance and programs;

        b.    informing contractors of the known potential hazards, including flammable
              and toxic release, explosion, and fire, related to the contractor's work and
              systems they are working on;

        c.    developing and implementing provisions to control and monitor the
              entrance, presence, and exit of contract employers and contract employees
              from process areas, buildings, and the plant;

        d.    developing and implementing safe work practices for control of personnel
              safety hazards, including lockout/tagout, confined space entry, work
              permits, hot work, and opening process equipment or piping;

        e.    developing and implementing safe work practices for control of process
              safety hazards, including identification of layers of protection in systems
              being worked on, recognizing abnormal conditions on systems they are
              working on, and re-instatement of layers of protection, including ensuring
              bypass, isolation valve, and car-seal programs and procedures are being
              followed;

        f.    developing and implementing provisions to ensure contractors are trained
              on the emergency action plans and that they are accounted for in the event
              of an emergency; and

        g.    monitoring and periodically evaluating the performance of contract
              employers in fulfilling their obligations above, including successful and
              safe completion of work and re-instatement of all layers of protection.

 In addition, we recommend that the following measures shall apply throughout the
 life of the CP2 LNG project.

 132.   The facility shall be subject to regular FERC staff technical reviews and site
        inspections on at least an annual basis or more frequently as circumstances
        indicate. Prior to each FERC staff technical review and site inspection, CP2 LNG
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        shall respond to a specific data request including information relating to possible
        design and operating conditions that may have been imposed by other agencies or
        organizations. Up-to-date detailed P&IDs reflecting facility modifications and
        provision of other pertinent information not included in the semi-annual reports
        described below, including facility events that have taken place since the
        previously submitted semi-annual report, shall be submitted.

 133.   Semi-annual operational reports shall be filed with the Secretary to identify
        changes in facility design and operating conditions; abnormal operating
        experiences; activities (e.g., ship arrivals, quantity and composition of imported
        and exported LNG, liquefied and vaporized quantities, boil off/flash gas); and
        plant modifications, including future plans and progress thereof. Abnormalities
        shall include, but not be limited to, unloading/loading/shipping problems, potential
        hazardous conditions from offsite vessels, storage tank stratification or rollover,
        geysering, storage tank pressure excursions, cold spots on the storage tank, storage
        tank vibrations and/or vibrations in associated cryogenic piping, storage tank
        settlement, significant equipment or instrumentation malfunctions or failures, non-
        scheduled maintenance or repair (and reasons therefore), relative movement of
        storage tank inner vessels, hazardous fluids releases, fires involving hazardous
        fluids and/or from other sources, negative pressure (vacuum) within a storage
        tank, and higher than predicted boil off rates. Adverse weather conditions and the
        effect on the facility also shall be reported. Reports shall be submitted within 45
        days after each period ending June 30 and December 31. In addition to the
        above items, a section entitled “Significant Plant Modifications Proposed for the
        Next 12 Months (dates)” shall be included in the semi-annual operational reports.
        Such information would provide the FERC staff with early notice of anticipated
        future construction/maintenance at the LNG facilities.

 134.   In the event the temperature of any region of the LNG storage container, including
        any secondary containment and imbedded pipe supports, becomes less than the
        minimum specified operating temperature for the material, the Commission shall
        be notified within 24 hours and procedures for corrective action shall be
        specified.

 135.   Significant non-scheduled events, including safety-related incidents (e.g., LNG,
        condensate, refrigerant, or natural gas releases; fires; explosions; mechanical
        failures; unusual over pressurization; and major injuries) and security-related
        incidents (e.g., attempts to enter site, suspicious activities) shall be reported to the
        FERC staff. In the event that an abnormality is of significant magnitude to
        threaten public or employee safety, cause significant property damage, or interrupt
        service, notification shall be made immediately, without unduly interfering with
        any necessary or appropriate emergency repair, alarm, or other emergency
        procedure. In all instances, notification shall be made to the FERC staff within 24
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       hours. This notification practice shall be incorporated into the liquefaction
       facility’s emergency plan. Examples of reportable hazardous fluids-related
       incidents include:

       a.     fire;

       b.     explosion;

       c.     estimated property damage of $50,000 or more;

       d.     death or personal injury necessitating in-patient hospitalization;

       e.     release of hazardous fluids for 5 minutes or more;

       f.     unintended movement or abnormal loading by environmental causes, such
              as an earthquake, landslide, or flood, that impairs the serviceability,
              structural integrity, or reliability of an LNG facility that contains, controls,
              or processes hazardous fluids;

       g.     any crack or other material defect that impairs the structural integrity or
              reliability of an LNG facility that contains, controls, or processes hazardous
              fluids;

       h.     any malfunction or operating error that causes the pressure of a pipeline or
              LNG facility that contains or processes hazardous fluids to rise above its
              maximum allowable operating pressure (or working pressure for LNG
              facilities) plus the build-up allowed for operation of pressure-limiting or
              control devices;

       i.     a leak in an LNG facility that contains or processes hazardous fluids that
              constitutes an emergency;

       j.     inner tank leakage, ineffective insulation, or frost heave that impairs the
              structural integrity of an LNG storage tank;

       k.     any safety-related condition that could lead to an imminent hazard and
              cause (either directly or indirectly by remedial action of the operator), for
              purposes other than abandonment, a 20 % reduction in operating pressure
              or shutdown of operation of a pipeline or an LNG facility that contains or
              processes hazardous fluids;

       l.     safety-related incidents from hazardous fluids transportation occurring at or
              en route to and from the LNG facility; or

       m.     an event that is significant in the judgment of the operator and/or
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             management even though it did not meet the above criteria or the guidelines
             set forth in an LNG facility’s incident management plan.

       In the event of an incident, the Director of OEP has delegated authority to take
       whatever steps are necessary to ensure operational reliability and to protect human
       life, health, property, or the environment, including authority to direct the LNG
       facility to cease operations. Following the initial company notification, the FERC
       staff would determine the need for a separate follow-up report or follow up in the
       upcoming semi-annual operational report. All company follow-up reports shall
       include investigation results and recommendations to minimize a reoccurrence of
       the incident.
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                          UNITED STATES OF AMERICA
                   FEDERAL ENERGY REGULATORY COMMISSION

 Venture Global CP2 LNG, LLC                                   Docket Nos. CP22-21-000
 Venture Global CP Express, LLC                                            CP22-22-000


                                      (Issued June 27, 2024)

 CLEMENTS, Commissioner, dissenting:

        I dissent from today’s Order1 because it contravenes sections 3 and 7 of the
 Natural Gas Act (NGA),2 the National Environmental Policy Act (NEPA),3 and the
 Administrative Procedure Act (APA).4 The Order’s conclusions that the CP2 LNG
 Project is not inconsistent with the public interest5 and that the CP Express Pipeline
 Project is required by the public convenience and necessity6 cannot be sustained for
 several reasons.7 First, the Order fails to meaningfully assess these Projects’ enormous

       1
           Venture Global CP2 LNG, LLC, 187 FERC ¶ 61,199 (2024) (Order).
       2
           15 U.S.C. §§ 717b, 717f.
       3
           42 U.S.C. § 4321 et seq.
       4
           5 U.S.C. § 551 et seq.
       5
          Order, 187 FERC ¶ 61,199 at PP 32, 199. I agree with commenters that the
 bifurcation of authority between the Commission and the Department of Energy (DOE)
 with respect to authorizations under section 3 of the Natural Gas Act leaves us no clear
 standard for making our public interest determination. See, e.g., Better Bayou et al.
 March 13, 2023 Comments on Draft Environmental Impact Statement (DEIS) at 1-3;
 NRDC March 13, 2023 Comments on DEIS at 2-3; Niskanen Center March 13, 2023
 Comments on DEIS at 7-9. We have no record on the economic or other benefits from
 LNG exports and therefore cannot weigh them against the adverse impacts from
 construction and operation of the CP2 LNG Project. I reiterate my call for Congressional
 clarification of how the Commission is to make its public interest determination. See
 Commonwealth LNG, LLC, 181 FERC ¶ 61,143 (2022) (Clements, Comm’r, concurring
 at P 5). However, in this case, the CP2 LNG Project’s adverse environmental and
 socioeconomic impacts are so great that I am compelled to find that approving the project
 is inconsistent with the public interest.
       6
           Order, 187 FERC ¶ 61,199 at P 200.
       7
           The CP2 LNG Project and CP Express Pipeline Project are collectively referred
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 greenhouse gas (GHG) emissions and does not explain whether or how the Commission
 factored them into its public interest determinations.8 Second, the Commission’s analysis
 of cumulative air pollutant emissions is deficient, both procedurally and substantively.
 The public has had no access to critical new air impacts modeling information, which
 should have been addressed in a supplemental environmental impact statement (SEIS)
 with full opportunity for public review and comment. Third, the Order improperly
 discounts impacts to commercial fishing businesses, which will likely be significant.
 Finally, the Commission failed to adequately consider how the full range of adverse
 project impacts will affect Environmental Justice (EJ) communities.

                        Failure to Assess and Consider GHG Impacts

         At the outset, it is helpful to summarize the Commission’s legal obligations under
 the NGA, NEPA, and the APA with respect to the consideration of a proposed project’s
 GHG emissions. A number of cases have recognized that the Commission must consider
 the impacts of GHG emissions in its public interest determinations under the NGA.9
 Those cases are consistent with the many precedents holding that environmental impacts
 are relevant to the Commission’s public interest determinations under the statute.10

 to below as the Projects.
        8
            Order, 187 FERC ¶ 61,199 at PP 178-80.
        9
          See Vecinos Para el Bienstar de la Comunidad Costera v. FERC, 6 F.4th 1321,
 1329, 1331 (D.C. Cir. 2021) (Vecinos) (finding the Commission’s analysis of climate
 change impacts deficient under both the NGA and NEPA and directing the Commission
 to revisit its public interest determination after correcting deficiencies); see also Del.
 Riverkeeper Network v. FERC, 45 F.4th 104, 109, 115 (D.C. Cir. 2022) (finding “the
 Commission’s NGA section 7 balancing of public benefits and adverse consequences
 reasonably accounted for potential environmental impacts” and noting that in some
 circumstances “[g]reenhouse gas emissions are a reasonably foreseeable effect of a
 pipeline project” that must be studied under NEPA); Food & Water Watch v. FERC, 28
 F.4th 277, 282 (D.C. Cir. 2022) (recognizing the NGA section 7 certificate process
 incorporates environmental review under NEPA, which includes analysis of downstream
 GHG emissions); Birckhead v. FERC, 925 F.3d 510, 518-19 (D.C. Cir. 2019) (affirming
 previous holdings that the Commission is the “legally relevant cause of the direct and
 indirect environmental effects of pipelines it approves,” including reasonably foreseeable
 GHG emissions (cleaned up)); Sierra Club v. FERC, 867 F.3d 1357, 1373 (D.C. Cir.
 2017) (addressing Commission’s treatment of GHG emissions and explaining that the
 Commission’s public convenience and necessity determination must weigh a project’s
 environmental effects).
        10
          See, e.g., Ctr. for Biological Diversity v. FERC, 67 F.4th 1176, 1188 (D.C. Cir.
 2023) (holding that the Commission makes an appropriate NGA public interest
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 Indeed, more than sixty years ago, the Supreme Court held that our predecessor, the
 Federal Power Commission, properly factored air pollution impacts into its public interest
 determination under section 7.11 In NAACP, the Supreme Court held that environmental
 protection is one purpose of the NGA.12

         NEPA also requires the Commission to consider climate and other environmental
 impacts in deciding whether to approve a project application. As the Supreme Court has
 explained, NEPA’s EIS requirement “ensures that the agency, in reaching its decision,
 will have available, and will carefully consider, detailed information concerning
 significant environmental impacts . . .”13 The Commission’s obligations under the NGA
 and NEPA are intertwined. NEPA directs federal agencies “to the fullest extent possible”
 to interpret and administer their organic statutes in accordance with the environmental
 protection objectives set forth in NEPA.14 In requiring the Commission to consider
 environmental impacts in its substantive decision-making, NEPA gives content to the
 NGA’s broad “public interest” standard.15



 determination when it finds that a project has “substantial economic and commercial
 benefits” that are “not outweighed by the projected environmental impacts”); Sierra Club
 v. FERC, 827 F.3d 36, 42 (D.C. Cir. 2016) (“As required by the Natural Gas Act and
 NEPA, the Commission undertook an extensive review of the Freeport Projects.”); City
 of Oberlin v. FERC, 937 F.3d 599, 602 (D.C. Cir. 2019) (holding that “[a]s part of the
 Section 7 certificating process . . . the Commission must complete an environmental
 review of the proposed project under the National Environmental Policy Act” (emphasis
 added)); Minisink Residents for Env’t Pres. & Safety v. FERC, 762 F.3d 97, 106–11
 (D.C. Cir. 2014) (stating that FERC is obligated to consider alternatives to a proposed
 project that might better serve the public interest, including on the basis of their
 environmental impact, when issuing a certificate under section 7).
       11
            Fed. Power Comm’n v. Transcon. Gas Pipe Line Corp., 365 U.S. 1, 5 (1961).
       12
            NAACP v. Fed. Power Comm’n, 425 U.S. 662, 670 n.6 (1976).
       13
         Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 349 (1989)
 (Methow Valley) (emphasis added).
       14
         42 U.S.C. § 4332; see also 42 U.S.C. § 4331 (setting forth NEPA’s
 environmental protection objectives).
       15
          Cf. Vill. of Barrington v. Surface Transp. Bd., 636 F.3d 650, 665-66 (D.C. Cir.
 2011) (upholding agency’s interpretation of “public interest” in its organic statute to
 include environmental considerations given NEPA’s language and goals).
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        Of course, the Commission must do more than consider GHG impacts in its
 decision-making. The APA requires the Commission to provide a reasoned explanation
 of how it factored the GHG impacts into its substantive decision.16

         Today’s order meets none of these statutory obligations. The Order does not and
 cannot meaningfully explain how the Commission factored the Projects’ GHG emissions
 into its decision, as the APA required it to do, because the Commission failed its duties
 under NEPA and the NGA to assess and weigh the impacts of those emissions.17

        The Commission’s legal errors begin with its deficient NEPA analysis. NEPA
 regulations and case law require the Commission to assess GHG-related environmental
 impacts. The Council on Environmental Quality’s (CEQ) regulations state that an EIS
 must discuss “[t]he environmental impacts of the proposed action and reasonable
 alternatives to the proposed action and the significance of those impacts.”18 The D.C.
 Circuit Court of Appeals recently held that the regulation does not require the
 Commission to label GHG emissions as significant or insignificant.19 However, NEPA
 nevertheless requires more than a mere recitation of general facts about climate change
 and quantification of emissions; the statute requires evaluation and analysis of




        16
          See, e.g., SEC v. Chenery Corp., 318 U.S. 80, 94 (1943) (“[T]he orderly
 functioning of the process of review requires that the grounds upon which the
 administrative agency acted be clearly disclosed and adequately sustained.”); Del.
 Riverkeeper Network v. FERC, 753 F.3d 1304, 1313 (D.C. Cir. 2014) (“[A]n agency
 action will be set aside as arbitrary and capricious if it is not the product of ‘reasoned
 decisionmaking.’” (quoting Motor Vehicle Mfrs. Ass’n of the U.S., Inc. v. State Farm
 Mut. Auto. Ins. Co., 463 U.S. 29, 52 (1983) (State Farm))).
        17
          In Vecinos, the D.C. Circuit Court of Appeals found the Commission must
 reconsider its NGA public interest determinations because they rested on a deficient EIS.
 See Vecinos, 6 F.4th at 1331.
        18
           40 C.F.R. § 1502.16(a)(1) (2024); see also Sierra Club v. FERC, 867 F.3d 1357,
 1374 (D.C. Cir. 2017) (Sabal Trail) (recognizing CEQ regulations requires an EIS to
 discuss the significance of environmental impacts). The Commission’s regulations
 implementing NEPA provide that the Commission will comply with CEQ’s regulations
 under the statute. 18 C.F.R. § 380.1 (2024).
        19
          See Food and Water Watch v. FERC, No. 22-1214, 2024 WL 2983833, at *6
 (D.C. Cir. 2024) (East 300).
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 environmental impacts.20 Both the EIS for the Projects21 and today’s Order22 violate
 NEPA and CEQ’s regulations by failing to assess the nature and severity of
 environmental impacts that project-related GHG emissions will cause.

         Beyond failing its duties under NEPA, the Commission has not met its APA
 obligations because it nowhere explains whether or how the information on GHG
 emissions factored into its decision. For example, the Order compares project emissions
 to national and state emissions inventories and emission reduction goals but says nothing
 about how, if at all, the Commission assessed this information in deciding to authorize
 the Projects.23 The public—and a reviewing court—are left to guess what connection
 there might be between the information the EIS and Order provide on GHG emissions
 and the Commission’s public interest determinations under the NGA. In failing to
 articulate that connection, the Commission violated fundamental APA requirements.24

         The Commission cannot excuse its non-compliance by claiming, as it does here,
 that there are no “accepted tools or methods for the Commission to use to determine
 significance” of the impacts of GHG emissions.25 That statement contradicts the

        20
           See, e.g., 40 C.F.R. § 1502.1 (2024) (“Statements shall be concise, clear, and to
 the point, and shall be supported by evidence that the agency has made the necessary
 environmental analyses.”) (emphasis added); Reed v. Salazar, 744 F. Supp. 2d 98, 100
 (D.D.C. 2009) (“NEPA ‘requires that agencies assess the environmental consequences of
 federal projects by following certain procedures during the decision-making process.’”)
 (emphasis added) (quoting City of Alexandria v. Slater, 198 F.3d 862, 866 (D.C. Cir.
 1999))); 40 C.F.R. § 1502.15 (2024) (“The environmental impact statement may combine
 the description with evaluation of the environmental consequences.”) (emphasis added).
 The court in East 300 did not consider these requirements.
        21
             Final EIS at 4-557 to 4-561.
        22
             Order, 187 FERC ¶ 61,199 at PP 178-80.
        23
             See id. at PP 171-73.
        24
          See State Farm, 463 U.S. at 43 (“[T]he agency must examine the relevant data
 and articulate a satisfactory explanation for its action including a ‘rational connection
 between the facts found and the choice made.’” (emphasis added) (quoting Burlington
 Truck Lines, Inc. v. United States, 371 U.S. 156, 168 (1962))).
        25
           Order, 187 FERC ¶ 61,199 at P 180. In addition to the reasons explained in the
 text of my dissent, I dissent from paragraphs 179-80 of the Order because they (1) reflect
 a final Commission decision that it cannot determine the significance of GHG emissions,
 despite the fact the Commission has never responded to comments in the GHG Policy
 Statement docket (Docket No. PL21-3) addressing methods for doing so; and (2) depart
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 from previous Commission precedent without reasoned explanation, thereby violating the
 APA. In my concurrence in Transcon. Gas Pipe Line Co., 184 FERC ¶ 61,066 (2023)
 (Clements, Comm’r, concurring, at PP 2-3), I explained the history of the language,
 which the majority suddenly adopted in Driftwood Pipeline LLC, 183 FERC ¶ 61,049, at
 PP 61, 63 (2023) (Driftwood). I dissented from this language in Driftwood and every
 subsequent order in which it has appeared. See Driftwood, 183 FERC ¶ 61,049
 (Clements, Comm’r, dissenting in part at PP 2-3 & n.5); see also Gas Transmission Nw.
 LLC, 187 FERC ¶ 61,177 (2024) (Clements, Comm’r, dissenting at P 3); Tenn. Gas
 Pipeline Co., 187 FERC ¶ 61,136 (2004) (Clements, Comm’r, dissenting in part at P 2)
 Port Arthur LNG, LLC, 187 FERC ¶ 61,058 (2024) (Clements, Comm’r, dissenting in
 part at P 1); Great Basin Gas Transmission Co., 187 FERC ¶ 61,043 (2024) (Clements,
 Comm’r, dissenting in part at P 1); Fla. Gas Transmission Co., 187 FERC ¶ 61,042
 (2024) (Clements, Comm’r, dissenting in part at P 1); El Paso Nat. Gas Co., 187 FERC ¶
 61,041 (2024) (Clements, Comm’r, dissenting in part at P 1); Transcon. Gas Pipe Line
 Co., 187 FERC ¶ 61,024 (2024) (Clements, Comm’r, dissenting at P 1) (Transco); Gas
 Transmission Nw., LLC, 187 FERC ¶ 61,023 (2024) (Clements, Comm’r, dissenting at P
 28); E. Tenn. Nat. Gas, LLC, 186 FERC ¶ 61,210 (2024) (Clements, Comm’r, dissenting
 in part at PP 2-3); Transcon. Gas Pipe Line Co., 186 FERC ¶ 61,209 (2024) (Clements,
 Comm’r, dissenting in part at PP 2-3); N. Nat. Gas Co., 186 FERC ¶ 61,064 (2024)
 (Clements, Comm’r, dissenting in part at PP 2-3); Saguaro Connector Pipeline, LLC, 186
 FERC ¶ 61,114 (2024) (Clements, Comm’r, dissenting in part at PP 2-4); Tenn. Gas
 Pipeline Co., 186 FERC ¶ 61,113 (2024) (Clements, Comm’r, dissenting in part at PP 2-
 3); Transcon. Gas Pipe Line Co., 186 FERC ¶ 61,063 (2024) (Clements, Comm’r,
 dissenting in part at PP 2-3); Columbia Gas Transmission, LLC, 186 FERC ¶ 61,048
 (2024) (Clements, Comm’r, dissenting in part at PP 2-4); Transcon. Gas Pipe Line Co.,
 186 FERC ¶ 61,047 (2024) (Clements, Comm’r, dissenting at PP 8-9); Tenn. Gas
 Pipeline Co., 186 FERC ¶ 61,046 (2024) (Clements, Comm’r, dissenting in part at PP 1-
 2); ANR Pipeline Co., 185 FERC ¶ 61,191 (2023) (Clements, Comm’r, dissenting in part
 at PP 2-3); Transcon. Gas Pipe Line Co., 185 FERC ¶ 61,133 (2023) (Clements,
 Comm’r, dissenting in part at PP 2-4); Transcon. Gas Pipe Line Co., 185 FERC ¶ 61,130
 (2023) (Clements, Comm’r, dissenting in part at PP 2-3); Tex. LNG Brownsville LLC,
 185 FERC ¶ 61,079 (2023) (Clements, Comm’r, dissenting at PP 9-10); Rio Grande
 LNG, LLC, 185 FERC ¶ 61,080 (2023) (Clements, Comm’r, dissenting at PP 9-10); Gas
 Transmission Nw., LLC, 185 FERC ¶ 61,035 (2023) (Clements, Comm’r, concurring in
 part and dissenting in part at PP 7-8); WBI Energy Transmission, Inc., 185 FERC ¶
 61,036 (2023) (Clements, Comm’r, dissenting in part at PP 2-3); Venture Glob.
 Plaquemines LNG, LLC, 185 FERC ¶ 61,037 (2023) (Clements, Comm’r, dissenting in
 part at PP 2-3); Tex. E. Transmission, LP, 185 FERC ¶ 61,038 (2023) (Clements,
 Comm’r, dissenting in part at PP 2-3); Trailblazer Pipeline Co., 185 FERC ¶ 61,039
 (2023) (Clements, Comm’r, dissenting in part at PP 2-4); Equitrans, L.P., 185 FERC ¶
 61,040 (2023) (Clements, Comm’r, dissenting in part at PP 2-4); Port Arthur LNG Phase
 II, LLC, 184 FERC ¶ 61,184 (2023) (Clements, Comm’r, dissenting in part at PP 2-3);
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 Commission’s own precedent. In Northern Natural, the Commission found that it can
 determine the significance of GHG-related impacts by applying its “experience,
 judgment, and expertise,” just as it does for other types of environmental impacts.26
 Citing Supreme Court precedent, the Commission explained that the significance
 determination furthers NEPA’s purposes by “disclosing to the public and the relevant
 decisionmakers the extent of a project’s adverse environmental impacts.”27

         I agree with parties in this docket who have stated that the Commission should
 have used the SC-GHG Protocol to assess the severity of the environmental impacts
 caused by the Projects’ GHG emissions.28 In another recent dissent, I explained in detail
 that the Commission’s continued refusal to use the SC-GHG Protocol in its substantive
 decision-making (rather than simply for general “informational purposes”) rests on
 outmoded reasoning that ignores important recent policy and scientific developments.29
 All of the points I made in that dissent apply here and I incorporate them by reference.

        The Order’s treatment of GHG impacts is especially objectionable because of the
 sheer scale of the Projects’ GHG emissions. The Projects’ annual emissions equate to


 Venture Glob. Calcasieu Pass, LLC, 184 FERC ¶ 61,185 (2023) (Clements, Comm’r,
 dissenting in part at PP 2-4); N. Nat. Gas Co., 184 FERC ¶ 61,186 (2023) (Clements,
 Comm’r, dissenting in part at PP 2-3); Tex. E. Transmission, LP, 184 FERC ¶ 61,187
 (2023) (Clements, Comm’r, dissenting in part at PP 2-4); Equitrans, LP, 183 FERC ¶
 61,200 (2023) (Clements, Comm’r dissenting at PP 2-3); Commonwealth LNG, LLC, 183
 FERC ¶ 61,173 (2023) (Clements, Comm’r, dissenting at PP 5-8); Rio Grande LNG,
 LLC, 183 FERC ¶ 61,046 (2023) (Clements, Comm’r, dissenting at PP 14-15); Tex. LNG
 Brownsville LLC, 183 FERC ¶ 61,047 (2023) (Clements, Comm’r, dissenting at PP 14-
 15).
        26
             N. Nat. Gas Co., 174 FERC ¶ 61,189, at P 32 (2021) (Northern Natural).
        27
             Id. at P 31 & n.47 (citing Dep’t of Transp. v. Pub. Citizen, 541 U.S. 752, 768
 (2004)).
        28
         For a Better Bayou March 13, 2023 Comments on DEIS at 18-19; Niskanen
 Center March 13, 2023 Comments on DEIS at 39-42; NRDC March 13, 2023 Comments
 on DEIS at 10-12.
        29
          Transco, 187 FERC ¶ 61,024 (Clements, Comm’r, dissenting at PP 9-17).
 While some courts have found that the Commission is not required to use the SC-GHG
 Protocol, the parties in those cases did not raise, nor did the courts consider, the points
 made in my dissent regarding recent policy and scientific developments supporting the
 protocol’s use.
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 putting more than 1,850,000 additional gas-fueled automobiles on the road each year.30
 Under any common sense understanding of the word, the Projects’ GHG emissions
 would have to be considered far more than “significant.” Yet the EIS and the Order fail
 to provide any analysis of the Projects’ incremental or cumulative climate impacts.31 As
 explained above, NEPA requires real analysis, not rote recitation of general facts about
 climate change. Moreover, the depth of the analysis must be commensurate with the
 magnitude of the impact.32 Here, both the EIS and the Order are silent as to the degree or
 severity of the expected climate impacts33 and bereft of any analysis of climate impacts
 the Projects will cause. Consequently, the Commission simply has failed to take the
 “hard look” at climate impacts that NEPA requires.34

        In summary, without assessing the Projects’ climate impacts, the Commission
 cannot credibly claim to have considered them in its substantive decision-making, as both
 NEPA and the NGA required it to do. And it is beyond dispute that the Commission
 nowhere explains whether or how it factored the Projects’ climate impacts into its public
 interest determinations, in violation of the APA. These fundamental legal errors render
 the Order unsustainable.

   Deficiencies in the Cumulative Air Pollution Impacts Analysis Undermine the Order



        30
          The Projects are estimated to emit approximately 8,510,099 metric tons per year
 of CO2e. Order, 187 FERC ¶ 61,199 at P 165. That is equivalent to putting more than
 1,850,000 additional gas-fueled automobiles on the road. EPA, Greenhouse Gas
 Emissions from a Typical Passenger Vehicle (Aug. 28, 2023),
 https://www.epa.gov/greenvehicles/greenhouse-gas-emissions-typical-passenger-vehicle
 (“A typical passenger vehicle emits about 4.6 metric tons of CO2 per year.”).
        31
          See supra P 6 & n.20 (discussing agency obligations under NEPA to engage in
 substantive analysis of environmental impacts).
        32
          See 40 C.F.R. § 1502.2(b) (2024) (stating EISs “shall discuss impacts in
 proportion to their significance”); 40 C.F.R. § 1502.15 (2024) (“Data and analyses in a
 statement shall be commensurate with the importance of the impact . . .”).
        33
           See Methow Valley, 490 U.S. at 352 (stating that an EIS must allow “the agency
 [or] other interested groups and individuals [to] properly evaluate the severity of the
 adverse effects [of an agency action]”).
        34
           Id. at 350 (“The sweeping policy goals announced in § 101 of NEPA are thus
 realized through a set of action-forcing procedures that require that agencies take a hard
 look at environmental consequences.”) (cleaned up).
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         The Commission’s analysis of cumulative air quality impacts associated with the
 CP2 LNG Project was deficient, both procedurally and substantively, thereby
 undermining the Order’s conclusion that the project is “environmentally acceptable.”35
 CEQ regulations require that an agency publish an SEIS if “there are significant new
 circumstances or information relevant to environmental concerns and bearing on the
 proposed action or its impacts.”36 After the EIS for the Projects was published, critically
 important new information became available: EPA updated the National Ambient Air
 Quality Standard (NAAQS) for annual PM2.5 emissions. Based on the air emissions
 analysis in the EIS, cumulative PM2.5 emissions would exceed the new NAAQS.37 The
 Commission treats NAAQS exceedances as significant environmental impacts because
 the standards are designed to protect human health.38 Consequently, with publication of
 the new NAAQS, the EIS’s conclusions that PM 2.5 emissions would be insignificant
 could not be sustained. Staff therefore required Venture Global to conduct new air
 modeling. Venture Global submitted the results of additional modeling purporting to
 show the new PM2.5 NAAQS would not be exceeded. But, as Sierra Club informed the
 Commission, the modeling did not account for planned increased PM2.5 emissions39 at
 the company’s existing Calcasieu Pass LNG terminal (CP1).40 These increased emissions
 are reflected in an air permit application that Venture Global filed with the state regulator
 but failed to share with the Commission. Commission staff then requested that Venture
 Global update the modeling to reflect these increased emissions.41 This time, Venture
 Global’s response did not include mobile emissions associated with CP1, and staff

        35
             Order, 187 FERC ¶ 61,199 at P 198.
        36
             40 C.F.R. § 1502.9(d)(1)(ii) (2024).
        37
          See EIS at 4-372, table 4.12.1-22 (showing expected annual PM2.5
 concentrations at 9.4 µg/m3, exceeding the new NAAQS of 9.0 µg/m3).
        38
           See 42 U.S.C. § 7409(b)(1) (“National primary ambient air quality standards . . .
 shall be ambient air quality standards the attainment and maintenance of which . . . are
 requisite to protect the public health.”); EIS at 4-376 (“[W]e find that the Project would
 not cause or contribute to an exceedance of the NAAQS, which are established to be
 protective of human health, including sensitive populations such as children, the elderly,
 and those with compromised respiratory function, i.e. asthmatics.”).
        39
             Sierra Club April 22, 2024 Comments at 2.
        40
          On February 21, 2019, the Commission granted Venture Global authorization to
 site, construct, and operate its Calcasieu Pass LNG export terminal. Venture Global
 Calcasieu Pass, LLC, 166 FERC ¶ 61,144 (2019).
        41
             May 15, 2024 Environmental Information Request (EIR) No. 15 at 1.
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 requested a third round of modeling, which it received June 14, 2024. The data
 underlying that modeling has not been made public, so the basis for the Order’s
 conclusions on PM2.5 air pollutant impacts cannot be reviewed or verified by Sierra Club
 or other members of the public.

         The Commission should have published an SEIS presenting and analyzing the new
 PM2.5 modeling data. NEPA requires that an agency prepare an EIS where there
 “might” be “any” significant environmental impacts,42 and “the decision whether to
 prepare a supplemental EIS is similar to the decision whether to prepare an EIS in the
 first instance.”43 Since the EIS indicated that there would be significant PM2.5 air
 pollution impacts associated with the CP2 terminal, the Commission was required to
 prepare an SEIS to account for the new data.

         While the Order includes a truncated discussion of the updated modeling,44 that is
 insufficient. Failure to prepare an SEIS is more than a technical error. CEQ’s
 regulations provide that an agency “shall prepare, publish, and file a supplement to a[n
 EIS] . . . as a draft and final statement.”45 Although the regulation does not say so
 explicitly, the only purpose for publishing a draft would be for the public to comment on
 it. Consistent with the regulation, the Commission regularly provides for public
 comment on draft supplemental EISs.46 Public input ensures the Commission has a solid
 foundation for its environmental analysis and substantive decision-making. By failing to
 publish an SEIS regarding the new modeling, the Commission not only violated CEQ
 regulations but also compromised the Order itself.


       42
          Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 985 F.3d 1032, 1039
 (D.C. Cir. 2021) (quoting Grand Canyon Tr. V. FAA, 290 F.3d 339, 340 (D.C. Cir.
 2002)); see also Sierra Club v. Peterson, 717 F.2d 1409, 1415 (D.C. Cir. 1983).
       43
          Stand Up for Cal.! v. DOI, 994 F.3d 616, 628 (D.C. Cir. 2021) (quoting Marsh
 v. Or. Nat. Res. Council, 490 U.S. 360, 374 (1989)) (internal quotation marks omitted).
       44
            Order, 187 FERC ¶ 61,199 at PP 192, 194, 197.
       45
            40 C.F.R. § 1502.9(d)(3) (2024).
       46
          Consistent with the regulation, the Commission regularly provides for public
 comment on draft supplemental EIS’s. See, e.g., Magnolia LNC, LLC; Notice of
 Availability of the Draft Environmental Impact Statement for the Proposed Magnolia
 Production Capacity Amendment, 84 Fed. Reg. 52,881 (Oct. 3, 2019); Fla. Se.
 Connection, LLC; Transcon. Gas Pipe Line Co., LLC; Sabal Trail Transmission, LLC;
 Notice of Availability of the Draft Supplemental Environmental Impact Statement for the
 Se. Mkt. Pipelines Project, 82 Fed. Reg. 46,233 (Oct. 4, 2017).
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         There is a second reason for the Commission to prepare an SEIS addressing air
 pollution impacts. As Sierra Club repeatedly argued, the EIS improperly failed to
 consider mobile emissions from other LNG projects in the analysis of cumulative air
 pollution impacts.47 The Order suggests, with no explanation or citation to legal
 authority, that the Commission need not analyze the emissions from other LNG terminals
 if they are not included in the Louisiana Department of Environmental Quality Emissions
 Reporting Inventory (LDEQ Inventory). But nowhere does the Order address why the
 Commission chose to consider only the mobile emissions from the CP2 LNG Project and
 CP1, but not emissions from other Commission-authorized projects. Specifically, the
 analysis inexplicably excluded mobile emissions from the Driftwood LNG, Lake Charles
 Liquefaction, Commonwealth LNG, and Magnolia LNG projects.48 The LDEQ
 Inventory does not include the mobile emissions associated with the CP1 or CP2 LNG
 projects, yet the Commission included these emissions in its cumulative impacts
 modeling.49 As Sierra Club notes, the mobile emissions associated with all Commission-
 jurisdictional LNG facilities are clearly foreseeable as they have already been quantified
 in prior Commission EISs.50 NEPA requires that the Commission assess all reasonably
 foreseeable effects of the Projects.51 Contrary to the Order’s assertions,52 it is this
 foreseeability standard under NEPA, not the requirements for Clean Air Act permitting,

        47
        Sierra Club October 16, 2023 Comments on FEIS at 3-4; Sierra Club May 30,
 2024 Comments at 2.
        48
           Sierra Club October 16, 2023 Comments on FEIS at 3-4. Driftwood LNG, Lake
 Charles Liquefaction, Commonwealth LNG, and Magnolia LNG operations all contribute
 or will contribute to cumulative air quality impacts in the project area. EIS at 4-511 to 4-
 512.
        49
          In fact, the Commission rejected Venture Global’s air modeling as insufficient
 because it only included LDEQ Inventory sources and not CP1 mobile emissions. May
 29 EIR No. 16 at 3 (rejecting the May 15 modeling which was derived from modeling
 submitted to LDEQ because “it does not include the LNG ship and support vessel
 emissions from CP1”).
        50
             Sierra Club October 16, 2023 Comments on FEIS at 3.
        51
           See 40 C.F.R. § 1508.1(g)(3) (2024) (describing cumulative effects as “effects
 on the environment that result from the incremental effects of the action when added to
 the effects of other past, present, and reasonably foreseeable actions”); Sabal Trail, 867
 F.3d at 1371 (“Effects are reasonably foreseeable if they are ‘sufficiently likely to occur
 that a person of ordinary prudence would take [them] into account in reaching a
 decision.’”) (quoting EarthReports, Inc. v. FERC, 828 F.3d 949, 955 (D.C. Cir. 2016)).
        52
             Order, 187 FERC ¶ 61,199 at P 195.
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 that determines the required scope of the Commission’s review. The Commission’s
 inconsistent treatment of mobile emissions, along with its failure to explain that
 inconsistency, violates both NEPA and the APA.53 The Commission should rectify these
 deficiencies by publishing an SEIS that includes a cumulative impacts analysis
 incorporating all relevant mobile source emissions.

         The Order’s claim that modeling additional mobile sources would not change the
 “cause and contribute” analysis is simply unsupported.54 Factoring in additional
 emissions would likely identify new locations where the NAAQS will be exceeded, with
 the Projects deemed to cause or contribute to the exceedances.55 Without properly
 modeling all foreseeable mobile source emissions, the Commission risks failing to
 account for how the Projects might contribute to NAAQS violations and the consequent
 significant health risks. That risk is especially high in the case of these Projects, which
 are located in areas where NAAQS violations are already predicted.56

       The improper modeling of mobile source emissions highlights why the
 Commission should have made public all the modeling inputs upon which it relied.
 NEPA plays an information forcing role by requiring agencies both to assess the
 environmental impacts of their actions and to inform the public of its analysis.57 By

        53
           State Farm, 463 U.S. at 43 (“[T]he agency must examine the relevant data and
 articulate a satisfactory explanation for its action including a ‘rational connection
 between the facts found and the choice made.’” (emphasis added) (quoting Burlington
 Truck Lines, Inc. v. United States, 371 U.S. at 168)).
        54
             See Order, 187 FERC ¶ 61,199 at PP 186-88.
        55
           The record confirms that including additional emissions sources will likely
 change the cause and contribute analysis. In Appendix K of the EIS, the highest project
 contribution to any potential NAAQS exceedance location for the 1-hour NO2 standard is
 3.7 μg/m3. EIS at Appendix K. But in updated modeling reflecting greater NO2
 emissions from CP1, new NAAQS exceedances were found, including a location where
 CP2 contributed 6.36 μg/m3 to the NO2 exceedance. See CP2 LNG June 3, 2024
 Response to EIR No. 16 at 3. Thus, the Order relies on outdated information in stating
 that “the highest project contribution to any potential NAAQS exceedance location for
 the 1-hour NO2 standard is 3.7 micrograms per cubic meter.” Order, 187 FERC ¶ 61,199
 at P 187.
        56
             Order, 187 FERC ¶ 61,199 at P 186.
        57
          Baltimore Gas & Elec. Co. v. NRDC, 462 U.S. 87, 97 (1983) (“NEPA has twin
 aims. First, it places upon an agency the obligation to consider every significant aspect of
 the environmental impact of a proposed action. Second, it ensures that the agency will
 inform the public that it has indeed considered environmental concerns in its
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 explaining its reasoning and the data on which it relies, the agency enables the public to
 identify informational gaps or errors for the agency to correct.58 Sierra Club did just that
 in this case, identifying the EIS’s failure to account for sources of mobile emissions in the
 EIS’s cumulative impacts analysis, as well as the increased PM2.5 emissions reflected in
 Venture Global’s state permit application. Shielding this information from the public
 limited the public’s ability to identify additional errors in the cumulative air impacts
 modeling and how they should be corrected.59 By limiting the information made
 available to the public, the Commission limited its ability to satisfy its own legal
 obligations.60


 decisionmaking process.”) (internal citations omitted).
        58
          See Weinberger v. Catholic Action of Hawaii/Peace Educ. Project, 454 U.S.
 139, 143 (1981) (“Through the disclosure of an EIS, the public is made aware that the
 agency has taken environmental considerations into account.”); see also Methow Valley,
 490 U.S. at 349 (“Publication of an EIS . . . provides a springboard for public
 comment.”).
        59
           See Sierra Club October 16, 2023 Comments on FEIS at 5-6 (explaining Sierra
 Club’s inability to provide a complete analysis of air modeling without modeling inputs).
 The majority’s claims that modeling information was provided is incorrect. See Order,
 187 FERC ¶ 61,199 at P 189. Venture Global did not make public any of the modeling
 data supporting the results submitted on June 3, 2024. This is the modeling supporting
 the ultimate conclusions in the Order with respect to air impacts. As to the earlier
 modeling, the Order mischaracterizes what information Venture Global made public.
 The “modeling files” are not included in Venture Global’s EIR, as the page referencing
 them is blank and has no link or embedded files. See Appendix E of CP2 LNG August 1,
 2022 Supplemental Response to EIR No. 3 at 951. While the public might be able to
 request the modeling files from the Commission, the Commission’s failure to
 affirmatively notify participants in the docket that they may request the modeling files
 means that the public functionally had no access. Of course, even if the data had been
 made public, there would have been too little time before issuance of this Order for any
 real evaluation of such highly technical information.
        60
           See, e.g., Grazing Fields Farm v. Goldschmidt, 626 F.2d 1068, 1072-74 (1st Cir.
 1980) (failure to present data and analysis supporting agency’s decision in EIS
 improperly hampers public comment, “mut[ing] those most likely to identify problems
 and criticize decisions”); Trout Unlimited v. Morton, 509 F.2d 1276, 1283 (9th Cir. 1974)
 (“An EIS is in compliance with NEPA when its form, content, and preparation
 substantially . . . make available to the public, information of the proposed project's
 environmental impact and encourage public participation in the development of that
 information.”) (emphasis added).
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                    Inadequate Review of Impacts to Commercial Fishing

         NEPA requires that when “economic or social and natural or physical
 environmental effects are interrelated, the environmental impact statement shall discuss
 and give appropriate consideration to these effects on the human environment.”61 Here,
 the Commission recognized that it must assess impacts on commercial fishing interests.
 Ultimately however, the EIS did not fully consider impacts on commercial fishing and
 the people who rely on it for their livelihoods.62 The EIS found that dredging associated
 with construction of the CP2 LNG Project “would likely result in the direct mortality of
 benthic organisms, including less mobile life stages of managed species such as shrimp
 and benthic invertebrates, which are an important food source for many species of fish.”63
 The EIS found that these impacts would not be significant because the “losses would be
 short term and the benthic community is expected to rebound within a few seasons.”64
 While the EIS concludes that shrimp populations will eventually recover, it fails to
 consider how this would impact commercial fishing. Comments from FISH,65 For a
 Better Bayou, and affected individuals indicate that a single season of decreased shrimp
 catch threatens to irrevocably end shrimping business ventures in the area.66 Yet, despite
 these comments, the EIS ignores the risk that temporary impacts on fisheries might
 permanently adversely affect commercial fishing businesses. Consequently, the

       61
            40 C.F.R. § 1502.16(b).
       62
          I distinguish between the fisheries, the fish population and ecosystem in a given
 area, and businesses and individuals engaged in commercial fishing businesses, who
 make their livelihood catching fish in the fishery.
       63
            EIS at 4-206.
       64
            Id.
       65
          Fishermen Involved in Sustaining our Heritage (FISH) is a coalition of
 commercial fishermen in Southwestern Louisiana. See FISH April 18, 2024 Motion to
 Intervene at 1.
       66
           Comments of Mr. Eustis at the March 1, 2023 Public Comment Meeting, pg. 24
 at lines 19-23 (noting that with regards to shrimping impacts “discontinuity of one season
 can be the difference between -- can bankrupt the family.”); FISH June 14, 2024
 Comments at 6 (“Mr. Theriot is unsure whether his commercial fishing business will
 survive through 2024 and he is worried that he may not be able to continue to make
 payments on his home.”); Id. at Exhibit 4, Theriot Declaration (describing how Mr.
 Theriot has experienced decreased catch volume since 2022, and declaring that “[i]f my
 shrimp catch does not recover this year, I am concerned that I will be forced out of
 business.”).
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 Commission failed to take the legally required “hard look” at commercial fishing
 impacts.

         The Commission’s analysis of fishing impacts is flawed in other ways as well.
 The EIS recognizes that project construction would cause impacts to nearby fisheries due
 to marine traffic from LNG carriers.67 But the EIS is inconsistent in predicting the extent
 of the marine traffic impact commercial fishing businesses,68 likely because the
 Commission has not fully considered marine traffic impacts. The EIS suggests that
 impacts on shrimping boats are minimal because “[t]ypically, shrimp are most active at
 night when few vessels are using the Calcasieu Ship Channel.”69 But the assertion that
 few ships use the channel at night conflicts with the 2019 Port of Lake Charles Calcasieu
 Ship Channel Traffic Study (Marine Traffic Study), which the EIS relied on to assess
 expected traffic impacts.70 The Marine Traffic Study assumed that “[a]ll vessels were
 able to transit the channel at night, with no further restrictions and no preference given to
 either day or night transits.”71 Either the EIS is incorrect in its assertion that few vessels
 use the Calcasieu Ship Channel at night, and thus the impact on shrimpers is larger than
 the EIS contemplated, or the Marine Traffic Study does not paint a representative picture
 of traffic by assuming no preferences for channel transit time, in which case daytime
 fishers will face greater impacts than the EIS considered. Either way, the Commission’s
 analysis of marine traffic impacts on commercial fishing is flawed.

        In addition, the EIS ignores the features of the areas of the channel near the project
 terminal that make it a popular shrimping spot. The Order finds that there would be less
 than significant impacts on fishers who are members of EJ communities because the area
 near the terminal facilities “does not have any unique features or habitat characteristics
 that would draw recreational or commercial users to this particular location versus other

        67
          EIS at 4-270 (finding that an “increase in delays associated with LNG carrier
 transit would have a moderate, but not significant impact on commercial fishing”).
        68
           Contrast the EIS finding that the CP2 terminal in isolation would have a
 “moderate, but not significant impact on commercial fishing,” id., with later findings that
 “the Project would contribute negligibly to overall temporary and minor cumulative
 impacts on commercial fisheries in the Calcasieu Ship Channel.” Id. at 4-541. It is
 clearly inconsistent to find that the cumulative impacts of all ship traffic in the channel
 would be minor when the impacts of ship traffic from the ships servicing CP2 alone
 would be moderate.
        69
             EIS at 4-270.
        70
             EIS at 4-295; EIS at 4-543 to 4-544.
        71
             Marine Traffic Study at 20.
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 locations within the Calcasieu Ship Channel.”72 But the ship channel, particularly the
 narrow area of the channel at the firing line,73 is a special habitat. The ship channel at the
 firing line represents an especially popular shrimping location in part because it acts as a
 unique geographic bottleneck where shrimp migrate.74 While the proposed LNG terminal
 is south of the firing line and so will not directly impact traffic in this unique location, the
 EIS fails to consider how “[t]he moving security zone around LNG carriers [which] has
 the potential to close the channel to traffic” would impact access to the area around the
 firing line.75

        In short, there are significant contradictions and omissions in the Commission’s
 analysis of project impacts on commercial fishing businesses. These errors in the
 Commission’s environmental analysis join the others in rendering the Order
 unsustainable.

              Inadequate Consideration of Totality of Impacts on EJ Communities

        Although the EIS and Order purport to consider the Projects’ cumulative impacts
 on EJ communities, neither fully considered the interrelationship of the multiple adverse
 impacts the Projects would have on these communities. The EIS found that “the addition
 of the Terminal Facilities at this location would represent a significant impact on the
 viewshed of boaters, beachgoers, tourists, and local residents, as it would detract from the
 overall quality of the scenic views of this portion of the region.”76 These impacts would

        72
             Order, 187 FERC ¶ 61,199 at P 112.
        73
          The firing line represents the boundary between waters open for commercial
 fishing year round and those only open for seasonal commercial fishing. See EIS at 4-
 267 to 4-268.
        74
          See EIS at 4-541. The EIS states that the migration occurs for “approximately
 two weeks,” although the length of migration is characterized as “generally… much
 longer than two weeks” by LDWF. Memo of May 23, 2023 Telephone Conversation
 with NMFW and LDWF at 1. It is not clear why the Commission disagreed with the
 LDWF assessment, or if a longer migration period would have changed the
 Commission’s assessment of the significance of impacts on shrimpers.
        75
           EIS at 4-538. The Terminal facilities are approximately 1.5 miles from the
 firing line, and thus the shrimping location at the firing line would be impacted by any
 moving security zone, which extends for 2 miles ahead of applicable ships. 33 C.F.R. §
 165.805(a)(2) (2024) (“The following areas are moving security zones: . . . 2 miles ahead
 and 1 mile astern of certain designated vessels while in transit.”).
        76
           EIS at 4-546. Notably, although the EIS recognizes that the terminal represents
 a significant impact on the viewshed of tourists, it does not examine how such an impact
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 not be felt equally, however. Rather, “permanent changes in the viewshed would have a
 significant adverse effect on residents and passersby of those environmental justice
 communities near the Project,”77 resulting in “disproportionately high and adverse
 impact[s]”78 on EJ communities.

         Members of EJ communities would also suffer from the LNG terminal’s adverse
 impacts on commercial fishing businesses. As discussed above, the EIS and Order
 provide a deficient analysis of the project’s impacts on commercial fishing businesses.79
 The EIS acknowledges that “commercial users in the Calcasieu Ship Channel . . . would
 likely include individuals from environmental justice communities.”80 Thus, the
 deficiencies in the analysis of adverse impacts on fishing blind the Commission to the
 adverse impacts on members of EJ communities. EJ communities are especially
 vulnerable to those impacts since one bad season can significantly disrupt fishing
 businesses,81 and low-income fishers without significant savings likely would be among
 those least likely to recover from that disruption.

         The Commission has also failed to fully consider climate change impacts on EJ
 communities. The EIS found that “the impacts of compounded extreme events . . . may
 exacerbate preexisting community vulnerabilities and have a cumulative adverse impact
 on environmental justice communities.” 82 But we know that climate change will have
 adverse impacts on EJ communities. Commission Staff found “local mean sea level rise .
 . . [would be] 2.1 feet . . . between 2050 and 2060 (relative to year 2000) at the proposed
 project site area.”83 These rising sea levels can “accelerate coastal erosion and wetland
 loss, exacerbate flooding, and increase storm impacts.”84 Indeed, with the 2.1 feet of sea
 level rise some homes in identified impacted EJ communities will be permanently


 would affect tourism in the region.
        77
             Id. at 4-319.
        78
             Id. at 4-328.
        79
             See supra PP 18-21.
        80
             EIS at 4-545.
        81
             See supra P 18.
        82
             EIS at 4-549 (emphasis added).
        83
             Id. at 4-453.
        84
             Id. at 4-90.
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 underwater.85 Surely this is an adverse impact on EJ communities, but it is one the
 Commission completely failed to consider. Marginalized communities face additional
 barriers to moving when climate change makes their homes unlivable,86 highlighting why
 it is important for the Commission to fully consider impacts to EJ communities in its
 NEPA reviews.

        Finally, the Order fails to adequately assess the impact of cumulative air pollutant
 emissions on EJ communities. As discussed above, the Commission failed to properly
 assess cumulative emissions impacts by omitting foreseeable mobile sources that might
 well lead to NAAQS violations.87 This is especially disturbing given that “[p]eople in
 low socioeconomic neighborhoods and communities may be more vulnerable to air
 pollution,”88 making the health impacts even more severe.

         The Order’s failure to fully assess the totality of impacts on EJ communities, like
 its deficient analysis of GHG impacts, falls short of the Commission’s legal obligations
 under NEPA, the NGA, and the APA. It is also difficult to square with the Commission’s
 commitment to “better integrate environmental justice and equity considerations in its
 decision-making processes,”89 and to address barriers to “adequate and consistent review
 of all potential project impacts to environmental justice communities, including
 cumulative impacts and impacts to health and safety.”90 Today’s approval of the Projects
 will compound the cumulative impacts of existing LNG projects on nearby EJ
 communities, and is a key reason the Projects will not serve the public interest.


        85
           For example, some of the homes on Mildred street are at an elevation of just
 1.72 feet above current sea levels, leaving them underwater with 2.1 feet of additional sea
 level rise. See U.S. Geological Surv., The National Map,
 https://apps.nationalmap.gov/viewer/ (showing a 1.72 ft elevation at lat. 29.78469, long.
 93.29007 using the spot elevation tool).
        86
          See, e.g., Bergan et al., Creating Moves to Opportunity: Experimental Evidence
 on Barriers to Neighborhood Choice, 114 Am. Econ. Rev. 2181 (2024).
        87
             See supra P 15.
        88
          EPA, Research on Health Effects from Air Pollution (May 28, 2024),
 https://www.epa.gov/air-research/research-health-effects-air-pollution.
        89
          FERC, 2023 Equity Action Plan at 2 (Apr. 15, 2022),
 https://www.ferc.gov/equity.
        90
          FERC, 2024 Equity Action Plan at 14 (June 6, 2024),
 https://www.ferc.gov/equity.
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       For these reasons, I respectfully dissent.



 ________________________
 Allison Clements
 Commissioner
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                                      188 FERC ¶ 62,109
                                 UNITED STATES OF AMERICA
                          FEDERAL ENERGY REGULATORY COMMISSION

         Venture Global CP2 LNG, LLC                                  Docket Nos. CP22-21-001
         Venture Global CP Express, LLC                                           CP22-22-001

               NOTICE OF DENIAL OF REHEARING BY OPERATION OF LAW AND
                        PROVIDING FOR FURTHER CONSIDERATION

                                              (August 29, 2024)

                Rehearing has been timely requested of the Commission’s order issued on
         June 27, 2024, in this proceeding. Venture Glob. CP2 LNG, LLC, 187 FERC ¶ 61,199
         (2024). In the absence of Commission action on a request for rehearing within 30 days
         from the date it is filed, the request for rehearing may be deemed to have been denied.
         15 U.S.C. § 717r(a); 18 C.F.R. § 385.713 (2023); Allegheny Def. Project v. FERC,
         964 F.3d 1 (D.C. Cir. 2020) (en banc).

                As provided in 15 U.S.C. § 717r(a), the request for rehearing of the above-cited
         order filed in this proceeding will be addressed in a future order to be issued consistent
         with the requirements of such section. As also provided in 15 U.S.C. § 717r(a), the
         Commission may modify or set aside its above-cited order, in whole or in part, in such
         manner as it shall deem proper.



                                                        Debbie-Anne A. Reese,
                                                          Acting Secretary.
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